                   Case 07-11738-CSS                                Doc 266-4                   Filed 01/04/08                                Page 1 of 23

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Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07130/2007 and 10/28/2007

V"lIlol' (;1"., \'cndiir:'iimc Adùr"., Cll)',\i\drc.~ ~:~,~~: l'ml:iICuùc O.uriti¡ hwuln'U:itc hi\'''lcc l'liccklliiic 1'~r~_~~:,~::I~::~I~ L;SIlAmnunl
      S559S00   GEN   SWANSON HAYCOMPANY, INC.         SOlON FLORJDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     7/11/2007 25046   7/301207    SCK   532656       730.30
      S559S00   GEN   SWANSON HAYCOr-lPANY,INC.        5010 N FLORIDA STREET   SPOKANE      \VA      99217   UNITE STATE     71101007 25047    7/30/2007   SCK   532656       7S0.86
      S559S00   GEN   SWANSON HAYCOMPANY, TNC.         SOlON FLORIDASTREET     SPOKANE      \VA      99217   UNITE STATE      719/2007 2504S   7/30/2007   SCK   532656       737.00
      S559800   GEN   SWANSON HAYCOMPANY, INc.         soio N FLORIDA
                                                                    STREET     SPOKANE      \VA      99217   UNITE STATE      719/2007 25057   7/30/2007   SCK   532656       780,86
     8559800    GEN   SWANSON HAY COMPANY,INC.         5010 N FLORIDA
                                                                    STREET     SPOKANE      \VA      99217   UNITE STATE     711112007250SS    7/30/2007   SCK   532656       694.23
     8559800    GEN   SWANSON HAY COMPANY,INC.         5010 N FLORIDA
                                                                    STREET     SPOKANE      \VA      99217   UNITED STATE    71121200725059    7/30/2007   SCK   532656       703.25
     S559S00    GEN   SWANSON HAY COMPANY, INC.        5010 N FLORIDA STREET   SPOKANE      \VA      99217   UNITDSTATE      7110/2007 25063   7/30/2007   SCK   532656     1,331.62
     8559800    GEN   SWANSON HAY COMPANY,INC.         5010 N FLORIDA STREET   SPOKANE      \VA      99217   UNITEDSTATE     7/121007 25065    7/30/2007   SCK   532656       730.30
     S559800    GEN   SWANSON HAY COMPANY,INC.         5010 N FLORIDA STREET   SPOKANE      \VA      99217   UNITED STAre    7/20/2007 25070    813/2007   SCK   532840       752.64
     S559800    GEN   SWANSON HAY COMPANY,INC.         soio N FLRIDA STREET    SPOKANE      \VA      99217   UNITED STAre    7/9/2007 25079     8/31207    SCK   532840       734.83
     8559S00    GEN   SWANSON HAYCOMPANY,INC.         soio N FLORIDA STREET    SPOKANE      \VA      99217   UNITEDSTATE     71161200725080     8/3/2007   SCK   532840     2,409.75
     8559800    GEN   SWANSON HAYCOMPANY,INC.          soio N FLORIDA STREET   SPOKANE      \VA      99217   UNITEDSTATE     7/19/2007 25081    813/2007   SCK   532840       687.47
     8559800    GEN   SWANSON HAYCOMPANY, INC.        SOlON FWRIDASTREET       SPOKANE      \VA      99217   UNITEDSTATE     7/23/2007 25083    8/3/2007   SCK   532840       703.25
     8559800    GEN   SWANSON HAY COMPANY,INC,        5010 N FLORIDASTREET     SPOKANE      \VA      99217   UNITE STATE     71161007 25085     81312007   SCK   532840       782.46
     8559800    GEN   SWANSON HAY COMPANY,INC,        SOlON FLORIDA STREET     SPOKANE      \VA      99217   UNITED STATE    7117/2007 25098    8132007    SCK   532840       771.12
     S559S00    GEN   SWANSON HAYCOMPANY.INC,         SOLO N FLORIDASTREET     SPOKANE      \VA      99217   UNITED STATE    7/1&/200725099     &132007    SCK   532&40     I,S40.30
     S559&00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDASTREET     SPOKANE      \VA      99217   UNITE STATE     7120/2007 25107    &(32007    SCK   532840     1,249.67
     S559800    GEN   SWANSON HAY COMPANY,INC,        5010 N FLORIDA STREET    SPOKANE      \VA      99217   UNITE STATE     7/121007 25110     SI3/2OO7   SCK   532840     2,&12,99
     8559800    OEN   SWANSON HAY COMPANY,
                                         INC.         SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITE STATE     7117/2007 25115    &/3/2007   SCK   532840     1,139.60
     8559800    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITEDSTATE     7/241007 25120     Sf3/2OO7   SCK   532S40       696.00
     8559800    GEN   SWANSON HAY CO?otpANY,
                                         INC.         SOLO N FLRIDA STREET     SPOKANE      \VA      99217   UNITED STATE    71161200725132     &13/2007   SCK   532840     1,084.86
     S559S00    GEN   SWANSON HAY COMPANY,INC,        SOLO N FLRIDA STREET     SPOKANE      \VA      99217   UNITED STATE    7/18/2007 25134    S/312007   SCK   532840       752.98
     &559S00    GEN   SWANSON HAY
                                COMPANY, INC.         SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITED STATE    7120/2007 25139    SI32007    SCK   532840     I,5S9.95
     8559S00    GEN   SWANSON HAY
                                COMPANY, INC.         5010 N FLORIDA STREET                 \VA
                                                                                                                                                                                              Case 07-11738-CSS




                                                                               SPOKANE               99217   UNITEDSTATE     7113/2007 25142    &1312007   SCK   532S40     I,5S9.95
     S559S00    GEN   SWANSON HAY
                                COMPANY, INC.         5010 N FLORIDA STREET    SPOKANE      \VA      99217   UNITED STATE    71512007 2514&     8132007    SCK   532&40       733.S2
     8559S00    GEN   SWANSON HAY
                                COMPANY, INC.         SOlON FLORIDA STREET     SPOKANE      \VA      99217   UNITED STATE    7/26/2007 25153   8/1312007   SCK   53301ó       715.01
     S559SOO    GEN   SWANSON HAY COMPANY,
                                         INC.         SOlON FLORIDA STREET     SPOKANE      \VA      99217   UNITEDSTATE     712/2007 25158    81112007    SCK   5330ló       ó72.00
     S559800    GEN   SWANSON HAY COMPANY ,INC,       SOlON FLORIDA STREET     SPOKANE      \VA      99217   UNITEDSTATE     7125/2007 25164   S/1312OO7   SCK   53301ó     1,191.ÓS
     S559800    GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATF     71271007 25170    SII312007   SCK   5noió        ó97.20
     8559800    GEN   SWANSON HAYCOMPANY,INC.         SOLO N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     7/3012007 25171   SI1312007   SCK   533016       725,7ó
     8559800    GEN   SWANSON HAY COMPANY.
                                         INC.         SOLO N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     71241200725173    S/1312007   SCK   533016     1.029.00
     S559800    GEN   SWANSON HAY COMPANY, mc.        5010 N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     71261200725175    S1I3/2007   SCK   533016       923.55
     S559800    GEN   SWANSON HAY
                                COMPANY.INC.          5010 N FLORIDASTREET     SPOKANE      \VA      99217   UNITED STA TF   71251200725192    S/13/2007   SCK   533016       712.26
     8559&00    GEN   SWANSON HAY COMMNY.INC.         5010 N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     71312007 25196    8113/2007   SCK   533016       712.26
     8559800    GEN   SWANSON HAY COMPANY.
                                         INC.         soio N FLORIDASTREET     SPOKANE      \VA      99217   UNITEDSTATE     7/2012007 25197   8113/2007   SCK   533016       7S3.22
     8559800    GEN   SWANSON HAY COMPANY ,INC.       soio N FLORIDASTREET     SPOKANE      WA       99217   UNlffDSTATES    71412007 2520S    S/13/2007   SCK   533016     2,125.20
     S559800    GEN   SWANSON HAY COMPANY,
                                        INC.          soio N FLRIDASTREET      SPOKANE      \VA      99217   UNITED STA TF   710/2007 25215    SI13/2007   SCK   533016       918.00
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     S559S00    GEN   SWANSON HAY COMPANY, INC.       SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITED STATF    71612007 25216    SII1207     SCK   533016       67200
     S559800    GEN   SWANSON UAY COMPANY,
                                        INC.          soio N FLORIDA STREET    SPOKANE      \VA      99217   UNITESTATF      71311200725222    S/13/2007   SCK   533016       695.92
     S559S00    GEN   SWANSON HAY COl.lPANY,INC.      SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITEDSTATE      SI1I2007 25223   SI131207    SCK   533016       690.61
     S559S00    GEN   SWANSON HAY COr-WANY,INC.       SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITEDSTATF      SII12007 25226   813112007   SCK   533250     2,930.59
     S559S00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     7f30/2007 25229   SI3112007   SCK   533250     1,613.15
     8559S00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDA STREET    SPOKANE      \VA      99217   UNITEDSTATE     7/3112007 25233   S/3112007   SCK   533250     1.340.64
     S559800    GEN   SWANSON HAYCOMPANY,INC.         5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     7/3112007 25249   SI3112007   SCK   533250     2,95&.Q
     8559S00    GEN   SWANSON IlAYCOMPANY,INC.        5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     71212007 25251    81112007    SCK   533250     1.310.S5
     S559S00    GEN   SWANSON HAYCOMPANY,INC.         SOLO N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     7130/2007 25257   &/3112007   SCK   533250       74S.33
     8559800    GEN   SWANSON HAY COr-lPANY, INC.     soio N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATF     7/3012007 25260   &13112007   SCK   533250     1,290.63
     S559S00    GEN   SWANSON HAY
                                COMPANY, INC.         soio N FLRIDA STREET     SPOKANE     \VA       99217   UNITED STATE     SI3/2OO7 252ó5   813112007   SCK   533250      ó7200
     S559SOO    GEN   SWANSON HAY
                                COMPANY, INC.         SOlON FLORIDA STREET     SPOKANE     \VA       99217   UNITEDSTATE      812007 252óó     813112007   SCK   533250       67200
     8559SOO    GEN   SWANSON HAYCOMPANY,INC,         5010 N FLORIOA STREET    SPOKANE     \VA       99217   UNITEDSTATE     7/30/2007 2526&   &13112007   SCK   533250       793.80
     8559S00    GEN   SWANSON HAY COMPANY,INC,        5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     7/3112007 25277   813112007   SCK   533250      98S.Ó2
     8559800    GEN   SWANSON HAYCOMPANY,INC.         SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITEDSTATE     712/2007 25279    S13112007   SCK   533250     1,176.7S
     8559800    GEN   SWANSON HAY COMPANY,
                                        INC.          SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITED STATE    7130/2007 252S2   813112007   SCK   533250     2,133.43
     S559800    GEN   SWANSON HAY COMPANY, INC,       SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITEDSTATE     712712007252S3    S13112OO7   SCK   533250     1,850.24
     8559&00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITED STATE    8122007 252S7     813112007   SCK   533250      672.00
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     S559800    GEN   SWANSON HAY COMPANY.
                                        INC.          SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITEDSTATE     SII12007 25290    9/1212007   SCK   533334     1.057.22
     S559&00    GEN   SWANSON HAY COMPANY.
                                        INC.          soio N FLORIDASTREET     SPOKANE     \VA       99217   UNITEDSTATE     8/112007 25291    9/1212007   SCK   390755     1.992.48
     S559800    GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDASTREET     SPOKANE     \VA       99217   UNITED STATE    SI5/2007 25315    91121007    SCK   533334     1~'58.2S
     8559S00    GEN   SWANSON HAY COMPANY,INC.        soio N FLORIDASTREET     SPOKANE     \VA       99217   UNITED STATE    S/1/2007 25317    91121007    SCK   533334     2,9:U8
     S559S00    GEN   SWANSON HAY COMPANY,INC.        SOio N FLORIDA STREET    SPOKANE     \VA       99217   UNITED STATE    S1312007 25320    9/1212007   SCK   533334     1.92n.29
     S559S00    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITE STATE     S1912007 25321    911212007   SCK   533334     1.177.85
     S559S00    GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     Snl2007 25322     9/1212007   SCK   5333H      1,223.04
     S559S00    GEN   SWANSON HAY
                                COMPANY, INC.         SOLO N FLORIDA STREET    SPOKANE     \VA       99217   UNITESTATF      S1312007 25339    9/1212007   SCK   533334     1,8Cl6.6
     S559SOO    GEN   SWANSON HAY COMPANY, INC.       SOLO N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATF     S1812OO725355     9/1212007   SCK   533334      69S.4&
     S559SOO    GEN   SWANSON HAYCOMPANY,INC.         5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATF     SII0/2007 25364   911212007   SCK   533334     1.045.86
     S559800    GEN   SWANSON HAYCOr-WANY,
                                        INC.          5010 N FLORIDASTREET     SPOKANE     \VA       99217   UNlTEDSTATF     SII5/2007 253S7   9112/2007   SCK   533334      275.00
     S559800    GEN   SWANSON HAY
                                COMPANY, INC.         SOlON FLORIDA STREET     SPOKANE     \VA       99217   UNITEDSTATE     SII6/2007 25410   9112/2007   SCK   533334     1.17718
     8559800    GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDASTREET     SPOKANE     \VA       99217   UNITEDSTATE     8110/2007 25411   9112/2007   SCK   533334     2.4óó.45
     S559800    GEN   SWANSON IIAY COMPANY,INC.       SOlON FLORIDA STREET     SPOKANE     \VA       99217   UNITEDSTATE     8114/2007 25414   9/122007    SCK   533334     1,17718
     8559800    GEN   SWANSON IIAY COMPANY,
                                        INC.          soio N FLORIOASTREET     SPOKANE     \VA       99217   UNITEDSTATE     8113/2007 25423   91122007    SCK   533334      69S.16
     8559800    GEN   SWANSON HAY COMPANY,INC.        soio N FLORIDASTREET     SPOKANE     \VA       99217   UNITED STATE    &/151200725424    9/1212007   SCK   533334      780.05
                                                                                                                                                                                              Page 2 of 23




     8559S00    GEN   SWANSON HAY COMMNY,INC,         soio N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     812/2007 25440    9/12/2007   SCK   533334      70S.30
     S559800    GEN   SWANSON HAY COr-WANY,INC.       5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     S/20/2OO725449    911212007   SCK   533334     2~'08.10
     8559S00    GEN   SWANSON HAY COMPANY, INC.       SOLO N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     81171200725462    911212007   SCK   533334     2.100.00
     8559800    GEN   SWANSON HAY COr-tpANY, INC.     5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     81171200725469    911212007   SCK   533334     1.746.00
     8559800    GEN   SWANSON HAY COr-tpANY,INC.      5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     812112007254S4    9/1212007   SCK   533n4      1.635.03
     S559800    GEN   SWANSON HAY COMPANY,INC,        SOLO N FLRIOA STREET     SPOKANE     \VA       99217   UNITED STATE    S117/2OO725498    9/1212007   SCK   533334     1,130.50
     S559800    GEN   SWANSON HAY COMPANY,
                                        INC.          SOLO N FLRIDA STREET     SPOKANE     \VA       99217   UNITED STATE    S/2812OO725504    911212007   SCK   533334      694.74
     8559800    GEN   SWANSON HAYCOMPANY,INC.         SOlON FLORIDA STREET     SPOKANE     \VA       99217   UNITEDSTATE     S/261007 255ii    911812007   SCK   5n565      1,117.9S
     8559800    GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDA STREET    SPOKANE     \VA       99217   UNITEDSTATE     S/29/2OO725529    9/181007    SCK   5n565      1.097.60
     8559&00    GEN   SWANSON HAY COr-WANY.INC.       SOLO N FLORIDASTREET     SPOKANE     \VA       99217   UNITE STATE     S13012OO7 25544   91l/2oo7    SCK   533565      747.22
     S559S00    GEN   SWANSON HAY COMPANY.
                                        INC.          5010 N FLORIDA STREET    SPOKANE     \VA       99217   UNITE STATE     SI212007 25546    91~&/2007   SCK   533565     1,176.7S
     S559S00    GEN   SWANSON HAY COMPANY.
                                        INC.          SOlON FLORIDA STREET     SPOKANE     \VA       99217   UNITEDSTATE     S/2912OO725549    9118/2007   SCK   5335ó5     1.224.72




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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07130/2007 and 10/28/2007

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      8559800   GEN    SWANSON HAYCOrvWANY,INC.       5010 N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITEDSTATE     8/2412007 25551              9/1&12007   SCK    533565      2.140.17
      8559800   GEN    SWANSON HAY
                                 COMPANY, INc.        SOlON FLORIDASTREET                       SPOKANE      \VA     99217        UNITED STATE    &1301200725557               9/1&12007   SCK    533565        752.64
      &559800   GEN    SWANSON HAYCOMPANY,INC.        5010 N FLORIDA STREET                     SPOKANE      \VA     99217        UNITEDSTATE     8/2&12007255ó9               9/18/2007   SCK    533565       1,189.:n
      &559S00   GEN    SWANSON HAYCOMPANY,INC.        SOLO N FLORIDA
                                                                   STRET                        SPOKANE      \VA     99217        UNITED STATE    S/2812OO725572               9/1S/2007   SCK    533565        733.82
      S559800   GEN    SWANSON HAYCOMPANY,INC.        SOLO N FLORIDA
                                                                   STRET                        SPOKANE      \VA     99217        UNITEDSTATE     8/2912007 25574              9/18/2007   SCK    533565        762.05
      8559S00   GEN    SWANSON HAY COMPANY,INC.       SOLO N FLORIDA STREET                     SPOKANE      \VA     99217        UNITE STATE     8/212007 25575               9/18/2007   SCK    533565       1,224.00
      8559&00   GEN    SWANSON HAY COMPANY,INC.       SOlO N FLORIDA STREET                     SPOKANE      \VA     99217        UNITE STATE     9132007 25606                101312007   SCK    533SS1       1.163.48
      S559S00   GEN    SWANSON HAY COt.WANY,INC.      soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITE STATE     9m2007 25617                 101312007   SCK    533SS1       1.045.S6
      S559S00   GEN    SWANSON HAY COMPANY, INC.      soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITED STATE    S130/200725636               9/18/2007   SCK    533565       1,17256
      S559800   GEN    SWANSON HAYCDMPANY, INC.       soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITE STATE     91612007 25637               1013/2007   SCK    533SS1        732.61
      S559S00   GUN    SWANSON HAY
                                 COMPANY, INC.        soio N FLRIDA STREET                      SPOKANE      \VA     99217        UNITDSTATE     91111200725658                1013/2007   SCK    533S&1      2.185.79
      S559S00   GEN    SWANSON HAY
                                 COMPANY, INC.        soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITEDSTATE    9/1112007 25670               10132007    SCK    533S81       1.161.89
      S5S9S00   GEN    SWANSON HAY
                                 COMPANY, INC.        soio N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITEDSTATE    9/10/2007 25674               10132007    SCK    533S81       1.149.92
      S559800   GEN    SWANSON HAY COMPANY, INC.      soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITED STATE   9/17/2007 25680              10/17/2007   SCK    534101        67200
      8559800   GEN    SWANSON HAY COMPANY,
                                          INC.        soio N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITED STATE   9/1312007 25684               10/32007    SCK    5338&1       1.362.59
      8559800   GEN    SWANSON HAY
                                 COMPANY. INC.        5010N FLORIDASTREET                       SPOKANE      \VA     99217        UNITEDSTATE    9/10/2007 25692               101312007   SCK    533881       1,227.74
     8559800    GEN    SWANSON HAY COMPANY ,INc.      5010N FLORIDASTREET                       SPOKANE      \VA     99217        UNITEDSTATE    9/1112007 25697               101312007   SCK    533881       1,117.20
     8559800    GEN    SWANSON HAY
                                 COMPANY, INC.        5010 N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITEDSTATE    9/1312007 25709               101312007   SCK    533881        694.23
     8559S00    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA STREET                     SPOKANE      \VA     99217        UNITEDSTATE    9114/2007 25710               101312007   SCK    533881        712.26
     8559&00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNrffDSTATE    91141200725728               10/10/2007   SCK    533996       1.17118
     8559800    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITEDSTATE    9/1912007 25733              101171007    SCK    534101       1,110.00
     8559800    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA
                                                                   STREET                       SPOKANE      \VA     99217        UNITEDSTATE    9118/007 25746               101171007    SCK    534101       1,241.6
     8559800    GEN   SWANSON HAY COMPANY,INC.        soio N FLORIDA STREET                     SPOKANE      \VA     99217        UNITEDSTATE    9/18/007 25756               10/171007    SCK    534101        739.20
     8559800    OEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA STREET                     SPOKANE      WA      99217        UNITE STATE    9/2012007 25758              101171007    SCK    534101        672.00
                                                                                                                                                                                                                                Case 07-11738-CSS




     8559800    GEN   SWANSON HAY COMPANY, INC.       SOLO N FLORIDA STREET                     SPOKANE     WA       99217        UNITE STATE    9/171007 25763               1011/2007    SCK    534101      1,117.20
     8559800    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA STREET                     SPOKANE     WA       99217        UNITEDSTATE    9/20/2007 25710              10/1712007   SCK    534101        762.05
     8559800    GEN   SWANSON HAYCOMPANY, INC.        5010 N FLORIOA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    9/26/2007 25771              10/17/2007   SCK    534101        752.64
     8559800    GEN   SWANSON HAYCOMPANY, INC.        SOLO N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    9/2112007 25782              10/1712007   SCK    534101      1.596.67
     8559800    GEN   SWANSON HAYCOMPANY, INC.        5010 N FLORIDA STREET                     SPOKANE     WA       99217        UNITEDSTATE     10121200725785              1012/2007    SCK    534194        730.30
     8559800    GEN   SWANSON IlAYCOMPANY, INC.       5010N FLORIDASTREET                       SPOKANE     \VA      99217        UNITEDSTATE    91212007 25808               1011/2007    SCK    534101      2,100.00
     8559800    GEN   SWANSON I1A Y COMPANY ,INC.     SOlON FLORIDASTREET                       SPOKANE     \VA      99217        UNITEDSTATE    9124/2007 25811              10/1712007   SCK    534101      1,863.33
     8559800    GEN   SWANSON HAY COMPANY,
                                         INC.         5010 N FLORIDA
                                                                   STREET                       SPOKANE     WA       99217        UNITEDSTATE    91251200725818               10/171007    SCK    534101      1,112.50
     8559800    GEN   SWANSON HAY COMPANY,INC.        soio N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE     10/5/2007 25846             10/2312007   SCK    534194        735.34
     8~59800    GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDA STREET                     SPOKANE     \VA      99217        UNITED STATE    10/4/2007 25847             10/23/2007   SCK    534194      1,045.86
     8559800    GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDA STREET                     SPOKANE     WA       99217        UNITED STATE    10/41200725848              10/231207    SCK    534194        733.28
     8559800    GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE     1013/200725850              10/231207    SCK    534194        73700
     8559800    GEN   SWANSON HAYCOI\WANY, INC.       soio N FLORIOA STREET                     SPOKANE     WA       99217        UNITED STATE   91281200725857               10/2312007   SCK    534194      2.760.00
     8559800    GEN   SWANSON HAYCOMPANY, INC.        5010 N FLORIDA STREET                     SPOKANE     WA
                                                                                                                                                                                                                                Doc 266-4




                                                                                                                     99217        UNITE STATE     10/11200725860              10/23/2007   SCK    534194        753.11
     8559800    GEN   SWANSON HAYCOMPANY, INC.        5010 N FLORIDA STREET                     SPOKANE     WA       99217        UNITEDSTATE     1013/200725863              10/23/2007   SCK    534194      1,097.60
     8559800    GEN   SWANSON HAYCOMPANY,INC.         5010N FLORIDASTREET                       SPOKANE     WA       99217        UNITE STATE    91212007 25866               1012/2007    SCK    534194        730.30
     S559800    GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA
                                                                   STREET                       SPOKANE     WA       99217        UNITED STATE    10/21200725867              1012/2007    SCK    534194      1,117.20
     8559&00    GEN   SWANSON HAY COMPANY,INC.        SOLO N FLORIDA
                                                                   STREET                       SPOKANE     \VA      99217        UNITEDSTATE     10/41200725869              1012/2007    SCK    534194      1,117.20
     8559&00    GEN   SWANSON HAY COMPANY,INC.        soio N FLORIDA
                                                                   STREET                       SPOKANE     \VA      99217        UNITEDSTATE    912/2007 25880               10/2/2007    SCK    534194      2,880.00
     8559800    GEN   SWANSON HAY COMPANY,INC.        5010 N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    10131200725883               10/212007    SCK    534194      2,137.18
     8559800    GEN   SWANSON HAY COMPANY,INC.        SOlON FLORIDASTREET                       SPOKANE     WA       99217        UNITEDSTATE    91212007 25884               10/23/2007   SCK    534194        730.30
     8559800    GEN   SWANSON HAY CO:-WANY,
                                         INC.         SOlO N FLORIDA STREET                     SPOKANE     \VA      99217        UNITED STATE   10/11200725893               10/23/2007   SCK    534194      1.176.78
     8559800    GEN   SWANSON HAY COMPANY, INC.       SOlO N FLORIDA STREET                     SPOKANE     \VA      99217        UNITED STATE   10151200725899               10/2312007   SCK    534194      2,100.00
     8559800    GEN   SWANSON HAYCOMPANY, INC.        soio N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    10191200725915               10/2312007   SCK    534194      1,149.12
     8559800    GEN   SWANSON HAYCOMPANY, INC.        5010 N FLORIDA STREET                     SPOKANE     WA       99217        UNITEDSTATE    10/ion007 25917              10/231207    SCK    534194        752.98
     8559800    GEN   SWANSON HAYCOMPANY, INC.        SOLO N FLORIDA STREET                     SPOKANE     WA       99217        UNITEDSTATE    101111200725918              10/23/2007   SCK    534194        685.22
     8559800    GEN   SWANSON HAYCOMPANY,INC.         SOlON FLRIDASTREET                        SPOKANE     WA       99217        UNITEDSTATE    10110/200725921              101212007    SCK    534194      1,110.00
     8559800    GEN   SWANSON HAYCOMPANY,INC.         5010 N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    10191200725932               1012/2007    SCK    534194      2,100.00
     8559&00    OEN   SWANSON HAYCOMPANY,INC.         SOlON FLORIDASTREET                       SPOKANE     WA       99217        UNITEDSTATE    101101200725933              10/2/2007    SCK    534194      1,284.19
     8559800    GEN   SWANSON HAYCOMPANY,INC.         5010 N FLORIDA
                                                                   STREET                       SPOKANE     \VA      99217        UNITEDSTATE    10/1112007 25945             10123/2007   SCK    534194      1,174.66
     8559800    GEN   SWANSON HAYCOMPANY,INC.         SOlON FLORIDASTREET                       SPOKANE     WA       99217        UNITEDSTATE    10/10/200725962              10/2312007   SCK    534194        800.81
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     8559800    GEN   SWANSON HAYCOMPANY,INC.         soio N FLORIDA
                                                                   STREET                       SPOKANE     \VA      99217        UNITEDSTATE    10/111200725963              10123/2007   SCK    534194        752.98
     8559800    GEN   SWANSON HAY COMPANY,INC.        soia N FLORIDA
                                                                   STREET                       SPOKANE     \VA      99217        UNITEDSTATE    10/12100725964               10/23/2007   SCK    534194        730.30
     8559800    GEN   SWANSON UAY COMPANY, INC.       SOlO N FLORIDA STREET                     SPOKANE     \VA      99217        UNITED STATE   9/1012007 26579              10132007     SCK    533881      2,760.00
     8559800    GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA STREET                     SPOKANE     \VA      99217        UNITEDSTATE    8/2012007 5399               911212007    SCK    533334        695.06
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITE STATE    7/1912007 8.56E+12           713112007    SCK    532691     68,093.22
     8560002    CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITE STATE     81312007 8.56E+12           811512007    SCK    533054     69,467.28
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITEDSTATE    8120120078.56E+12            813112007    SCK    533206      6,951.42
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208_4280   UNITE STATE    8/2012007 8560002107082-C    813112007    SCK    533206     (6,951.42)
     8560002    CRT   SWANSON.SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208.4280   UNITEDSTATE     91612007 8.56E+12           911412007    SCK    533361     23,678.58
     8560002    CRT   SWANSON.SUPERIORFORET           PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208.4280   UNITE STATE    91612007 8560002107091-C     911412007    SCK    533361    (23,678.58)
     8560002    CRT   S\V\NSON_SUPERlOR FORET         PRODUCTS INC.      UNIT27   PO BOX 4280   POR11ND     OR       97208-4280   UNITEDSTATE    9120/2007 8.56£+12           101512007    SCK    533957     47,275.40
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   PORlLND     OR       97208-4280   UNITED STATE   9/20/2007 8560002107092-C    101512007    SCK    533957    (47.275.40)
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208-4280   UNITEDSTATE    1013120078.56E+12            1011512007   SCK    53406&    128,226.00
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   PORTIND     OR       97208-4280   UNITED STATE   1013/20078560002107101-C     10/1512007   SCK    534068   (128,226.00)
     856u002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208-4280   UNITED STATE   8120/2007 PP082007           8120/2007    WRE      6567     20,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208-4280   UNITED STATE   8/112007 PP082107            812112007    WIll     6574     13,000.00
     8560002          SWANSON.SUPERIOR FORET
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                CRT                                   PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITEDSTATE    8120/2007SWAN082207          &122/2007    \V       6579     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       97208-4280   UNITED STATE   8120/2007SWAN082307          81212007     WRE      658&     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITEDSTATE    812012007SWAN082407          8124/2007    \VR      6593     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORTLND     OR       9720S-4280   UNITEDSTATE    8/2412007 SWAN082707         812/2007     \V       6598     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORlLND     OR       97208-4280   UNITE STATE    8/2812007 SWAN082807         812912007    \VR      6607     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC,      UNIT27   PO BOX 4280   PORTlND     OR       97208-4280   UNITEDSTATE    8129/2007 SWANOS2907         8/2912007    \VR      6617     13,000.00
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   PORTIND     OR       9720S.4280   UNITE STATE    8130/2007 SWAN08307          8130/2007    \V       6628     13,000.00
     8560002    CRT   SWANSON-SUPERIOR
                                     FORET            PRODUCTS INC.      UNIT27   PO BOX 4280   POR11ND     OR       97208_4280   UNITE STATE    813112007SWAN083  107        813112007    \VR      6641     13,000.00
     8560002    CRT   SWANSON-SUPERIOR FORET          PRODUCTS INC.      UNIT27   POBOX4280     PORTlND     OR       97208-4280   UNITE STATE    9/412007 SWAN0904079/04/07    9/4/2007    \V       6653     13,000.00
     8560002    CRT   SWANSON.SUPERIOR FORET          PRODUCTS INC.      UNIT27   PO BOX 4280   PORlUND     OR       97208-4280   UNITE STATE    91512007 SWAN090507           91512007    \VR      6658     13,000.00
     8560002    CRT   SWANSON.SUPERIORFORET           PRODUCTS INC.      UNIT27   PO BOX 4280   PORTIND     OR       97208-4280   UNITE STATE    91612007 SWAN090607           91612007    \V       6M2      13,000.00
     8560002    CRT   SWANSON.SUPERIORFORET           PRODUCTS INC.      UNIT27   PO BOX 4280   POR11ND     OR       97208-4280   UNITE STATE    9nnOO7 SWAN090707             9nnOO7      \V      .."       13,000.00




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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
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Payments to Creditors Between 07130n007 and 10/28/2007

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       8560002    CRT SWANSON-SUPERIORFORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTUND                   97208-4280
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      8560002     CRT SWANSON-SUPERIORFORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208-4280          UNlrnDSTATE
      8560002     CRT SWANSON-SUPERIORFORET
                                                                                                                      ~                                              9/18/2007 SWAN091807            9/1812007    IVRE      6736     13,000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND         ~         97208.4280          UNlrnD STATE     9/1912007 SWAN091907            911912007    IVR       6741
      8560002     CRT SWANSON-SUPEROR FORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                                                                                                                        13,000.00
                                                                                                                      ~         97208-4280          UNITED STATE     9/20/2007 SWAN092007            9/2012007    \VRE      6746     13.000.00
      8560002     CRT SWANSON.SUPERIOR FORET         PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208-4280          UNITED STATE
      8560002     CRT SWANSON.SUPERIORFORET
                                                                                                                      ~                                              9/212007 SWAN092107             9/2112007    IVR       6753     13.000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTLND         ~         97208-4280          UNITED STATE    9/2412007 SWAN092407             9/24/2007    IVR       6760
      8560002    CRT SWANSON.SUPERIORFORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                                                                                                                        13.000.00
                                                                                                                      ~         97208-4280          UNITED STATE    91212007 SWAN092507              91212007     IVR       6766     13,000.00
      8560002    CRT SWANSON.SUPERIORFORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   POR11ND         ~         97208-4280          UNITED STATE    9/26/2007 SWAN092607
      8560002    CRT SWANSON-SUPERIORFORET                                                                                                                                                           91212007     IVR       6772     13,000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTUND         ~         97208-4280          UNITE STATE     9/27/2007 SWAN092707             91271007     IVR       6777     13,000.00
      8560002    CRT SWANSON-SUPERIORFORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208.4280
      8560002
                                                                                                                      ~                             UNITED STATE    9/28/007 SWAN092807              9/2812007    IVR       6793     13,000.00
                 CRT SWANSON-SUPERIOR FORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTUND                   97208-4280          UNlffDSTATE
      8560002    CRT SWANSON.SUPERIORFORET
                                                                                                                      ~                                              1011/2007 SWANI00I07             10/1/2007   IVR       6807     13,000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   POR11ND         ~         97208-4280          UNITE STATE      1012007 SWANI00207               101212007   IVR       6818
      8560002    CRT SWANSON.SUPEROR FORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTUND                                                                                                                        13,000.00
                                                                                                                      ~         97208-4280          UNITED STATE     1013/2007 SWANi00307             101312007   IVR       6824     13.000.00
      8560002    CRT SWANSON-SUPERIORFORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208-4280
      8560002
                                                                                                                      ~                             UNITED STATE     101412007 SWANi00407            1014/2007    IVR       6832     13,000.00
                 CRT SWANSON-SUPERIORFORET           PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208-4280          UNITE STATE
      8560002    CRT SWANSON-SUPERIORFORET
                                                                                                                      ~                                              101512007 SWANI00507            101512007    IVR       6844     13,000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND         ~         97208-4280          UNlrnDSTATE     1011512007 SWANIOl507            10/15/2007   IVR       6897
      8560002    CRT SWANSON-SUPERIOR FORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                                                                                                                        13,000.00
                                                                                                                      ~         97208-4280          UNITD STATE     10/1612007 SWANIOl607            10/161007    IVR       6905     13,000.00
      8560002    CRT SWANSON.SUPERIOR FORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND                   97208-4280          UNITE STATE
      8560002    CRT SWANSON.SUPEROR FORET
                                                                                                                      ~                                             10/171007 SWANI01707             10/1712007   IVR       6915     13,000.00
                                                     PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTIND         ~         97208-4280          UNlrnD STATE    10118/2007 SWANI01807            10/18/2007   IVR       6927
                                                                                                                                                                                                                                                          Case 07-11738-CSS




      8560002    CRT SWANSON.SUPERIOR FORET          PRODUCTS   INC.    UNIT   27   PO   BOX   4280   PORTUND                                                                                                                        13,000.00
                                                                                                                      ~         97208-4280          UNITE STATE     1012612007 SWANl02607            1012612007   WR        7009     18,000.00
      8578701    GEN SYSTRN FINANCIAL SERVICES                              PASADENA                                            9ll89-0982
      8578701
                                                                                                                      ~                             UNITED STATE    7/2012007 398646                 7130/2007     SCK    532658      2.576.00
                 GEN SYSTRN FINANCIALSERVICES        PO
                                                     PO BOX
                                                          BOX 100982
                                                                 100982 PASADENA
                                                                                                                      ~         91189'(982          UNITED STATE    712/2007 398836                  713/2007      SCK    532658      5.520.00
      8578701    GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                            91189-0982          UNlrnDSTATE
      8578701
                                                                                                                      ~                                             7/2412007 398991                  8132007      SCK    532842     4,784.00
                 GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                  ~         91189.0982          UNlrnD STATE    7/2412007 398992
      8578701    GEN SYSTRN FINANCIAL SERVICES                                                                                                                                                        8132007      SCK    532842      2.208.00
      8578701    GEN SYSTRN FINANCIAL SERVICES
                                                     PO
                                                     PO   BOX
                                                          BOX 100982        PASADENA
                                                                 100982 PASADENA                                      ~         91189-0982         UNITE STATE      7/2412007 398993                  81312007     SCK    532842     5.568.00
                                                                                                                      ~         91189-0982         UNITE STATE      71201207 399348                   81312007     SCK   532842      5,939.20
      8578701    GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                            9ll89.0982         UNITED STATE
      8578701
                                                                                                                      ~                                             713112007 399837                 8/13/2007     SCK   533018      4,825.60
                 GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                            91189-0982         UNITED STATE     713112007 399838
      8578701    GEN SYSTRN FINANCIAL SERVICES
                                                                                                                      ~                                                                              81112007     SCK    533018      4.825.60
      8578701    GEN SYSTRN FINANCIALSERVICES
                                                     PO
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                                                          BOX    100982
                                                                 100982     PASADENA
                                                                            PASADENA                                  ~         91189'(982         UNITED STATE      8/1/2007 399894                 81112007     SCK    5nOI8       4,825.60
                                                                                                                      ~         91189.(982         UNITED STATE      8/21007 400217                  8/1312007    SCK    533018      4.825.60
      8578701    GEN SYSTRN FINANCIALSERVICES        PO   BOX    100982     PASADENA                                            91189.0982         UNlrnDSTATE
      8578701
                                                                                                                      ~                                              8/21007 400218                  8/13/2007    SCK    533018      4,825.60
                 GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                  ~         91189.0982         UNlrnD STATE      81212007 400219
      8578701    GEN SYSTRN FINANCIAL SERVICES                                                                                                                                                       811/2007     SCK    533018      2,969.60
                                                     PO   BOX    100982     PASADENA
                                                                                                                                                                                                                                                          Doc 266-4




                                                                                                                      ~         91189.0982         UNlrnDSTATE       81312007 400339                 8/1312007    SCK    533018      4,825.60
      8578701    GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                            91189.0982         UNirnD STATE
      8578701
                                                                                                                      ~                                              81312007 400340                 8113/2007    SCK    533018      4,825.60
                 GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                            91189.0982         UNITED STATE      81612007 400494
      8578701    GEN SYSTRN FINANCIAL SERVICES
                                                                                                                      ~                                                                              8/1312007    SCK    533018      7,052.80
      8578701    GEN SYSTRN FINANCIAL SERVICES
                                                     PO   BOX    100982     PASADENA
                                                                            PASADENA                                  ~         91189-0982         UNITE STATE       81S/2oo7 400934                 9/14/2007    SCK    533532      4,825.60
                                                                                                                      ~         91189-0982         UNITED STATE      818/2007 400935                 9/14/2007    SCK    533532      4.825.60
      8578701    GEN SYSTRN FINANCIALSERVICES        PO
                                                     PO BOX
                                                          BOX 100982
                                                                 100982 PASADENA
                                                                                                                      ~         91189'(982         UNlrnDSTATE       81S/2007 400936                 9/14/2007    SCK    533532      4,825.60
     8578701     GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                           91189.0982          UNITED STATE
     8578701     GEN SYSTRN FINANCIAL SERVICES
                                                                                                                      ~                                             818/2007 400937                  9/1412007    SCK    533532      4.825.60
     8578701     GEN SYSTRN FINANCIAL SERVICES
                                                     PO
                                                     PO   BOX
                                                          BOX    100982
                                                                 100982     PASADENA
                                                                            PASADENA                                  ~        91189-0982          UNlrnD STATE     8/15/2007 401805                 9/18/2007    SCK    533566       1,856.00
                                                                                                                      ~        91189.0982          UNITED STATE     8/16/2007 402011                 9/18/2007    SCK    533566      4.195.70
     8578701     GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                           91189-0982          UNlrnD STATE     8/16/2007 402012
     8578701     GUN SYSTRN FINANCIAL SERVICES
                                                                                                                      ~                                                                              9/18/2007    SCK    533566      4.195.70
     8578701     GEN SVSTRN FINANCIAL SERVICES
                                                     PO
                                                     PO   BOX
                                                          BOX 100982        PASADENA
                                                                 100982 PASADENA                                      ~        91189.0982          UNlrnDSTATE      8/21/2007 402649                 9/1812007    SCK    533566      3.712.00
                                                                                                                      ~        91189-0982          l1NITEDSTATE     8/22/2007 402822                 9/18/2007    SCK    533566      3.712.00
     8578701     GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                  ~        91189-0982          UNITED STATE     8/22/2007 402823
     8578701     GEN SYSTRN FINANCIAL SERVICES                                                                                                                                                      9118/2007     SCK    533566      4.825.60
     8578701     GEN SYSTRN FINANCIAL SERVICES
                                                     PO
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                                                          BOX    100982
                                                                 100982     PASADENA
                                                                            PASADENA                                  ~        91189.(982          UNITED STATE     812/2007 403017                 9/18/2007     SCK    533566      4.825.60
                                                                                                                      ~        91189-0982          UNlrnDSTATE      812/2007403018                  9/1812007     SCK    533566      1.113.60
     8578701     GEN SYSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                           91189-0982          UNlrnDSTATE
     8578701     GEN SYSTRN FINANCIAL SERVICES
                                                                                                                      ~                                             812/2007 403019                 9/18/2007     SCK    533566      5.196.80
     8578701     GEN SYSTRN FINANCIAL SERVICES
                                                     PO
                                                     PO   BOX
                                                          BOX    100982
                                                                 100982     PASADENA
                                                                            PASADENA                                  ~        91189.0982          UNITED STATE     8/23/2007 403020                9/1812007     SCK    533566      4.825.60
                                                                                                                      ~        91189-0982          UNlrnD STATE     812/2007 403021                 9/18/2007     SCK    533566      3.712.00
     8578701
                                                                                                                                                                                                                                                          Filed 01/04/08




                 GEN SVSTRN FINANCIAL SERVICES       PO   BOX    100982     PASADENA                                  ~        91189.0982          UNlrnDSTATE      8/23/2007 403022
     8578701     GEN SVSTRN FINANCIAL SERVICES                                                                                                                                                      9/1812007     SCK    533566      3,712.00
     8578701     GEN SVSTRN FINANCIALSERVICES
                                                     PO
                                                     PO   BOX
                                                          BOX   100982
                                                                100982      PASADENA
                                                                            PASADENA                                  ~        91189-0982          UNITED STATE     8130/2007 403800                9/18/2007     SCK    533566      5.568.00
                                                                                                                      ~        91189.0982          UNITE STATE      8130/2007 403801                9118/2007     SCK    533566      3,712.00
     8578701     GEN SVSTRN FINANCIALSERVICES        POOOX                                                                     91189-0982          UNITED
     8578701
                                                                                                                      ~                                   STATE     8130/2007 403802                9/18/2007     SCK    533566      4.083.20
                 GEN SVSTRN FINANCIAL SERVICES       PO   BOX 100982
                                                                1009::2 PASADENA
                                                                            PASADENA                                           91189'(982          UNITED STATE     7119/2007 405776
     8619700     GEN TAX EXECUTI INSTIrurn
                                                                                                                      ~                                                                             9/24/2007     SCK    533777         37120
                                                     PORTLAD CHAPTER PO BOX 20187 POR11ND                             ~        97294               UNITED STATE    911212007 2oo7-rnl               9/14/2007     SCK    533421         100.00
     8778300     GEN TOC BENEFITS ~tANAGEMENT        TIMBER OPERATORS COUNCIL, INC.6825 SW SANDBURG STREI TIGARD               97223
     8778300
                                                                                                                      ~                            UNlrnDSTATE     713012007 50211                   8/3/2007     SCK    532845      1,600.00
                 GEN TOC BENEFITS MANAGEMENT         TIMBER OPERATORS COUNCIL.INC.6825 SW SANDBURG STREI TIGARD                97223               UNlrnDSTATE     612612007 T005578.IN
     8778300     GEN TOC BENEFITS MANAGEMENT
                                                                                                                      ~                                                                             7130/2007     SCK    532665          69.00
                                                     TIMBER OPERATORS COUNCIL,INC.6825 SW SANDBURG STREI TIOARD       ~        97223               UNlrnDSTATE     7/271007 TOC DUES JUL V 2007     7/30/2007
     8778300     GEN TOC BENEFITS ~tANAGEMENT        TIMBER OPERATORS COUNCIL, INC.6825 SW SANDBURG STREI TIOARD                                                                                                  SCK    532.566     1,600.00
                                                                                                                      ~        97223               UNlrnD STATE    8130/2007 TOC MONTHLY AUG 2007   9/1412007     SCK    533423      1.571.93
     8896500     GEN TRNSCA T INC                    23698 NETWORK PLACE CHICAGO                                      ~        60673-1236          UNITE STATE
     8896500     GEN TRANSCA T INC                                                                                                                                 6/2112007 173465                 9/14/2007     SCK    533539      1,401.2
     8982500     GEN TRANGLE T CORP
                                                     23698 NETWORK PLACE CHICAGO                                      ~        60673-1236          UNITE STATE     7ß1/2oo7 181615                  9/24/2007     SCK    533784        '232.79
                                                     351 STERLING INDUSTRIA ROAD BRUNSWICK                            M        31525               UNITED STATE    6/25/2007 132530                 7/30/2007     SCK    390559      1,114.69
     8982500     GEN TRANGLETCORP                    351 STERLING INDUSTRIA ROAD BRUNSWICK                            M        31525               UNITED STATE
     9017500     EMP REED TRULL                                                                                                                                    71412007 132736                  91212007      SCK    390901      1'116.26
     9032000     GEN TIRBIVlLLE INDUS ELECT WORK
                                                     C/ POPE & TALBOT INC PORTIND                                     ~        97207               UNlrnDSTATE     8/221007 82007                   8/2712007     EDI    102893        214.15
                                                     511 FIF1AVENUE BELLE                                 FOURCHE     m        57717               UNlrnD STATE     7/5/2007 32748                  811/2007      SCK
     9032000     GEN TIRBIVILLE INDUS ELECT WORK     511 FIF1AVENUE BEL                                                                                                                                                  390706        708.77
                                                                                                                                                                                                                                                          Page 4 of 23




                                                                                                          FOURCHE     m        57717               UNITE STATE     7/121007 32785                   9/14/2007     SCK    390803         189.32
     9032000     GEN TIRBMLLEINDUS ELECWORK          511 FIF1AVEE BELLE                                   FOURCHE     m        57717
     9032000     GEN ruRBIVlLLE INDUS ELEC                                                                                                         UNlrnD STATE    71161007 32798                   9/1412007     SCK    390803        218.36
                                         WORK        5 I I FIF1 A VEE BELLE FOURCHE                                   m        57717               UNITED STATE    71261007 32861
     9032000     GEN TIRBIVILLE INDUS ELEC WORK      511 FIF1AVEE BEL                                                                                                                               9/212007      SCK    390902        287.85
                                                                                                          FOURCHE     m        57717               UNITED STATE    7126/2007 32862                  9121/2007     SCK    390902        670.64
     9042000     EMP CLIFF ruTIE                     C/ POPE
                                                          &  TALBOTINC  PORTIND                                                97207
     9042000
                                                                                                                      ~                            UNirnD STATE     81007 OOP:2oo70802:10HN C TI    8/912007      EDI    102911         100.18
                 EMP CLIFF ruTIE                     C/O POPETALBOTINC  PORTIND                                       ~        97207               UNITED STATE    10/412007 OOP:2007IOO4:JOHNCTI
     9058800     GEN UNUM LIFEINSCOOFAMERICA         PO   &BOX 406990  A TINTA                                                                                                                      10125/2007    EDJ    103075          39.97
                                                                                                                      M        30384-99            UNlrnD STATE    812/2007 Aug'(7                  812412007     SCK    533178     29..63.86
     9058800     GEN UNUM LIFEINSCOOFAMERICA         POBOX406990     ATINTA                                           M        30384-6990
     9058800     GEN UNUM LIFE INS CO OF A~IECA                                                                                                    UNITE STATE     8/10/2007 GRP L1FEJAD&D 6107     811/2007      SCK    532921     30,223.73
                                                     POBOX406990 ATINTA                                               M        30384-990           UNITE STATE     10/19/2007 Oct.07
     9058800     GEN UNUM LIFE INS CO OF AMERICA     PO BOX
                                                        406990    A11NTA                                                                                                                            10/221007     SCK    534162     27,152.97
                                                                                                                      M        30384-990           UNITED STATE    81100007 REISAL LIFE&ADD 7107    8/1312007     SCK    532922     29,738.18
     9058800     GEN UNUM LIFE INS CO OF AMERICA     PO               TINTA                                           M        30384-990
     9058800     GEN UNUM LIFE INS co OF AMERICA                                                                                                   UNITED STATE    912/2007 UNM SEPT 2007           101512007     SCK    533895     29,363.86
                                                     PO BOX
                                                         BOX 406990
                                                             40699 AA 11NTA                                           M        30384-990           UNITED STATE    8/1312007 VT PREIUM JU-JUL07     8/1312007     SCK    532923      1,920.20




                                                                                                                    11801137                                                                                             SOFA Att. 3-81 Vendor Payments
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-al
Payments to Creditors Between 07130/2007 and 10/28/2007

Vcnll"r Cia" Vciiil"r:\aiiw '\i111re" Clly,\ddre,' ~~~,:~~ 1'."l:iICloile C"untr Invli'""l)ale lU\'JI"C (:Ii,'ekJ)iil" 1'~t;,:ii:UI 'li;.I:~~I~:~1l USJ)'\lInulil
      905SSOO OEN      UNUM LIFE INS CO OF AMERICA    POBOX406990                                     ATUNTA             GA      30384-6990    UNITEDSTATE      81271007 vn US SAù\RY SI07        8/241207     SCK    533179         954.S0
      905S800 OEN     UNUM LIFE INS CO OF AMERICA     POBOX406990                                     ATUNTA             GA      303S4_699O    UNITED STATE     91212007 VT US SALARY 912007       101512007   SCK    533896         892.80
      9059500 GEN     GE FLEET SERVICES               P.O.BOX100363                                   ATUNTA             OA      30384-0363    UNITED STATE      81112007 BOI0274                 8/13/2007    SCK    532960       4.958.70
      9059500 OEN     GE FLEET SERVICES               P.O.BOX 100363                                  ATlNTA             GA      30384-0363    UNITED STArE      9/412007 8031013                  9m2oo7      SCK    533301       4,326.35
      9081808 OEN     UNION PACIFIC RAILROAD          P.O.BOX502453                                   STLOUIS            MO      63150-2453    UNITE STATE       5(9/2007 22421113                8/27/2007     EDI    102894        370.00
      9081808 OEN     UNION PACIFIC RAILROAD          P.O.BOX502453                                   STLOUIS            MO      63150.2453    UNITE STATE       6nn007 224898288A                81212007      EDI    102894        37700
      9081808 OEN     UNION PACIFIC RAILROAD          P.O.BOX502453                                   STLOUIS            MO      63150-2453    UNITE STATE       8f2oo7 226103166                 8111207       EDI   10288S       1.997.00
      90S180S OEN     UNION PACIFIC RAILROAD          P.O.BOX5024S3                                   ST LOUIS           MO      63150-2453    UNITEDSTATE       8'21007 226103167                8/1712007     ED!   102888       1.997.00
     9081S0S OEN      UNION PACIFIC RAILROAD          P.O.BOX502453                                   ST LOUIS           MO      63150-2453    UNITEDSTATE       8112007 226189325                81212007      EDI    102912      4.07200
     90S1S08 OEN      UNION PACIFIC RAILROAD          P.O. BOX 502453                                 ST LOUIS           MO      63150-2453    UNITEDSTATE      llll6/2007 2262lll2ll5             91512007     EDI    102944      3.66ll.00
     90SISOll GEN     UNION PACIFIC RAILROAD          P.O. BOX 502453                                 ST LOUIS           MO      63150-2453    UNITEDSTATE       9n12oo7 2262lll2ll5A             9121/2007     EDI   103000         293.00
     90ll1llOS OEN    UNION PACIFIC RAILROAD          P.O. BOX 502453                                 ST LOUIS           MO      63150-2453    UNITEDSTATE      ll/16n007 2262l224ll               9/512007     EDI   102944       5,22S.00
     90S1llOll OEN    UNION PACIFIC RAILROAD          P.O.BOX502453                                   ST LOUIS           MO      63150-2453    UNITEDSTATE      ll1212007 22646ll557              9/121007      EDI   102976       2..~87.00
     90S180ll OEN     UNION PACIFIC RAILROAD          P.O. BOX 502453                                 ST LOUIS           MO      63150-2453    UNITED SrA TE     9m2007 226ll059OllA              9/2712007     EDI   103016       1..'60.00
     9081808 OEN      UNION PACIFIC RAILROAD          P.O.BOX502453                                   ST LOUIS           MO      63150-2453    UNITED STATE     9/2012007 226970096              10/121007      EDI   103043       4,665.00
     908180ll OEN     UNION PACIFIC RAILROAD          P.O.BOX502453                                   STLOUIS            MO      63150-2453    UNITED STATE     9/271007 227181729               10/2312007     EDI   103061       3.125.00
     9081808 OEN      UNION PACIFIC RAILROAD          P.O.DOX502453                                   STLOUIS            MO      63150-2453    UNITED STATE     91212007 227181729               10/2312007     EDI   103061       3.125.00
     9081808 OEN      UNION PACIFIC RAILROAD          P.O.BOX502453                                   STLOUIS            MO      63150-2453    UNITE STATE      7/2012007 422531                   818/2007     EDI   102836         300.00
     9085001 OEN      UNISOURCECORP                   DlV OF UNISOURCE WORLDWIDE INCFlLE 57006        LOS ANGELES       CA       90074-7006    UNITE STATE      5/1512007 65225908920             S/2412007    SCK    533186         812.Q
     9120808 GEN      FORET SERVICE, USDA             USDA FORET SERVICE AnN: BOX4I83          5860 UPI CULVECI1Y       CA       90230         UNITE STATE       8(912007 TM02030170015           ll12/2007    SCK    533113       9,488.55
     9120808 GEN      FORETSERVICE, USDA              USDA FORET SERVICE ATI: BOX4183          5860 UPI CULVE CI1Y      CA       90230         UNITE STATE       8(912007 ThlO2030370051          812312007    SCK    533113       8,619.58
     9120808 OEN      FORET SERVICE, USDA             USDA FORET SERVICE ATT: BOX4183          5860 UPI CULVECI1Y       CA       90230         UNITE STATE       8(912007 TM0203037oo52           8/23/2007    SCK    533113       3,158.12
     9120808 OEN      FORET SERVICE, USDA             USDA FORET SERVICE ATT: BOX4183          5860 Upi CULVER CITY     CA       90230         UNITEDSTATE       81912007 TM0203037oo53           8123/2007    SCK    533113      28,514.63
     9120808 OEN      FORET SERVICE, USDA             USDA FORET SERVICE ATT: BOX4183          5860 Upi CULVECI1Y       CA       90230         UNITE STATE       8(912007 TM02030370054           8/23/2007    SCK    533113          39.18
                                                                                                                                                                                                                                                        Case 07-11738-CSS




     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX4183         5860 UP¡ CULVERCI1Y      CA       90230         UNITE STATE       81912007 TM0203037oo56           8/23/2007    SCK    533113      11.47771
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX4183         5860 UP¡ CULVE C11Y      CA       90230         UNITE STATE     9117/2007 Thf02030370057          9126/2007     SCK    533793      21.822.17
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX4183         5860 UP¡ CULVERCI1Y      CA       90230         UNITE STATE     9117/2007 ThlO203037oo5ll         9/26/2007     SCK    533793      13,744.90
     912080ll GEN     FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860UP¡CULVERCI1Y        CA       90230         UNITEDSTATE     9/17/2007 TM02030370059           91212007      SCK    533793       5,837.89
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 UPI CULVER CI1Y     CA       90230         UNITED STATE    911/2007 TM02030370061            912/2007      SCK    S33793       6,195.79
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE AIT: BOX 4183        5860UP¡CULVERCI1Y        CA       90230         UNITEDSTATE     10/1512007 TM02030380001          1012212007    SCK    534150      80.953.77
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 UPI CULVER CI1Y     CA       90230         UNITEDSTATE     10/1512007 Thf0203038000i         101221007     SCK    534150       5.900.92
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860UPICULVERCI1Y        CA       90230         UNITEDSTATE     10/1512007 TM02030380003          10/2212007    SCK    534150      37,266.66
     912080ll OEN     FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860UPICULVERCI1Y        CA       90230         UNITED STATE    10/15/2007 Thf02030380006         1012212007    SCK    534150      13_'62.16
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE AnN: BOX 4183        5860 UPI CULVER CI1Y     CA       90230         UNITE STATE       ll(9/2007 Thf02030670082        8123/2007     SCK    533113       6,326.58
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 Upi CULVER CI1Y     CA       90230         UNITEDSTATE       8(912007 TM02030670083          812312007     SCK    53311          939.98
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 Upi CULVE CI1Y      CA       90230         UNITEDSTATE       8(912007 Thl020306700ll4        8121207       SCK    533113       9,485.74
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 UPI CULVE CITY      CA       90230         UNITED STATE    9/171007 TM02030670088            9/261007      SCK    533793      16.37399
     9120808 OEN
                                                                                                                                                                                                                                                        Doc 266-4




                      FOREST SERVICE, USDA            USDA FOREST SERVICE ATI: BOX 4183        5860 UPI CULVECI1Y       CA       90230         UNITEDSTATE     1011512007 Th02030680004          10/2212007    SCK    534150      53,993.25
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX4183         5860 UPI CULVER CI1Y     CA       90230         UNITEDSTATE     10/221007 TM02030610003           10/2212007    SCK    391145       2.400.00
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE AnN: BOX4183         5860 UPt CULVERCI1Y      CA       90230         UNITE STATE       8(912007 TM0203087oo68          812312007     SCK    533113      58,01.63
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATf: BOX4183         5860 UPJ CULVER CI1Y     CA       90230         UNITEDSTATE       8(912007 Th02030870069          81231207      SCK    533113       8,319.95
     912080ll GEN     FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 UPJ CULVER CI1Y     CA       90230         UNITEDSTATE       81912007 TM02030870070          812/2007      SCK    533113         501.9
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE AnN: BOX4183         5860UP1CULVECI1Y         CA       90230         UNITE STATE       8(912007 TM02030870071          8/312007      SCK    533113       3's64.7ll
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE AnN: BOX4183         5860 UPI CULVERCI1Y      CA       90230         UNITED 5TA TE     81912007 TM02030870073          812/2007      SCK    533113         Ill6.02
     912080ll GEN     FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX4183         5860 UP) CULVER CI1Y     CA       90230         UNITD STATE     9/1712007 TM02030870074           912612007     SCK    533793      50.175.05
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860UP)CULVERCITY        CA       90230         UNITED STATE    10/1512007 TM02030880003          1012212007    SCK    534150     221.968.02
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 UP) CULVER CI1Y     CA       90230         UNITEDSTATE     10/1512007 Thf02030880005         1012212007    SCK    534150       1,S80.75
     9120808 OEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATI: BOX 4183        5860 UPI CULVER CI1Y     CA       90230         UNITEDSTATE     10/1512007 Thf02030880009         1012212007    SCK    534150          32.39
     9120808 GEN      FORET SERVICE, USDA             USDA FOREST SERVICE ATT: BOX 4183        5860 Upi CULVE CI1Y      CA       90230         UNITE STATE     1012212007 Th0203\VSoo002         10/2212007    SCK    391145      27,000.00
     9124713 GEN      INTERNAL REENUE SERVICE         P.0.80X6229                                     CHICAGO           IL       60680-6229    UNITEDSTATE      7/612007 7n/2290                 8/23/2007     SCK    390713         550.00
     9129809 GEN      U.S. POSThlASTER                A TI: POSThtASTER                               HALSEY            OR       97348         UNITED STATE     1013120073053445910'11/07         101912007    SCK    533970       1,009.50
     9135002 GEN      QWEST                           P.O.BOX12480                                    SEATTE            \VA      98111-4480    UNITED STATE     8/412007 5037612403049R08/04n.   9/2412007     SCK    533752          75.93
     9135002 G~'      Q\\'T                           P.O.BOX12480                                    SEATTE            \VA      98111-4480    UNITEDSTATE     811312007605269259981307          9/121007      SCK    390754          44.15
     9135002 GEN      QWEST                           P.O.BOX12480                                    SEATTE            \VA      98111-4480    UNITEDSTATE     7/131200760526925990197/13/07     7/3012007     SCK    390550          44.07
     9135002 OEN      Q\\'T                           P.O.BOX12480                                    SEA TI            \VA      9ll1l1-4480   UNITEDSTATE      811/2007 60564259028/01/07       8/13/2007     SCK    390687          42.01
                                                                                                                                                                                                                                                        Filed 01/04/08




     9135002 OEN      Q\\'T                           P.O.BOX12480                                    SEATTE            \VA      98111-4480    UNITEDSTATE      8'112007 60564277418/01/07       8/13/2007     SCK    390687        976.71
     9139900 OEN      UNITED WAY OFCOLUMDIA           WlLLAEITE         619 SW I 1m AVENUE,II300      PORTIND           OR       97205_2646    UNITEDSTATE      10/1/2007 DEDUCTION SEPT2007      10/512007    SCK    533894 ~      318.00
     9139900 OEN      UNITED WAY OFCOLUMBIA           WlLLAETIE         619 SW 11TH AVENUE,II300      PORTIND           OR       97205-2646    UNITEDSTATE     71212007 UNITED WAY 7128/07       7130/2007     SCK    532568        318.00
     9139900 GEN      UNITED WAYOFCOLUMBIA            WlLlAETIE         619 SW 11TH AVENUE, 11300     PORTlND           OR       97205-2646    UNITEDSTATE     8/30/2007 UNITED   WAY AUG 2007   9/14/2007     SCK    533424        318.00
     9228500 OEN      VAN LEE CONTRCTIG               P,O.BOX67                                       HALSEY            OR       9734ll        UNITEDSTATE     6130/2007 3793                     llf3n007     SCK    532852       3,384.00
     9228500 GEN      VAN LEE CONTRCTG                P.O.BOX67                                       HALSEY            OR       9734ll        UNITED 5TA TE   7/31120073801                     9124/2007     SCK    533787        768.00
     9309100 OEN      WAGNER ELECONIC PRODUCT INC     326 PINE GROVE ROAD                             ROGUE RIVER       OR       97537         UNITEDSTATE     712/2007 28202                    9/21/2007     SCK    390904        695.90
     9376203 OEN      DEPTOF LABOR& INDUSTRES         P.O.BOX24442                                    SEATI             \VA      98124.0442    UNITEDSTATE      ll12007 WA SELF INSURED 2NDQTR   ll/13/2007    SCK    532924          25.00
     9392500 OEN      STATEOFWASHINGTON               DEPTOF EMPLOYMENT SECURITY P.O. BOX 34188 SEATI                   \VA      98124-1188    UNITEDSTATE     1019/20073RDQTR WA SUII0/IOI07    10/1112007    SCK    534012        366.88
     9402600 GEN      DEPTOF LABOR & INDUSTRES        P.O.BOX24546                                    SEATnE            \VA      98124-1388    UNITEDSTATE     10(9120073RDQTR WA W/A101l0/07    10/11/2007    SCK    534004        900.16
     9557000 OEN      \\'TERN COMMUNICATIONS INC      3106S HIGHWAY79                                 RAPID CI1Y        SD       57101         UNITED STATE    7/2lln007 7-642ll97               9/14/2007     SCK    390807         120.00
     9557000 GEN      WESTERN COMMUICATIONS INC       3106S HIGHWAY79                                 RAPID CI1Y        SD       57101         UNITED STATE    8/1012007 7-A94395A               912112007     SCK    390906          34.32
     9617500 OEN      WESTERN TRUCKIG                 P.O.BOX980                                      BAKER             MT       59313         UNITEDSTATE      7/512007 150714                  7/3012007     SCK    390560       1.257.12
     9617500 GEN      WESTERN TRUCKING                P.O.BOX980                                      BAKER             MT       59313         UNITEDSTATE     7/121007 150724                   7130/2007     SCK    390560       1,257.12
     9617500 OEN      WESTERN TRUCKING                P.O. BOX 980                                    BAKE              MT       59313         UNITED STATE    7/161007 150733                    81312007     SCK    390622       1,005.14
     9617500 OEN      WESTERN TRUCKING                P.O. BOX 980                                    BAKER             MT       59313         UNITE STATE     7/1912007 150744                  9/1212007     SCK    390ll34      1,257.12
                                                                                                                                                                                                                                                        Page 5 of 23




     9617500 OEN      WESTERN TRUCKING                P.O.BOX980                                      BAKER             Mr       59313         UNITE STATE     7/261007 150765                   8/291207      SCK    390723       1,257.12
     9617500 OEN      WESTERN TRUCKING                P.O.BOX980                                      BAKER             MT       59313         UNITED STATE     8/112007 150785                  812912007     SCK    390723       1,257.12
     9617500 OEN      WESTERN TRUCKING                P.O.BOX980                                     BAKER              MT       59313         UNITEDSTATE     7f3012007 150786                  8'2912007     SCK    390723       1.250.28
     9617500 OEN      WESTERN TRUCKING                P.0.BOX9llO                                     BAKER             MT       59313         UNITE STATE     713012007150787                   81212007      SCK    390723       1,337.72
     9617500 OEN      WESTERN TRUCKIG                 P.O.BQX980                                     BAKER              MT       59313         UNITEDSTATE     7130/2007 150789                  ll129/2007    SCK    390723        712.80
     9617500 GEN      WESTERN TRUCKIG                 P.O.BOX9llO                                    BAKER              MT       59313         UNITEDSTATE      llf2oo7 150790                   8129/2007     SCK    390723       1,S58.52
     9617500 GEN      WESTERN TRUCKING                P.O.BOX980                                     BAKER              MT       59313         UNIlCDSTATE      8'112007 150792                  ll1212OO7     SCK    390723       1,718.22
     9617500 GEN      WESTERN TRUCKING                P.O.BOX980                                     BAKER              MT       59313         UNITE STATE      lllln007 150798                  8121207       SCK    390723        725.78
     9617500 GEN      \\'TERN TRUCKING                P.O.BOX980                                     BAKER              MT       59313         UNITE STATE      8/61007 150808                   8121207       SCK    390723       1.005.14
     9617500 GEN      WESTERN TRUCKIG                 P.O.DOX980                                     BAKER              MT       59313         UNITED STATE     ll19/2007 150812                 9/121007      SCK    390834       1,257.12
     9617SOO GEN      WESTERN TRUCKIG                 P.O.BQX980                                     BAKE               MT       59313         UNITEDSTATE      ll18007 150813                   81212007      SCK    390723       1,181.78
     9617500 GEN      \\'TE TRUCKIG                   P.O.80X980                                     BAKE               MT       59313         UNITEDSTATE     llll12oo7 l50822                  91121007      SCK    390834       2,112.48




                                                                                                                      11Qof137                                                                                        SOFA Att. 3-a1 Vendor Paymenlii
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Allachment SOFA 3-al
Payments to Creditors Between 07/30/2007 and IOn8/2007

\'c,lil"r CLa.'~ Vl.,uliiri'Úliic _ "i1i1"l.~.' ell)' "ddrl..,~ ~:~,l~: 1'",l:ICmll. Cmiilr) Inw,ln' ¡hiil. In.-uiee Check f)ale 1'~t;,ir~:DI 'I1~::~~I~~oi USl)"ni"unl
     9611500 GEN WESTERN TRUCKIG                      P.O. BOX 980                                 BAKER          w        59313        UNITE STATE      SI1312OO7 150S29                S/2912OO7     SCK    390723       1,37222
     9611500 GEN WESTERN TRUCKIG                      P.O, BOX 980                                 BAKER          w        59313        UNITEDSTATE      S11612OO7 150842                9/12/007      SCK    390834       1,257.12
     9611500 GEN WESTERN TRUCKING                     P.O. BOX 980                                 BAKER          w        59313        UNITEDSTATE      8/2012007 150S46               10/10/2007     SCK    390943       1,599.92
     9611500 GEN WESTERN TRUCKIO                      P.O. BOX 9S0                                 BAKER          w        59313        UNITEDSTATE      8l-12007 150857                10/1012007     SCK    390943       1,257,12
     9629lìOO GEN WESTERN WOOD PRODUCT ASSN           YEON BUILDING     522 SW 5TH AVENUE   SUITE 50 PORTIND      ~        97204        UNITED STATE     71100007 I-óS0 JUE 2007 SHIP    81112007      SCK    390709       3,607.60
     9629800 OEN WESTERN WOOD PRODUCT ASSN           YEON BUILDING      522 SW 5TH AVENUE   SUITE 50 PORTIND      ~        97204        UNITED STATE     513112007 1N005S257            9/1412007      SCK    390808         224.10
     9629BOO OEN WESTERN WOOD PRODUCT ASSN            YEON BUILDING     522 SW 5TH AVENUE   SUITE 50 PORTIND      ~        97204        UNITE STATE      6/2912007 1N0058304              S13/2007     SCK    390623         524.2
     9629800 OEN WESTERN WOOD PRODUCT ASSN           YEON BUILDING      522 SW 5TH AVENUE   SUITE 50 POR11ND      ~        97204        UNITE STATE      712512007 INV005S337            912/2007      SCK    390907          54.65
     9637602 GEN WESCO DISTRBUTION INC.               POBOX31OOI-0465                              PASADENA       ~        91110-0465   UNITE STATE      6/2912007 73407                  S13/2007     SCK    532855         266.S0
     9637602 GEN \VECO DISTRBUTION INC.               POBOX31001-0465                              PASADENA       ~        91110-0465   UNITE STATE      612112007 76023                 71301207      SCK    532671         48S.31
     9637602 GEN \VECO DISTRBUTION INC.               POBOX31001-0465                              PASADENA       ~        91110-0465   UNITE STATE      6/2112007 76290                 71012007      SCK    532671          29.72
     9637602 GEN \VECO DISTRBUTION INC.               POBOX31001-0465                              PASADENA       ~        91110-0465   UNITE STATE      6/2112007 76297                 71301207      SCK    532671          11.96
     9637602 GEN WESCO DISTRBUTION INC.               POBOX31001-0465                              PASADENA       ~        91110-0465   UNITE STATE      6122/2007 77644                 7130/2007     SCK    532671          35.54
     9637602 GEN WESCO DISTRBUTION INC.              PO BOX 31001-0465                             PASADENA       ~        91110.0465   UNITE STATE      6/22/2007 77646                 713012007     SCK    532671          35.54
     9637602 GEN WESCO DISTRBUTION INC.               POBOX31001-04ó5                              PASADENA       ~        91110_0465   UNITE STATE      6122/2007 77654                 713012007     SCK    532671           2.99
     9637602 GEN WESCO DISTRBUTION INC.               POBOX31001-04ó5                              PASADENA       ~        91110.0465   UNITEDSTATE     61212007 SI403                   7130/2007     SCK    532671          44.82
     96Hó02 GEN \VECO DISTRBUTION INC.                POBOX31001-0465                              PASADENA       ~        91110-0465   UNITEDSTATE     612S/2007 S2709                   813/2007     SCK    532855          14.33
     96H602 GEN \VECO DISTRBUTION INC.                POBOX31001-0465                              PASADENA       ~        91110-04ó5   UNITEDSTATE     61212007 83426                    81312007     SCK    532S55          45.73
     9631602 GEN \VECO DISTRBUTION INC.              POBOX31001_0465                               PASADENA       ~        91110-0465   UNITEDSTATE     6/712007 84105                  7130/2007      liCK   532671          54.00
     96H602 GEN \VECO DISTRBUTION INC.               POBOX31001-0465                               PASADENA       ~        91110.0465   UNITEDSTATE      71512007 89578                  lì/13/2007    SCK    533029         125.00
     9654500 GEN WEYERHEUSER CO                      3923 NE OLD SALEM ROAD                        ALBANY         ~        97321        UNITEDSTATE      2/S12007 9.6545E+12            S/1512007      SCK    533062          (8,9J)
     9654500 OEN WEYERHEUSER CO                      3923 NE OLD SALEM ROAD                        ALBANY         ~        97321        UNITEDSTATE     711912007 9.6545E+12            713112007      SCK    532695       1,191.45
     9654500 GEN WEYERHAEUSER CO                     3923 NE OLD SALEM ROAD                        ALBANY         ~        97321        UNITEDSTATE      S1312007 9.6545E+12            S/15/2007      SCK    533062      12,S43.22
     9613400 GEN WHISLER BEARIG CO                   BOX1336                                       RAPID Cin-     W        57709
                                                                                                                                                                                                                                               Case 07-11738-CSS




                                                                                                                                                         S/I12007 108530                9/2112007      SCK    390908         441.26
     9613400 OEN WHISLER BEARIG CO                   BOX1336                                       RAPID Cin-     W        57709                        6/271007 107048                 713012007      SCK    390561         305.05
     9613400 OEN WHISLER BEARING CO                  BOX1336                                       RAPID ein-     W        57709                         71212007 107243                8/13/2007      SCK    390710          80.17
     9673400 OEN WHISLER BEARING CO                  BOX136                                        RAPID ein-     W        57709                         715/2007 107369                8/1312007      SCK    390710         304.47
     9673400 GEN WHISLER BEARING CO                  BOX1336                                       RAPID Cin-     W        57709                         71512007 107372                S/1312007      SCK    390710           753
     9673400 GEN WHISLER BEARINO CO                  BOX1336                                       RAPID Cin-     W        57709                        711812007 107970                91212007       SCK    390908         129.17
     9673400 GEN WHISLER BEARIO CO                   BOX1336                                       RAPID Cin-     W        57709                        711812007 107971                9/212007       SCK    390908         244.73
     9673400 GEN WHiSLERBEARlNOCO                    BOX1336                                       RAPID Cin-     W        57709                        71251207 IOS243                 9/2112007      SCK    390908          4S.91
     9673400 GEN WHISLER BEARIG CO                   BOX 1336                                      RAPID Cin-     W        57709                        71512007 IOS280                 91212007       SCK    390908         152.53
     9768800 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITED STATE     8f812oo7 1077301TOGP7107       &/16/2007       EDI   102S73     126,556.33
     9768800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITED STATE     9/4/2007 9/412007               9/4/2007     IVRE     66511      50,000.00
     9768lìOO CRT HAMPTON LUMBER MILLS, INC.         9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITED 5TA TE    91512007 9/512007               9/512007     IVR       6656      50,000.00
     9768lìoo CRT HAMPTON LUMBER MILLS, INC.         9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITED STATE     9/61007 91612007                9/612007     IVR       6660      50,000.00
     9768800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITED STATE     9n12007 9n12007                 9n12007      IVR       6675      50,000,00
                                                                                                                                                                                                                                               Doc 266-4




     9768800 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225_6666   UNITED STATE    711912007 9.7688E+12            713112007     SCK     532676     278~'99.38
     9768800 CRT HAMPTON LUMBER MILL,INC,            9600 SW BARES ROAD SUITE200                   PORTLND        ~        97225-6666   UNITED STATE     S1312007 9.7688E+12            S/16/2007      EDI    102874     510,967.95
     9768800 CRT HAMPTON LUMBER t.ULLS,INC.          9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-666    UNITED STATE    S/2012001 9.7688E+12             9/5/2007      EDI    102945     425,S59.32
     9768800 CRT HAMPTON LUMBER MILLS,INe.           9600 SW BANES ROAD SUITE200                   PORTLND        ~        97225-6666   UNITED STATE    S12012007 9768800107082-e        9/512007      EDI    102945    (425,S59.32)
     976lì800 CRT HAMPTON LUMBER MILLS, INC.         9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITED STATE     916/2007 9.7688E+12            9114/2007     SCK     533339     190,492.51
     976lì800 CRT HAMPTON LUMBER MILLS,INC.          9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITED STATE     91612007 9768800107091-e       9114/2007     SCK     533339    (190,492,57)
     976lì800 CRT HAr-WTON LUMBER MILLS, INC.        9600 SW BANES ROAD SUITE200                   PORTLND        ~        97225-6666   UN1TESTATE      9/2012007 9,76SSE+12             10/112007     EDI    103030     332,639.51
     9168800 CRT HAMPTON LUMBER MILLS.INC.           9600 SW BANES ROAD SUITE200                   PORTLND        ~        97225-6666   UNITED STATE    9120/2007 9768SOOL07092-C        101112007     EDI    103030    (332,639.51)
     9768800 CRT HAMPTON LUMBER MILLS.INC.           9600 SW BARNES ROAD SUITE 200                 PORTLND        ~        97225-6666   UNITE STATE     S12012007 HAMPOS2207            8122/2007     IVR       6576      55,000.00
     9768800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITD STATE     812/2007 HAMPOS2307             812/2007      WR        65S7      55,000.00
     9168lìOO CRT HAMPTON LUr-æER MILLS, INC.        9600 SW BARNES ROAD SUITE 200                 POR11ND        ~        97225-6666   UNITED STATE    8120/2007 HAMP082407            8124/2007     IVR       6592      55,000,00
     9768lìOO CRT HAMPTON LUMBER MILLS, INC.         9600 SW BARNES ROAD SUITE 200                 PORTlND        ~        97225-6666   UNITED STATE    S124/2007 HAMP082707            81212007      IVR       6597      15,000.00
     9768800 CRT HAMPTON LUMBER r-ßLLS, INC.         9600 SW BARES ROAD SUITE200                   PORTLND        ~        97225-6666   UNITED STATE    9/26/2007 HAMP0827079/27107     10/112007      EDI    103030         868.70
     9768lìOO CRT HAMPTON LUMBER r-nLLS, INC.        9600 SW BARES ROAD SUITE200                   PORTIND        ~        97225-6666   UNITED STATE    81212007 HAMP082807             8128/2007     WR       .",        15,000.00
     9768800 CRT HAMPTON LUMBER MILLS,lNe,           9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNlTESTATE      812912007 HAMP082907            S12/2007      IVR      6615       15,000.00
     9768800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITED STATE    813012007 HAMPOB3007            S13012007     WR       6629       15,000.00
     9768800 CRT HAMPTON LUr-æER MILLS, INC.         9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITED STATE    81312007 HAMP083  107           S13112007     IVR      6639       15,000.00
     9768800 CRT HAMPTON LUMBER MILLS,INC,           9600 SW BARNES ROAD SUITE200                  POR11ND        ~        97225-6666   UNITEDSTATF      91512007 HAMP090607            9/121007       EDI    102977       6,528.82
                                                                                                                                                                                                                                               Filed 01/04/08




     976lìSOO CRT HAMPTON LUMBER MILLS, INC.         9600 SW BAES ROAD    SUITE200                 PORlùND        ~        97225-6666   UNITED STATE    813112007 HAMP090707             9n12007       ED!    102963         IS4.05
     976&&00 CRT HA~WTON LUMBER MILL,INC,            9600 SW BANES ROAD SUITE200                   POR11ND        ~        97225-6666   UNITED STATE    9/1012007 HAMP091OO7            9/1012007     IVR      6687       50,000.00
     976lìSOO CRT HAMPTON LUr-æER MILLS,INC.         9600 SW BAES ROAD    SUITE200                 POR11ND        ~        97225-6666   UNITED STATE    9/1112007 HAMP091107            9/1112007     IVR      6691       50,000.00
     9768S00 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BANES ROAD SUITE200                   POR11ND        ~        97225-6666   UNITED STATE    9/121007 HAMP091207             9/121007      IVR      6697       50,000.00
     9768S00 CRT HAMPTON LUMBER MlLLS,INC.           9600 SW BANES ROAD SUITE200                   POR11ND        ~        97225-6666   UNITED STATE    91112007 HAMP091307             9/1312007     IVR      6704       50,000.00
     9768S00 CRT HAMPTON LUMBER MILL,INe.            9600 SW BANES ROAD SUITE200                   POR11ND        ~        97225-6666   UNITED STATE    9/1412007 HAMP091407            9/1412007     IVR      6714       50,000.00
     9768800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BANES ROAD SUITE200                   PORTlND        ~        97225_6666   UNITE STATE     9/1712007 HAMP091707            9/171007      IVR      6723       50,000.00
     9768800 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BARNES ROAD SUITE200                  PORnAND        ~        97225-666    UNITED STATE    9/171007 HAMP0917079/l707       10/112007      EDI    103030        (708.00)
     9768&00 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  POR11ND        ~        97225-6666   UNITED STATE    9/181007 HAMP091S07             911812007     IVR      6734       50,000.00
     9768&00 CRT HAMPTON LUMBER MILLS. INC.          9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITED STATE    91112007 HAMP091907             911912007     IVR      6739       50,000.00
     976Slìoo CRT HAMPTON LUMBER MILLS,INC.          9600 SW BARNES ROAD SUITE200                  POR11ND        ~        97225-666    lIlTEDSTATE     9/20/2007 HAMP092007            9/2012007     IVR      6744       50,000.00
     976&lìOO CRT HAMPTON LUMBER MILLS, INC.         9600 SW BARNES ROAD SUITE200                  POR11ND        ~        97225-6666   UNITED STATE    9/21/2001 HAMP092107            91212007      IVR      6751       50,000.00
     976S800 CRT HAMPTON LUMBER MILLS,INC,           9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   lIlTESTATE      9/24/2007 HAMP092407            9124/2007     IVR      6758       50,000.00
     976S800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITEDSTATE     9/2512007 HAMP092507            912512007     IVR      6764       50,000.00
     976S800 CRT HAMPTON LUMBER MILLS, INC.          9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITEDSTATE     912612007 HAMP092607            9/2612007     IVR      6770       50,000.00
     976&&00 CRT HA~WTON LUr-ffER MILLS,INC.         9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNlTED5TATE     91271007 HAMP092707             912/2007      IVR      6775       50,000.00
                                                                                                                                                                                                                                               Page 6 of 23




     976&&00 CRT HAMPTON LUr-ffER MILLS, INC.        9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITED STATE    9/28/2007 HAMP092807            91212007      IVR      6791       50,000.00
     976&800 CRT HAMPTON LUMBER MILLS,INe.           9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225_6666   UNITE STATE     101112007 HAMP100107            10/112007     IVR      6lì05      50,000.00
     976&800 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BARES ROAD SUITE200                   PORTIND        ~        97225-6666   UNITEDSTATE     10/2/007 HAMPI00207             101212007     IVR      6816       50,000.00
     976S800 CRT HAr.IPTON LUMBER r-nLLS,INC.        9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITED STATE    1013/2007 HAMPI00307            101312007     IVR      6822       50,000.00
     9768S00 CRT HAt.WTON LUJ\ffER MILLS,INC.        9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITEDSTATE     1014/2007 HAMPI00407            1014/2007     IVR      6S30       50,000.00
     9768S00 CRT HAMPTON LUMBER MILLS,INC.           9600 SW BANES ROAD SUITE200                   PORTIND        ~        97225-6666   UNlTED5TATE     10/512007 HAMPI00507            10/5/2007     IVR      6842       50,000.00
     9768800 CRT HAMPTON LUMBER MILLS,INe.           9600 SW BARNES ROAD SUITE200                  PORTIND        ~        97225-6666   UNITEDSTATE     101912007 HAMPI00907            101912007     IVR      6S48       50,000.00
     9768800 CRT HAMPTON LUMBER MILLS.INC.           9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITED STATE    1011012007 HAMPI01007           10/1012007    IVR      6S55       50.000.00
     9768800 CRT HAMPTON LUMBER l'ßLLS.INe.          9600 SW BANES ROAD SUITE200                   PORTLND        ~        97225-6666   UNITEDSTATE     101112007 HAMPIOII07            10/1112007    IVR      6S65       50,000.00
     9768800 CRT HAr-tpTON LUMBER MILLS,INC.         9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITEDSTATE     10/1212007 HAMPI01207           10/1212007    IVR      6877       50,000.00
     9768800 CRT HAMPTON LUMBER MlLL.INC.            9600 SW BARNES ROAD SUITE200                  PORTLND        ~        97225-6666   UNITEDSTATE     10/1512007 HAMPI01507           10/15/2007    WR       6S92       50,000,00
     9768lìOO CRT HAMPTON LUl'ffER MILLS,INe.        9600 SW BARNES ROAD SUITE200                  PORTlND        ~        97225-6666   UNITEDSTATE     10/1612007 HAMPI01607           10/1612007    IVR      .'"1       50,000.00




                                                                                                                1200f137                                                                                      SOFA All. 3-81 Vendor Payments
Pope & Talbot. Inc.
Case No. 07-11738 ICSS)
Attachment SOFA 3-a1
Payments to Creditors Between 07/30/2007 and 10/28/2007

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      9768800   CRT   HAMPTON LUMBER ;-nLLS. INC.     9600 SW BANES ROAD 8UIT£200    PORTLND          OR       97225-6666   UNITEDSTATE        10/17/2007 HAMPI01707              10/1712007   IVRE             6911      50,000.00
      9768800   CRT   HAMPTON LUMBER r.nLLS,INC.      9600 SW BARNES ROAD SUlTE200   PORTLND          OR       97225-6666   UNITE 8TA TE       10/1812007 HAMPIOIS07              10/1812007   IVRE             69i~      50,000.00
      9768800   CRT   HAMPTON LUMBER MILLS,INC.       9600 SW BARNES ROAD SUITE200   PORTIND          OR       9122S-óó66   UNITEDSTATE        10/1912007 HAMPI01907              10/1912007   IVRE             69~8      50.000.00
      9768800   CRT   IIAMPTON LUMBER MILLS,INC.      9600 SW BARES ROAD SUITE200    PORTIND          OR       91225-6666   UNITEDSTATE        1012212007 HAMPlOi207              10/2212007   \VRE             6946      50,000.00
      9768800   CRT   HAMPTON LUMBER MILLS, INC.      9600 SW BARNES ROAD SUITE200   PORTIND          OR       97225.6666   UNITEDSTATE        10/23/2007 HAMPI02307              10/23/2007   WRE              6960      50,000.00
      9768800   CRT   HAMPTON LUMBER MILts, INC.      9600 SW BARNES ROAD SUITE200   PORTLND          OR       97225.6666   UNITEDSTATE        10124/2007 HAt.W102407             10/24/2007   \VR              6970      50,000.00
      9768800   CRT   HAMPTON LUMBER MILLS, INC.      9600 SW BARNES ROAD SUITE200   PORTIND          OR       97225.6666   UNITED STATE       10/25/2007 HAMPI02507              10/25/2007   \VR              6984      50,000.00
      9768800   CRT   HAMPTON LUt.IDER MILLS, INC.    9600 SW BARES ROAD SUITE200    PORTIND          OR       97225.6666   UNITED STATE       10/261007 HAMP102607               10/26/2007   \VR              7004      50,000.00
      9768800   CRT   HAMPTON LUMBER MILLS, INC.      9600 SW BANES ROAD SUITE200    PORTIND          OR       97225-6666   UNITE STATE        8121/2007 PP082107                 8/21/2007    \VR              6572      55,000.00
      9768800   CRT   HAMPTON LUt.IDER ò\fiLL, INC.   9600 SW BARNES ROAD SUITE200   PORTIND          OR       97225.6666   UNITE STATE         81312007 PRE PYMT 819 \VK 2007     8/9'2007    \VR              6541     :UO,OOO.OO
      9768800   CRT   HAMPTON LUMBER MILLS, INC.      9600 SW BARNES ROAD SUITE200   PORTIND          OR       97225.6666   UNITE STATE         8/1f2007 PREPAYMENT8/01_8/07       8/1/2007    \VR              6524     250,000.00
      9768800   CRT   HAMPTON LUMBER MILLS, INC.      9600 SW BARNES ROAD SUITE200   PORTIND          OR       97225.6666   UNITEDSTATE        8/23/2007 VOLUME APM 4107 _ 6107   &13112007    EDI            102917      10,146.30
      9872800   EMP   BOB WOODARD                     CfO POPE & TALBOT INC          HALSEY           OR       97348                            9/512007 83007                     9m2007      SCK            533290         100.00
      9886800   GEN   WRIGHT MACHINE TOOL CO., INC.   365 PAi.~IERAVEUE              COTTAGEGROVE     OR       97424        UNITEDSTATE        6'2&12007121l5-IN                   813/2007    SCK            390624        262.80
      9912400   GEN   Y A TE.AMERlCAN r-lACHINE CO    P.O.BOX958                     BELOIT           IVI      53511        UNITIDSTATE         71312007 81328                     81312007    SCK            390625       5.205.80
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATT            IVA      98124-1935   UNITIDSTATE        7/11/2007 2025855.05               811/2007     SCK            390701          42.17
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOXH935        SEAlTE           IVA      98124-1935   UNITID STATE       7/1112007 2033988.05               8/13'2007    SCK            390701          39.74
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATlE           IVA      98124-1935   UNITID STATE       6127120072033988.04                7130'2007    SCK            390556          3253
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           IVA      98124.1935   UNITID STATE       7/1112007 2042758.05               81112007     SCK            390701          40.78
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           \VA      98124-1935   UNITIDSTATE        7117120072042758_06                9/2112007    SCK            390900          1ì7.21
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           \VA      98124-1935   UNI1'STATE         7/1112007 2045113-01               8/13/2007    SCK            390701          11.80
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           \VA      98124-1935   UNITEDSTATE        7111/2007 2051472.00               8'1312007    SCK            390701        61L.7S
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           IVA      98124-1935   UNITEDSTATE        7119/2007 2051472.01               9/212007     SCK            390900          73.11
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       P080X34935       SEATT            \VA      98124.1935   UNITEDSTATE        71912007 2051472.02                9/21/2007    SCK            390900        229.57
                                                                                                                                                                                                                                               Case 07-11738-CSS




      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           IVA      9&124-1935   UNITEDSTATE        7/17/2007 2051472-03               9/2112007    SCK            390900       1,453.75
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEA lTE          IVA      98124-1935   UNITEDSTATE        7/26/2007 2052&62-00               9/2112007    SCK            390900         168.84
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       PO80X 34935      SEATlE           IVA      9&124.1935   UNITEDSTATE        7/19/2007 2053436-00               9/21/2007    SCK            390900          12.06
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATT            IVA      98124-1935   UNITIDSTATE        7/17/2007 2054802.00               9/212007     SCK            390900          14.42
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       P080X34935       SEA TIE          IVA      98124-1935   UNITEDSTATE        7/19/2007 2054850_00               9/21/2007    SCK            390900          62.40
      9914500   GEN   SPENCER FLUID POWER             DEPT.51       POBOX34935       SEATTE           IVA      98124.1935   UNlffDSTATE        7/25/2007 2055766.00               9/21/2007    SCK            390900          36.30
      9957503   GEN   ZEE MEDICAL INC.                P080X781583                    INDIANAPOLIS     IN       45278.85&3   UNITEDSTATE        7/61007 161250277                  81112007     SCK            533031        237.19
      9957503   GEN   ZEE MEDICAL INC.                POBOX781583                    INDIANAPOLIS     IN       45278-8583   UNITEDSTATE        8m2007 161250373                   9124f2oo7    SCK            533792         103,79
                                                                                                                                                                                                      Total            --
                                                                                                                                                                                                                                               Doc 266-4
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                                                                                                    12101137                                                                                                  SOFA Att. 3'81 Vendor Paymenti
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor CIiI~S Vclllur NnUll! Addrc~s City Address Stale/Proi" ('ostal Code COiliiir)' Iin"uicc nOlte Jiii'oice Chcçk OiiIe I'iiyiiciil T)'lC T~::;::II::~11I B:I~ii~I:~~~~IL"Y Base Curreiicy FX Ibic i!Si~:;::::lil:~ii'iil
    65\       GEN      MCGAS PROPAN                   18743 US HIGHWAY 85 BELLE FOURCHE                 m       57717     UND STATES       11/610    54829                     11/16107   SCK   392018        184.00    usn        1.00000              1&4.00
    651      GEN       MCGAS PROPANE                  18743 us HIGHWAY 85 BELLE FOURCHE                 m       57717     UND     STATES   11/6107   54829                     11/16107   SCK   392018          7.36    llSD       1.00000                7.36
    651      GEN       MCGAS PROPANE                  18743 us HIGHWAY
                                                                    85 BELLE FOURCHE                    m       57717     UND     STATE     1116107  54898                    tl/16107    SCK   392018        368.00    usn        1.00000             368.00
    651      GEN       MCGAS PROPANE                  18743 us llGHWA Y 85 BELLE FOURCHE                m       57717     UND STATES       1116107   54898                    11/16/07    SCK   3920\8         14.72    usn        1.00000               14.72
   40026     GEN       OREGON DEPT OF ruSTICE        PO  BOX                                            æ    97309-0420   UND     STATES   1013107   DEMACONANE 10107PRE        1119107   SCK   540070        498.60    usn        1.00000             498.60
   40026     GEN      OREGON DEPT OF niSTICE         PO  BOX 14506
                                                               14506 SALEM
                                                                      SALEM                             æ    97309-0420   UND     STATE    1013107   GARNIHMNT 10107PRE         1119107   SCK   540070      2,37739     USD        1.00000           2,37739
   40099     CRT      CORAL POWER, L.L.C.            909 FANN, SUI 700 HOUSTON                          ~       77010     UND     STATES   11113107  20F2 NOV2007 DB          11/13107    WR      7185    442,800.00    usn        1.0000          442,800.00
   40141     GEN       BUS~£NLL'S WAREHOUSING &      TRUCKING CORP., 2720 NW 35TI AVENU PORTLAND        æ       97210     UND     STATE    11/8107   53141DB                    1119107   WR      7154      1,000.35    llSD       1.00000           1,000.35
   40141     GEN      BUSHNLL'S WAREHOUSING &        TRUCKING CORP., 2720 NW 35TH AVENU PORTLAND        æ      97210      UND     STATE    11/8107   53279 DB                   1119107   WR      7154        678.30    usn        1.0000              678.30
   40737     GEN      ECHO LOAD BROKERS              850 GRAND A VENl GRAND nmCTION                     m      81501      UND     STATES   1013107    1840                    11114107    EDI    101932     1,244.60    usn        1.00000           1,244.60
   40737     GEN       ECHO LOAD BROKERS             850 GRAND A VENU GRAND ruCTION                     m      81501      UND STATES       1013/07    1840                    11114107    EDI    101932         8.94    usn        1.00000                8.94
   41011     GEN       RAINOW GAS COMPANY            919 soum 7TH STRET, SUIT 405 BISMA                 ~    58504-5835   UND STATE        11/14107  IVCOOL4917               11116107    EOJ    101937    20,376,43    USD        1.00000          20,376,43
   41011     GEN      RAINOW GAS COMPANY             919 SOUT 7TH STRET, SUI 405 BISMA                  ~    58504-5835   UN STATES        11/14107  IVCOOL4917               11116107    EOJ    101937       815.06    usn        1.00000             815.06
   41292     GEN      4 R LOGGING & CONSTRUCTION,    INC., PO BOX 742 SPEAISH                           m      57783      UND    STATES    11/13107  UL104806                 11/13/07    SCK   540099        475.90    usn        1.00000             475.90
   41313     GEN      EOUCA 110N ASSISTANCE CORP     1151ST AVENU SW ABERDEEN                           m      57401      UND    STATES    2117107   520196300UPDIK 21707       1119107   SCK   540046         42.54    usn        1.00000               42.54
   4131J     GEN      EDUCATION ASSISTANCE CORP      1151STAVENUSW ABERDEEN                             m      57401      UND    STATES    11/6107   LONG 11-6-2007             1119107   SCK   540045        118.1l    usn        1.00000             118.11
   41313     GEN      EDUCATION ASSISTANCE CORP      115 1ST AVENU SW ABERDEEN                          m      57401      UND    STATES    10119107  WYATILONG 10/23107         1119107   SCK   540047        150.59    usn        1.00000             150.59
   41538     GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORTL            æ      97201      UND    STATES    1013107   FEDL TX DEF 11107107       iinlO7    ACH     7036     39.552.72    usn        1.00000          39,552.72
   41538     GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN. 1300 SW FI AVENU PORTLND         æ      97201      UND    STATES    1013107   FEDL TX DEPT 1 1107107     11nlO7    ACH     7036      9,250.22    usn        I .00000          9,250.22
   41538     GEN       WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWAF AVENU PORTL           æ      97201      UND    STATES    1013107   FEDt TI DEPT 11107107      iinlO7    ACH     7036     32,348.99    usn        1.00000          32,348.99
   41538     GEN      WELLS FARGO HSnC TRDE BANK NA CONCENTTION ACCOUN. 1300 SW FI AVENU PORTL          æ      97201      UND    STATES    1116107   FEL TX WID 11,18107        ii18107   ACH     7092      1,012.52    usn        1.00000           1,012.52
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOVN. 1300 SW Fl AVENU PORTIAND        æ      97201      UND    STATES    11/6107   FEDL TX WID 11108107       ii18107   ACH     7092        236.80    usn        1.00000             236.80
  41538      GEN      WELLS FARGO HSBC TRE BAN NA CONCENTTION ACCOVN, 1300 SWFIAVENU PORlLAN            æ      97201      UND    STATES    11/6107   FEL TX WID 1 1108117       ii18107   ACH     7092      2,040.57    usn        1.00000           2,040.57
                                                                                                                                                                                                                                                               Case 07-11738-CSS




  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORTLAN          æ      97201      UND    STATES      Iim07   PEDL TX W/H 11113107     11/13/07    ACH     7107     10,044.28    usn        1.00000          10,044.28
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORlLAND         æ      97201      UND     STATES     IinlO7  FEDL TX W/H 11/13107     11113117    ACH     7107     37,524.77    usn        1.00000          37,524.77
  41538      GEN      WELLS FARGO HSBC TRE BAN NA CONCENTTION ACCOUN, 1300 SWFl AVENU PORTLAN           æ      97201      UND STATES         IlnlO7  FEnL TX W/H 11113107     11/13107    ACH     7107     42,947.28    usn        1.00000          42,947.28
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORTLAND         æ      97201      UN      STATES   11112/7   FEDL TX W/H 1 1116107    11116/07    ACH     7204     49,569.36    usn        1.00000          49,569.36
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SW FI AVENU PORTL           æ      97201      UND     STATES   1l/12/7   FEnL TX W/H 11/16107     11116/07    ACH     7204     15,442.14    usn        1.00000          15,442.14
  41538      GEN      WELLS FARGO HSBC TRDE BANK NACONCENTTION ACCOUN, 1300 SWFI AVENU PORTL            æ      97201      UND STATE        11/12/7   FEDL TX WfH 11116107     11116/07    ACH     7204     62,296.13    usn        1.00000          62,296.13
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SW FI AVENU PORTL           æ      97201      UND     STATE      11/5107 PEDL TX WH I 1/08107       1118107   ACH     7074      1,395.16    usn        1.00000           1,395.16
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORTLAND         æ      97201      UND    STATES      11/5107 FEDL TX WH 11/08107        11/8107   ACH     7074     13,102.09    usn        1.00000          13,102.09
  41538      GEN      WELLS FARGO HSBC TRE BANK NA CONCENTTION ACCOUN, 1300 SWFI AVENU PORTL            æ      97201      UND    STATES     1018107 FUTXDEPTI0/28107          1013/07     ACH     7017      1,719.17    usn        1.00000           1,719.17
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENfRPOIN DRI ELWOOD                       ~      60421      UND    STATES     8131107 21165                      1119107    SCK   540097      1,767.93    usn        1.00000           1,767.93
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENTRPIN DRIV ELWOOD                       ~      60421      UND    STATES      9/1107  21226                     1119107    SCK   540097      4,058.68    usn        1.00000           4,058.68
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENTIN DRNE ELWOOD                         ~      60421      UND    STATES     tl/lI07  22578                    11114107    SCK   540138      3,676.06    usn        1.00000           3,76.06
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENTRPIN DRI ELWOOD                        ~      60421      UND    STATES    10130107 22532POST                 11/14107
                                                                                                                                                                                                                                                               Doc 266-4




                                                                                                                                                                                          SCK   540138       225.o      usn        1.00000             225.05
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENTERPIN DRI ELWOOD                       ~      60421      UND     STATES     9/6107  21293                    11116107    WR     72491        223.80    usn        1.00000             223.80
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENTIN DRIV ELWOOD                         ~      60421      UND     STATES    9114107 21512                     11/16107    WR     72491        225.58    usn        1.00000             225.58
  41550      GEN      PARTNRS WAREHOUSE LLC          26634 S CENTRPIN DRIV ELWOOD                       ~      60421      UN      STATES    9121107 21662                     Il16107     WR     72491      1,786.64    usn        1.00000           1,786.64
  41550      GEN      PARTNRS WARHOUSE LtC           26634 S CENfRPOIN DRIVE ELWOOD                     ~      60421      UND STATE         9128107 21858                     11/16107    WR     72491        447.00    usn        1.00000             447.00
  41550      GEN      PARTNRS WARHOUSE LtC           26634 S CENfRPOIN DRI ELWOOD                       ~      60421      UND STATE         1011107 21903                     11116/07    WR     72491      4,095.58    usn        1.00000           4,095.58
  41550      GEN      PARTNRS WARHOUSE LtC           26634 S CENfRPOIN DRIVE ELWOOD                     ~      60421      UN STATES        10130107 22623                     11115107    WR      7233      2,913.04    usn        1.00000           2,913.04
  41550      GEN      PARTNRS WARHOUSE LLC           26634 S CENfRPOIN DRI ELWOOD                       ~      60421      UND STATES       11/13107 22880                     11115107    WR     7233         455.61    usn        1.00000             455.61
  41595      CRT      ANGLO CANADIAN SHIPPING CO     SUI 1100,900 WESTHASTINGS STRET VANCOUVER          OC    V6CIE5      CANADA            1I5107   438                       1119107    WR     7156     157,140.48    usn        1.00000         157,140.48
  41595      CRT      ANGLO CANADIAN SHIPPING CO     SUI 1100, 900 WEST HASTINGS STRT VANCOUVR          OC    V6CIE5      CANADA           10/27107 430                        1119107    SCK    32003    351,582.70    usn        1.00000         351,582.70
  41595      CRT      ANGLO CANADIAN SHIPPING CO     SUI 1100,900 WEST HASTINGS STRET VANCOUVR          OC    V6C IE5     CANADA           1013107 435                        11116107    SCK    32005    137,07203     usn       1.00000          137,07203
  41595      CRT      ANGLO CANADIAN SHIPING CO      SUI I 100, 900 WEST HASTIGS STRET VANCOUVR         OC    V6C 1E5     CANADA           1013107 43S                        11/16107    SCK    32005     31,099.76    usn        1.00000          31.ü9.76
  41685      GEN      MAITAND PARTNRS LLC            2700NORTl14TH AVE SIOUX                  FALLS     m      57110      UND STATES        1116107 ULI04785                   11/6107    SCK   540017        421.38    usn       1.00000              421,38
  41908      GEN      TOC BENEFIT MANAGEMENT         6825 SW SANDBURG STRET TIGAR                       æ      97223      UND STATES       9(27107 HAEY HRL YISAL 9/07        11114/07    SCK   540134         26.56    usn       1.00000               26.56
  41908      GEN      TOe BENEFIT MANAGEMENT         6825 SW SANDBURG STRET TIGAR                       æ      97223      UND STATES       9127107 HASEY HR YISAL 9/07        Il14107     SCK   540134        277.66    usn       1.00000              277.66
  41908      GEN      TOC BENEFI MANAGEMENT          6825 SW SANDBURG STRET TIGAR                       æ      97223      UND STATES       10119107 HAEY SALlHRLY 10107       11/14107    SCK   540135        27.4      usn       1.00000               27.42
  41908      GEN      TOC BENEFIT MANAGEMENT         6825 SW SANDBURG STRET TIGAR                       æ      97223      UND STATES       10/19107 HAEY SALLY 10/07          11114/07    SCK   540135        271.95    USD       1.00000              271.95
                                                                                                                                                                                                                                                               Filed 01/04/08




  41911      GEN      CHEMICAL LIM COMPANY           OF CANADA, INC., 20303 - 10m AVENU LANGLEY         OC    V1M3HI      UND STATES        11/5107 110220070B                 11/6107    WR     7073      15,912.00    USD       1.00000           15,912.00
  41911      GEN      CHEMICAL LIME COMPANY          OF CANADA, INe" 20303 - 102B A VENU LANGLEY        OC    VIM3HI      UND STATE         1118107 I 1082007DB                1119107    WR     7152      15,912.00    usn       1.00000           15,912.00
  41916      CRT      GRAYMONTCAPITAL INC            DEPTCH                  PALTIN                     ~    60055-7976   UND STATES        11127    1110217 PROFORMDB         11/6/07    WR     7086       4,200.00    usn       1.00000            4,200.00
  41916      CRT      GRAYMONT CAPITAL INC           DEPTCH            17976                                 60055-7976   UND STATES        l1nlO7   11107107
                                                                                                                                                            DB
                                                                       17976 PALTIN
                                                                                                        ~                                                                      1119107    WR    7149\      12,600.00    USD       1.00000           12,600.00
  41916      CRT      GRAYMONT CAPITAL INC           DEPTCH            17976  PALTI                     ~    60055-7976   UND     STATES    1118107 I 1/071070B PROFORM IN     1118107    WR     7134      12,600.00    usn       1.00000           12,600.00
  41916      CRT      GRAYMONTCAPITAL INC            DEPTCH            17976 PALATI                     ~    60055-7976   UND STATES        1116107 93966RIDB                  11/6107    WR     7086       7,581.95    usn       1,00000            7,581.95
  41994      GEN      CmING EDGE ENTRPRIZES, INC.    LEROY ECKAT, 11236 NEVADA GULCH LEA                m      57754      UND STATES        11/6107 ULI04788                   1116107    SCK   540006        556.22    usn       1.00000              556.22
  41994      GEN      CtmING EDGE ENTRPRIZES, INC.   LEROY ECKART, 11236 NEVADA GULCH LEA               m      57754      UND     STATES    11/6107 ULI04788                   tl/6107    SCK   540006        41.3      usn       1.00000                 .i1.3
  41994      GEN      CUIING EDGE ENTRPRIZES, INC.   LEROY ECKAT, 11236 NEVADA GULH LEAD                m      57754      UND     STATES    1116107 ULI04788                   11/6107    SCK   540006        267.99    usn       1.00000                 267.99
  41994      GEN      ClTTING EDGE ENTRPRIZES, INC.  LEROY ECKART, 11236 NEVADA
                                                                             GULCH LEAD                 m      57754      VNDSTATE          11/6107 ULI04788                   1116107    SCK   540006         32.02    usn       1.00000                  32.02
  41994      GEN      CUIING EDGE ENTRPRIZES, INC.   LEROYECKAT,I1236NEVADAGULCH LEAD                   m      57754      UND     STATE     11/6107 ULI04788                   11/6107    SCK   540006         (6.74)   usn       1.00000                  (6.74)
  41994      GEN      CUIING EDGE ENTRPRIZES, INC.   LEROYECKAT, I 1236NEVADAGULCH LEA                  m      57754      UND STATE         1116107 ULI04788                   1116107    SCK   540006      6,967.04    usn       1.00000               6,967.04
  41994      GEN      CUIING EDGE ENTERPRIZES, INC.  LEROY ECKAT, 11236 NEVADA GULCH LEAD               m      57754      UND STATES       11113107 ULI04811                  11113107    SCK   540101        579.10    usn       1.00000                 579.10
  41994      GEN      CtHTING EDGE ENTERPRIZES, INc. LEROYECKART,I 1236NEVADAGULCH LEAD                 m      57754      UND STATES       11/13107 ULI04811                  11113107    SCK   540101      2,318.12    USD       1.00000               2,318.12
  42001      GEN      K-LIN AMRICA                   8730 STONEY POIN PARWAY, SUI 400 RICHMOND          u      23235      UN STATES        10130107 KKUUS0665870               1116107    SCK   540025     18,408.00    usn       1.00000              18,408.00
                                                                                                                                                                                                                                                               Page 8 of 23




  42001      GEN      K-LINE AMERICA                 8730 STONEY POIN PARWAY, sur 400 RICHMOND          u      23235      UND STATE        1013107 KKUUS0586583                iinlO7     WR     7105      18,408.00    usn       1.00000              18,408.00
  42001      GEN      K-LlN AMERICA                  8730 STONEY POINPARWA Y. SUI 400 RICHMOND          u      23235      UN STATES        1013107 KKUUS0595152A               I Inl07    WR     7105       1.416.00    usn       1.00000               1,416.00
  42001      GEN      K-LINE AMERICA                 8730 STONEY POINPARWA Y, SUI 40 RICHMOND           u      23235      UND STATES       10127107 KKUUS0596022               iinlO7     WR     7105      18,408.00    usn       1.00000              18,408.00
  42327      EMP      SHIRLEY A SCHMIDT              35246 MERIDIAN ROAD LEBANON                        æ      97355      UND     STATES   10/3107   SCHMIDT 10107-12/7        1119107    SCK   540078        280.50    usn       1.00000                 280.50
  42628      CRT      ANCON MARIN                    PO BOX 515290 LOS ANGELES                          ~    90051-5290   UND STATES         9nlO7   34171                     1119107    WR     7157         120.00    USD       1.00000                 120.00
  42628      CRT      ANCON MARIN                    PO BOX 515290 LOS ANGELES                          ~    90051-5290   UND STA'fS       10111107 34885                      1119107    WR     7157         425.00    usn       1.00000                425.00
  42628      CRT      ANCON MAIN                     PO BOX 515290 LOS ANGELES                          ~    90051-5290   UND     STATE    10111107 34886                      1119107    WR     7157         425.00    usn       1.00000                 425.00
  42628      CRT      ANCON MAINE                    PO BOX 515290 LOS ANGELES                          ~    90051-5290   UND STATES       11/6107 35757                       1119107    WR     7157         492.00    usn       1.00000                 492.00
  42718      GEN      NORHtERN HILLS TRING CENTR     625 HAVAR SlRET SPEAISH                            m      57783      UND    STATE     10130107 12043                      11/9/07    SCK   392001      1,425.00    USD       1.00000               1,425.00
  42718      GEN      NORllIRN HILLS TRAING CENTR    625 HAVAR STREET SPEARH                            m      57783      UND    STATES    1119107 12159                      11/14107    SCK   392009      2,100.00    usn       1.00000               2,100.00
  42777      GEN      EMPLOYEE BENEFIT MANAGEMNT SERVICES, INC., ATI: ACCOUNG DEPT., PO BOX BILLINGS    in   59104-1367   UND    STATE     1013107 111OI107EBMS               11/1107     WR     7034          62.50    usn       I .00000                 62.50
  42777      GEN      EMPLOYEE BENEFIT MANAGEMENT SERVICES, INC., ATI: ACCOUNG DEPT" PO BOX BILLINGS    in   59104-1367   UND    STATE     1013107 I 1101107EBMS              11/1107     WR     7034         693.50    usn       1.00000                 693.50
  42777      GEN      EMPLOYEE BENEFIT MANAGEMENT SERVICES, INC., ATI: ACCOUNG DEPT., PO BOX BILLINGS   in   591041367    UN STATE         1013107 I 1101107EBMS              1l/1107     WR     7034         814.68    usn       1.00000                 814.68
  42777      GEN      EMPLOYEE BENEFIT MANAGEMENT SERVICES, INC., ATI: ACCOUNG DEPT., PO BOX BILLINGS   in   59104-1367   UND STATES       1013107 I 1101107EBMS              1111/07     WR     7034       1,814.00    usn       1.00000               1,814.00


                                                                                                                                                                                                                         SOFA AlL. 3-a2 Gap Payments
                                                                                                                    122 of 137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor CI:I~S Vendor Nalle Atldn'ss Cify Address Slale/Pro,- 1'(1.\1:11 Code COlllllr)' JIIl'oÌ\e J)¡Llc Iiivoicl. Check I)õilc 1'1I)'lIclIt Typ~' Ti;::;:~II:~~m Bll~~i~r:li~i:~'iicy Biisc CiirclL)' FX Huil, usi~~;:~::I::liClll
   42777     GEN       EMPLOYEE BENEFI MANAGEMENT SERVICES, INC., ATr: ACCOUNG DEPT., PO BOX BILLINGS         ~    59104-1367   UND STATES       10/31107   IllOI107EBMS              1111107    WR      7034      2,913.11     usn         1.00000              2,913.11
   42777     GEN       EMPLOYEE BENEFIT MANAGEMENT SERVICES, INC., ATI: ACCOUNTING DEPT., PO BOX BILLINGS     ~    59104-1367   UND     STATES   10/31107   EBMS 11101107             1111107    WR      7035         115.39    USD         1.00000                 115J9
   42777     GEN       EMPLOYEE BENEFI MANAGEMENT SERVICES, INC., A1T: ACCOUNG DEPT., PO BOX BllLINGS         ~    59104-1367   UND STATES       1013107    EBMSll101/07             1111107     WR      7035        516.99     usn         1.00000                516.99
   42777     GEN       EMPLOYEE BENEFn' MANAGEMENT SERVICES, INC., AnN: ACCOUNG DEPT., PO BOX BllLINGS        ~    59104-1367   UND STATES       1013107    EBMS 1110112007          11/1107     WR      7032     68,865.76     usn         1.00000             68,865.76
   42777     aEN       E!\LOYEE BENEFIT MANAGEMENT SERVICES, INC., ATl: ACCOUNG DEPT., PO BOX BllLINGS        ~    59104-1367   UND STATES       1119107    EBMS 1110912007         11113107     WR      7163    364,483,17     usn         1.00000            364,483.17
   42882     EMP       JOHN MONTGOMERY              C/O POPE & TALBOT                          HAEY           æ      97348      UND     STATES   10/12/7    101007                   1119107     SCK   540054        504.40     usn         1.00000                504.40
   42882     EMP       ioHNMONTGOMERY               C/O POPE & TALBOT                          HAEY           æ      97348      UND STATE        1119107    110507                    1119107    SCK   540054        756.60     usn         1.00000                756.60
   42924     GEN      ACS SUPPORT - STOP g 136      PO BOX 145566                              CINCINATI      æ    4525()5566   UND STATES       10119107   517501562JOHAI0123107     1119107    SCK   540032         105.45    usn         1.00000                 105.45
   42924     GEN       ACS SUPPORT. STOP 8136       PO BOX 145566                              CINCINATI      æ    45250-5566   UND STATES       11/6107    JOHASEN 11-6-2007         1119107    SCK   540031        322.40     usn         1.00000                322.40
  42957      GEN       SCOTlAANK COMMRCIA CARS      PAYMNT, 23028 NETWORK PLACE                cmCAGO         ~    60673-1230   lJDSTATES        11127      PROCAR:20071102POST     11/13107     WR      7188       1.618.70    usn         1.00000              1,618.70
   4:1156    aEN       DAN RHMDRANDT                51 BARTIEITROAD                            CHARON         ~      69337      UND     STATES   11113107   ULI04822                11/13107     SCK   540116        694.35     usn         1.00000                694.35
  43156      GEN       DAN RHEMDRANDT               51 BARTIEIT ROAD                           CHARON         ~      69337      UND     STATES   11113107   UL104822                11113107     SCK   540116        361.70     usn         1.00000                361.70
  43184      GEN       INUSTRIA MACHI               20353 AUER ROAD                            WHWOOD         m      57793      UND     STATES   11/6107    143                     11113107     SCK   392005      6,760.00     usn         1.00000              6,760.00
  43445      EMP      CLAYTN STAFFORD               C/O POPE & TALBOT                          PORTIAND       æ      97201      UND     STATE    11114107   111307                  11115107     ED!    103095       363.75     usn         1.00000                363.75
  43463      GEN      TRNS-DYNAMICS INC             PO DRAWER 956968                           DULUTI         M      30095      UND STATES       11127      118521                  11/14107     SCK   392010      1,573.63     usn         1.00000              1,57363
  43463      GEN      TRNS-DYNAMICS INe             PO DRAWER 956968                           nULtm          M      30095      UND STATE        111207     118521                  11/14107     SCK   392010         (15.11)   USD         1,00000                 (15.11)
  43538      GEN      PARmERS TRNSPORTATION         SERVICES, 26634 S CENTRPOINTDRNE           ELWOOD         ~      60421      UND    STATES     8/3107    20642                    1119107     SCK   540096      1,250.00     usn         1.00000              1,250.00
  43538      GEN      PARTNERS TRNSPORTATION        SERVICES, 26634 S CENTRPOIN DRIVE          ELWOOD         ~      60421      UND    STATES    8110107    20746                    1119107     SCK   540096      2,000.00     USD         1.00000              2,000.00
  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPOIN DRIVE          ELWOOD         ~      60421      UND    STATES    8117107    20889                    1119107     SCK   540096      3,250.00     usn         1.00000              3,250.00
  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPOIN DRI            ELWOOD         ~      60421      UND    STATES    8124/07    21068                    1119107     SCK   540096      3,000.00     USD         1.00000              3,000.00
  43538      GEN      PARTNERS TRNSPORTATION        SERVICES, 26634 S CENTRPOIN DRNE           ELWOOD         ~      60421      UN STATES        813107     21164                    1119107     SCK   540096      3,000.00     usn         1.00000              3,000.00
  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPOIN DRN            ELWOOD         ~      60421      UND     STATES    916/07    21294                   11116107     WR      7249      1,750.00     usn         1.00000              1,750.00
  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPOIN DRIV           ELWOOD         ~      60421      UND     STATES   9113107    21449                   11116107     WR      7249      2,500.00     USD         1.00000              2,500.00
                                                                                                                                                                                                                                                                       Case 07-11738-CSS




  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPOIN DRIV           ELWOOD         ~      60421      UND     STATES   9121107    21660                   ~i16/07      WR      7249      2,500.00     usn         1.00000              2,500.00
  43538      GEN      PARTNRS TRNSPORTATION         SERVICES, 26634 S CENTRPIN DRNE            ELWOOD         ~      60421      UND STATES       9128107    21854                   11/16107     WR      7249      5,000.00     usn         1.00000              5,000.00
  43657      GEN      RQSBORO LUMER                 PO BOX20                                   SPRIGFIELD     æ    97477-0086   UND     STATE    10129107   ROSBI02907               1111107     WR      7026      4,000.00     usn         1.00000              4,000.00
  43657      GEN      ROsnQRO LUMER                 PO BOX20                                   SPRIGFID       æ    97477-0086   UN STATE         11127      ROSBI lO207              11127       WR      7044      4,000.00     usn         1.00000              4,000.00
  43657      GEN      ROSBDRO LUMER                 POBOX 20                                   SPRINGFIELD    æ    97477-0086   UND STATES       1115107    ROSBlI0507               11/5/07     WR      7059      4,000.00     usn         1.00000              4,000,00
  43657      GEN      ROSBQRQ LUMER                 PO BOX 20                                  SPRINGFID      æ    97477-0086   UND STATES       11/6107    ROSBI lO607              11/6107     WR      7079      4,000.00     usn         1.00000              4,000.00
  43657      GEN      R0880RO LUMER                 POBOX 20                                   SPRINGFILD     æ    97477-0086   UNDSTA'æ         Iim07      ROSB I lO707             IinlO7      WR      7097      4,000.00     usn         1.00000              4,000.00
  43657      GEN      ROSDORO LUMER                 POBOX 20                                   SPRIGFILD      æ    97477-0086   UND STATES        11/8107   ROSOl10807               11/8107     WR      7118      4,000.00     usn        1.00000               4,000.00
  43657      GEN      RosnORO LUMBER                POBOX 20                                   SPRIGFIELD     æ    97477-0086   UND     STATES    1119107   ROSBlI0907               1119107     WR      7140      8,000.00     usn        1.00000               8,000.00
  43657      aEN      ROsnQRQ LUMER                 PO BOX 20                                  SPRINGFIELD    æ    97477-0086   UNDSTATES        11113107   ROSBII1307              11113107     WR      7166      1,000.00     usn        1.00000               1,000.00
  43657      GEN      RosnORO LUMER                 POBOX 20                                   SPRIGFIELD     æ    97477-0086   UND STATES       11114107   ROSBI i 1407            11/14107     WR      7194      1,000.00     USD        1.00000               1,01lO.OO
  43744      CRT      TRANS LOAD LIMITD             343335111 STREET    NORTH                 BIRINGHA        Æ      35207      UND STATES        11/1107   ACCT#6542 I 1101107     1l16107      WR      7237      4.409.16     usn        1.00000               4.409.16
  43951      GEN      DESTICON TRNSPORTATION SERVo STE. 500 - 81 I I ANDERSON ROAD            RICHMOND        OC    V6Y3Z8      CANADA           10115107   8-470810-01              11/1107     WR      7037        550.00     llSD       1.00000                 550.00
                                                                                                                                                                                                                                                                       Doc 266-4




  43951      aEN      DESTICON TRNSPORTATION SERV. STE. 500 - 81 I I ANDERSON ROAD            RICHMOND        OC    V6Y3Z8      CANADA           10115107   8-470811-01              1111107     WR      7037        815.50     usn        1.00000                 !l15.50
  43951      GEN      DESTICON TRANSPORTATION SERV. STE. 500 - 8 I I 1 ANDERSON ROAD          RICHMOND        OC    V6Y3Z8      CANADA           10115107   8-470836-01              1111107     WRE     7037        550.00     USD        1.00000                 550.011
  43951      GEN      DESTICON TRNSPORTATION SERV. STE. 500 - 81 I 1 ANDERSON ROAD            RICHMOND        OC    V6Y3Z8      CANADA           10116107   8-470838-01              1111107     WR      7037          (0.01)   USD        1.00000                   (0.01)
  43951      aEN      DESTICON TRNSPORTATION SERV. STE. 500 - 8 I 1 I ANDERSON ROAD           RICHMOND        OC    V6Y3Z8      CANADA           10/16107   8-470838-01              1111107     WRE     7037        815.51     llSD       1.00000                 815.51
  44044      GEN      OFFICE OF TI TRUSTEE          PO BOX 10505                              EUGENE          æ      97440      UND STATES       1013107    GARHMNT 10107PRE         1119107     SCK   540069      1,290.50     usn        1.00000               1.290.50
  44044      GEN      OFFICE OF l1IE TRUSTEE        PO BOX 10505                              EUGENE          æ      97440      UND STATES       10/13107   SKLINCHA 10/13/07       I III 3107   SCK   540131          50.00    USD        1.00000                   50.00
  44044      GEN      OFFICE OF TI TRUSTEE          PO BOX 10505                              EUGENE          æ      97440      UN STATES        1013107    SKLINCHAR 10126107PRE    1119/07     SCK   540069          50.00    usn        1.00000                   50.00
  44129      GEN      FEDEX FREIGHT WEST, INC.      DEPTCH, POBOX 10306                       PALTIN          ~    60055-0306   UND     STATES    10/6107   903566901               11113107     SCK   540130        i I 1.95   USD        1.00000                iil.95
  44252      GEN      EGEMOÆSSIN LOGGING            C/O DAN ESSIN, 200 CHARLES ST #4          DEADWOOD        m      57732      UND     STATES    11/6107   ULI04790                 11/6107     SCK   540010      2,174.55     usn        1.00000              2,174.55
  44252      GEN      EGEMOÆSSIN LOGGING            C/O DAN ESSIN, 200 CHAES ST #4            DEADWOOD        m      57732      UND     STATES   11113107   ui104815                11113107     SCK   540105      2,232.30     USD        1.00000              2,232JO
  44306      GEN      USW INRNA T10NAL UNON         MSC - 410663, PO BOX 415000               NASHVILLE       m    37241-5000   UND     STATES   1013107    USW 401K i 1101107       1111107     WR     7033         317.85     usn        1.00000                317.85
  44306      GEN      USW INRNA 1l0NAL UNION        MSC -410663, PO BOX   415000              NASHVILLE       m    37241-5000   UND    STATES    IomlO7     USW 401K 11101107        1111107     WR     7033      19,328.31     usn        1.00000             19,328.31
  44306      GEN      USW INRNA 110NAL UNON         MSC -410663,PO BOX 415000                 NASHVILLE       m    37241-5000   UND    STATES    1013107    USW40lK 11101107         1111107     WR     7033      23,738.14     usn        1.00000             23,738.14
  44306      GEN      tJSWINRNATIONAL UNON          MSC-410663, PO BOX415000                  NASHVILLE       m    37241-5000   UND    STATES    1013107    USW40lK 11101107         11/1107     WR     7033      73,297.63     usn        1.00000             73,297.63
  44413      CRT      CANEXUS U.S. INC.             DEPTOl99,POBOX 120199                     DALLAS          ~    75312-0199   UND    STATES     11/6107   99000938DB              11113107     WR     7184      89,595.23     usn        1.00000             89,595.23
  44552      GEN      BREIT LAW OFFCES, PC          606 EASTTANTARCffCLE                      SIOUX FALLS     m      57108      UND     STATES    11/6107   DMlIER 1110612007        1119107     SCK   540035        188.60     usn        1.00000                188.60
                                                                                                                                                                                                                                                                       Filed 01/04/08




  448\0      GEN      de Anda LOGGING               PO BOX 754                                llLCIT          m      57745      UND STATES        1116107   ULI04801                 11/6107     SCK   540009      1,552.16     usn        1.00000              1,552.16
  44810      GEN      de Anda LOGGING               PO BOX754                                 llL CIT         m      57745      UND     STATES    1116107   ULI04801                 11/6107     SCK   540009      1,801.68     USD        1.00000              1,801.68
  44810      GEN      de Anda LOGGING               PO BOX 754                                lIL CIT         m      57745      UND STATES        1116107   ULI04801                 11/6107     SCK   540009        133.46     usn        1.00000                133.46
  44810      GEN      de And.i LOGGING              PO BOX 754                                lIL CIT         m      57745      UND STATES        1116107   ULI04801                 11/6107     SCK   540009        114.98     usn        1.00000                114.98
  44810      GEN      de Anda LOGGING               PO BOX 754                                HaL CIT         m      57745      UND STATES        1116107   ULI04801                 11/6107     SCK   540009      1,697.25     usn        1.00000              1,697.25
  44810      GEN      de Anda LOGGING               PO BOX 754                                llL CIT         m      57745      UND     STATE     1116/07   ULI04801                 11/6107     SCK   540009      1.023.18     usn        1.00000              1,023.18
  44810      GEN      de Anda LOGGING               PO BOX 754                                HIL CIT         m      57745      UND STATES        11/6107   ULI0480J                 11I6107     SCK   540009        122.87     usn        1.00000                122.87
  44810      GEN      de Anda LOGGING               PO BOX 754                                HILLCIT         m      57745      UND STATES        1116107   ULI04801                 11/6107     SCK   540009        203.49     usn        1.00000                203.49
  44810      GEN      de And.i LOGGING              PO BOX 754                                llLCIT          m      57745      UN STATES         1116107   ULI04801                 11/6107     SCK   540009        (98.58)    usn        1.00000                198.58)
  44810      GEN      de Anda LOGGING               PO BOX 754                                HIL CIT         m      57745      UND STATES       11113107   UL104828                11113107     SCK   540104      1,068.96     usn        1.00000              1,068.96
  44810      GEN      de And.i LOGGING              PO BOX 754                                HIL CIT         m      57745      UND STATES       11113107   ULI04828                11113107     SCK   540104      1,813.37     usn        1.00000              1,813.37
  44810      GEN      de Anda LOGGING               PO BOX 754                                lIL CIT         m      57745      UND STATE        11/13107   UL104828                11113107     SCK   540104        134.32     usn        1.00000                134.32
  44810      GEN      de Anda LOGGING               PO BOX 754                                lInL CIT        m      57745      UND STATE        11113107   ULlO4828                11113107     SCK   540104          79.18    usn        1.00000                 79.18
  448\0      GEN      de Aiida LOGGING              PO BOX754                                 llL CIT         m      57745      UND STATES       11113107   ULlO4828                11113107     SCK   540104      1,029.81     usn        1.00000              1,029.81
  44810      GEN      de Anda LOGGING               PO BOX 754                                llL CIT         m      57745      UND STATES       11/13107   ULI04828                11113107     SCK   540104      1,168.88     usn        1.00000              1,168.88
  44810      GEN      de Anda LOGGING
                                                                                                                                                                                                                                                                       Page 9 of 23




                                                    PO BOX754                                 HIL CIT         m      57745      UND STATES       11113107   ui104828                11113107     SCK   540104        140.14     usn        1.00000                140.14
  44810      GEN      de Anda LOGGING               PO BOX754                                 HI CIT          m      57745      UN STATE         1113107    UL104828                11113107     SCK   540104        123.66     usn        1.00000                123.66
  44810      GEN      de Anda LOGGING               PO BOX 754                                HI CIT          m      57745      UND STAlES       11113107   ULJ04828                11/13107     SCK   540104                   usn        1.00000
                                                                                                                                                                                                                     (84.72)                                      (84.72)
  44820      GEN      MID-WILATæ PRE-Cur            PO BOX 556                                SCiO            æ      97374      UND     STATES   linlO7     44820107111             11/16107     WR     7260       1,274.00     usn        1.00000              1,274.00
  44820      GEN      MIDWlLATI PRE-Cur             PO BOX 556                                SCIO            æ      97374      UNDSTATE         11113107   MIDII1307               11/13107     WR     7177       9,000.00     usn        1.00000              9,000.00
  44821      GEN      LANE FOREST PRODUCTS, INC     21 I I PRAffIE ROAD                       EUGENE          æ      97402      UND STATES       11/8107    44821107111*            11116107     WR     7252         685.80     usn        1.00000                685.80
  44843      GEN      MAITLOUX TIMER CO             421 ZIEBACH ST                            BELLE FOURCHE   m      57717      UND STATE        1116107    UL104782                11/6107      SCK   540016      1,268.10     usn        1.00000              1,268.10
  44843      GEN      MAITLOUX TIER CO              421 ZIEBACH ST                            BEL FOURCHE     m      57717      UN STAlES        1116107    ULI04782                11I6107      SCK   540016         93.75     usn        1.00000                 93.75
  44843      GEN      MAITLOUX TIMER CO             421 ZIEACH ST                             BELLE FOURCHE   m      57717      UN STATE         1116107    ULlO4782                11I6107      SCK   540016        552.10     usn        1.00000                552.10
  44843      GEN      MAITLOUX TIMER CO            421 ZIEBACH ST                             BELE FOURCHE    m      57717      UN STATE         11/6107    ULI04782                11/6107      SCK   540016         65.97     usn        1.00000                 65.97
  44843      GEN      MAITLOUX TIMER CO            421 ZIEBACH ST                             BELLE FOURCHE   m      57717      UND     STATE    11/6107    ULI04782                11/6107      SCK   540016      3,000.00     usn        1.00000              3,000.00
  44903      GEN      ZUHR LOGGING LLC              21281 USffGHWAY385                        DEAWOOD         m      57732      UND STATES       116107     ULI04799                11/6107      SCK   540024        370.64     usn        1.00000                370.64
  44903      GEN      ZUH LOGGING LLC               21281 USHIGHWAY385                        DEAWOOD         m      57732      UND STATE        116107     ULI04799                11/6107      SCK   540024      2,198.28     usn        1.00000              2,198.28
  44903      GEN      ZUHR LOGGING LLC             21281 USHIGHWAY385                         DEAWOOD         m      57732      UND STATES       11/6107    ULI04799                1116107      SCK   540024        162.78     usn        i .00000               162.78


                                                                                                                                                                                                                                 SOFA All. 3-a2 Gap Payments
                                                                                                                          123 of 137
Pope & Talbot, Inc.
Case No. 07-1738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


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   44903    GEN    zinm LOGGING LtC                21281 US HIGHWAY 385                     DEAWOOD         m      57732       UND     STATES   11/6107    ULI04799                 11/6107   SCK   540024        27.45    USD       1.00000                   :!7.45
   44903    GEN    ZUHR LOGGING LLC                21281 USHIGHWAY385                       DEAWOOD         m      57732       UND STATE        11/6/07    ULI04799                 1116/07   SCK   540024     1,154.67    USD       1.00000                1,154.67
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                                                                                                                                                                                                                                                           2,696.23
  44903     GEN    ZinIR LOGGING LLC               21281 US HIGHWAY 385                     DEADWOOD        m      57732       UND    STATES    11113107   UL104826                11113107   SCK   540121       199.65    usn       1.00000                  199.65
  44903     GEN    ZUH LOGGING LLC                 21281 US HIGHWAY 385                     DEADWOOD        m      57732       UND    STATES    1113107    ui104826                11113107   SCK   540121     1,416.22    USD       1.00000               1,416.22
  44903     GEN    ZUH LOGGING LLC                 21281 US HIGHWAY 385                     DEADWOOD        m      57732       UND    STATES    11113107   ui104826                11/13Al7   SCK   540121       169.80    USD       1.00000                  169.80
  45008     GEN    Y AMHllL FOREST PRODUCTS INC    PO BOX 555                               SCIO            ~      97374       UND    STATES    10/29107   YAMI02907               11/1/07    WR     7024     20,000.00    USO       1.00000              20,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SCIO            ~      97374       UND     STATES   11l27      YAMHl10207              11l27      WR     7049     20,000.00    usn       1.00000              20,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SCIO            ~      97374       UND     STATE    11/5107    YMfII0507               11/5107    WR     7066     26,000.00    usa       1.00000              26,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SCIO            ~      97374       UN      STATES   11/6107    Y MfI 10607             11/6107    WR     7085     26,000.00    usn       1.00000              26,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SCIO            ~      97374       UND     STATE    I1nlO7     YAII10707               Iin/07     WR     7103     26,000,00    usn       1.00000              26,000.00
  45008     GEN    YAMHILL FOREST PRODUCTS INC     PO BOX 555                               SCIO            ~      97374       UND     STATES   1118107    Y AII10807               1118107   WR     7123     36,000.00    usn       1.00000              36,000.00
  45008     GEN    YAMHILL FOREST PRODUCTS INC     PO BOX555                                SCiO            ~      97374       UND STATE        1119107    YAMII0907                1119107   WR     7148     72,000.00    usn       1.00000              72,000.00
  45008     GEN    YAMHILL FOREST PRODUCTS INC     PO BOX 555                               SCIO            ~      97374       UND STATE        11113107   YAMIl1307               11113107   WR     7173     36,000.00    USO       1.00000              36,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SC10            ~      97374       UND STATE        11114107   YAMI11407               11114107   WR     7203     36,000.00    usn       1.00000              36,000.00
  45008     GEN    YAMHILL FOREST PRODUCTS INC     PO BOX 555                               SCIO            ~      97374       UND     STATE    11/15/07   YAMII1507               1115107    WR     7224     36,000.00    USO       1.00000              36,000.00
  45008     GEN    YAMILL FOREST PRODUCTS INC      PO BOX 555                               SCiO            ~      97374       UN STATES        11/16107   YAMI11607               11116107   WR     7261     63,000.00    usn       1.00000              63,000.00
  45058     GEN    SECRETARYOF STATE               JESSIE WHIT, DEPT. OF BUSINSS SERVICES   SPRINGFIELD     ~      62756       UND     STATE    1011107    07 ANAL                 1013107    SCK   540001       469.55    USO       1.00000                 469.55
  45058     GEN    SECRETARY OF STATE              JESSIE WHIT, DEPT. OF BUSINSS SERVICES   SPRIGFIELD      ~      62756       UND     STATES   10l27    2007 ANNAL                1013107    SCK   540001       100.00    usn       1.00000                 100.00
  45090
                                                                                                                                                                                                                                                                  Case 07-11738-CSS




            GEN    ARLEEN 1. SHEPAR                4658 BRANßLEWOOD LANE NW                 ALBANY          ~      97321       UND STATES       10131/07 SHEPAR 10107-1217          1119107   SCK   540079       280.50    USO       1.00000                 280.50
  45119     GEN    SfERR PACIFIC INDUSTRIES        PO BOX 496028                            REDDING         ~      96049       UND STATE        11114107 SEIRI 11407               11114/07   WR     7196     15,000.00    usn       1.00000              15,000.00
  45119     GEN    SIERR PAClFIC INUSTRIES         PO BOX 496028                            REDDING         ~      96049       UN STATES         1119107 SIEI10907                  1119107   WR     7143     30,000.00    usn       1.00000              30,000.00
  45119     GEN    SIERR PACIFIC INUSTRIES         PO BOX 496028                            REDDING         ~      96049       UND STATE        11115107 SIERI11507                11115/07   WR     7217     15,000.00    usn       1.00000              15,000.00
  45119     GEN    SfERR PACIFIC INUSTRIES         PO BOX 496028                            REDDING         ~      96049       UND STATES       1116107 SIERII1607                 11116/07   WR     7256     40,000.00    usn       1.00000              40,000.00
  45119     GEN    SIERR PACIFIC INUSTRIES         PO BOX 496028                            REDDING         ~      96049       UND STATES       11113107 SIERRII1307               11113107   WR     7167     15,000.00    usn       1.00000              15,000.00
  45147     GEN    JOHNSON TRUCKING                212 LAKEVIEW DRNE                        HEITGER         ID     58639       UN STATES         1113107 817                       11116107   SCK   392017       983.04    usn       1.00000                 983.04
  45147     GEN    JOHNSON TRUCKING                212 LAVIEWDRN                            HEINGER         ID     58639       UND STATE         1113107 817                       11116Al7   SCK   392017        11.06    usn       1.00000                   11.06
  45231     GEN    nNERSIFIED TRNSFER & STORAGE     1640MONADRD                             BILLINGS        ~      59101       UND STATES        1111107 POI07563                  11114107   SCK   392011     3,255.00    usn       1.00000               3,255.00
  45231     GEN    DIVERSIFIED TRNSFER & STORAGE    1640MONADRD                             BILLINGS        ~      59101       UND STATES        1111/07 POI07563                  11/14107   SCK   392011       750.00    USO       1.00000                 750.00
  45240     EM!    HAROLD STANTON                  C/O POPE & TALBOT                        PORlLAN         ~      97201       UND     STATES   11113/07 OOP:2oo71I 13:HAOLD ST    11116/07   EDI   103100         8.47    usn       1.00000                    8,47
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLAN         ~      97201       UND STATES       11/13107 OOP:2OO71 I 13:HAOLD ST   11116107   EDI   103100         3.99    usn       1.00000                    3.99
  45240     EM!    HAROLD STANTN                   C/O POPE & TALBOT                        PORlLAND        ~      97201       UN STATES        11113Al7 OOP:2OO71 I 13ilOLDST     11116107   EDI   103100        11.6     usn       1.00000                   11.16
                                                                                                                                                                                                                                                                  Doc 266-4




  45240     EM!    HAROLD STANTN                   C/O POPE & TALBOT                        PORlLAN         ~      97201       UNDSTATES        11113107 OOP:20071 1 13:HOLDST     11/16107   EDI   103100       10.24     usn       1.00000                   10.24
  45240     EM!    HAROLD STANTN                   C/O POPE & TALBOT                        POR11           ~      97201       UND     STATES   11113107 00P:20071 1 13:IAOLD ST   11116107   EDI   103100       12.46     usn       1.00000                   12.46
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        POR11           ~      97201       UND STATE        11/13107 00P:20071 I 13:HOLDST     11/16/07   EDI   103100       12.46     USO       1.00000                   12.46
  45240     EM!    HAROLD STANTON                  C/O POPE & TALBOT                        PORlL           ~      97201       UN STATE         11/13107 OOP:200711 I 3:HAOLD ST   11116/07   EDI   103100        2.48     usn       1.00000                    2.48
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlL           ~      97201       UND STATE        11/13107 OOP:20071113:HAOLD ST     11116107   EDI   103100       10.24     usn       1.0000                    10.24
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLND         ~      97201       UND STATES       11/13107 00P:20071113:HOLD ST      11/16107   ED!   103100       10.24     usn       1.00000                   10.24
  45240     EM!    HAOLD STANTN                    C/O POPE & TALBOT                        PORTL           ~      97201       UND STATES       11113107 00P:20071113:HOLD ST      11116107   EDI   103100       72.00     usn       1.00000                   7200
  45240     EM!    HAROLD STANTON                  C/O POPE & TALBOT                        PORTL           ~      97201       UND STATES       11113107 OOP:20071113:HAOLD ST     11116107   EDI   103100        1.75     USO       1.00000                     1.75
  45240     EM!    HAOLD STANON                    C/O POPE & TALBOT                        PORTL           ~      97201       UND STATES       11113107 00P:20071 I 13:HAOLD ST   11/16107   EDI   103100      220.00     usn       1.00000                 220.00
  45240     EM!    HAOLD STANON                    C/O POPE & TALBOT                        PORlLND         ~      97201       UND STATES       11113107 OOP:20071113:HOLDST       11116107   EDI   103100       10.24     usn       1.00000                   10.24
  45240     EMP    HAOLD STANTON                   C/O POPE & TALBOT                        PORTL           ~      97201       UND STATES       11/13107 00P:200711 13:HAOLD ST    11116107   EDI   103100        2.41     usn       1.00000                    2.41
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLAN         ~      97201       UNDSTATES        1113107 OOP:20071 113:HOLD ST      11116/07   ED!   103100       10.24     usn       1.00000                   10.24
  45240     EM!    HAROLD STANTN                   C/O POPE& TALBOT                         PORlLND         ~      97201       UND STATES       11113/07 00P:20071I 13:HAOLD ST    11116107   EDI   103100       10.24     usn       1.00000                   10.24
  45240     EM!    HAROLD STANTN                   C/O POPE & TALBOT                        PORlLND         ~      97201       UND STATES       11113107 OOP:2oo71I13:HAOLD ST     11116107   EDI   103100       10.24     USO       1.00000                   10.24
  45240     EM!    HAROLD STANTN                   C/O POPE& TALOT                          PORTIAN         ~      97201       UND     STATE    11113/07 00P:2OO71 1 13:HOLD ST    11/16107   EDI   103100       40.05     llSD      1.00000                  40.05
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLAN         ~      97201       UND STATES       11113/07 OOP:20071I13:HAOLD ST     1l/16107   EDI   103100       40.05     USO       1.00000                  40.05
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLAN                97201       UND     STATES   11113/07 00P:2oo71I 13:HOLD ST     11/16107   EDI   103100
                                                                                                                                                                                                                                                                  Filed 01/04/08




                                                                                                            ~                                                                                                     2.85     usn       1.00000                    2.85
  45240     EM!    HAOLD STANTON                   C/O POPE & TALBOT                        PORlLAN                97201       UND     STATE    11113/07 OOP:20071I13:HOLD ST      11116107   EDI   103100        11.9     usn       1.00000                   11.79
  45241     GEN    KEIT MATINEY                    3107ECRESlWOODCOURT                      COEUR D'ALENE
                                                                                                            ~ID    83815       UND STATE        10130107 10/26-28107 BOD MTGPRE     11/9/07   SCK   540058     1,500.00    usn       1.00000               1,500.00
  45344     GEN    E. JEFF JEFFRY                  566 NW V AN BURN A VB                    CORVALLIS       ~      97330       UND STATE        3/21/07  I.OI03IAEMACO 32207        1119/07   SCK   540044        93.08    usn       1.00000                  93.08
  45344     GEN    E. JEFF JEFFRY                  566 NW VAN BURN AVE                      CORVALLIS       ~      97330       UN      STATES   2/7107   1-01031ADMACO 22807        1119107   SCK   540044        76.54    usn       1.00000                  76.54
  45344     GEN    E. JEFF JEFFRY                  566 NW V AN BURN AVE                     CORVALLIS              97330       UN STATES         1128107 JAN30HOI.0103IAEMACO       1119107   SCK   540043       155.01    USO       1.00000                 155.01
  45372     CRT    SOL VA Y ClæMICAL IS            88174EXEDIT WAY                          CHICAGO                60695       UN STATE          1118107 90665406                  11114107
                                                                                                            ~~
                                                                                                                                                                                              WR     7212      6,714.65    usn       1.00000               6,714.65
  45588     CRT    MG OIL COMPANY                  PO BOX 1006                              RAID CIT        m      57709       UN STATES        10130107 IN.009519A                11114107   SCK   392012    22,126.66    usn       1.00000              22,126.66
  456g8     GEN    COLUMIA COUN RIDER              1054 OREGON STRET                        ST HELENS       ~      97051       UND     STATES   10/13107 V AN POOLING 11107         1119107   SCK   540038        90.00    usn       1.00000                  90.00
  45732     GEN    MA11S LOGGING                   GORDN DEXTER MAn-IS, PO BOX 501          HAISON          ~      69346       UND     STATES   11113107 UL104816                  11/13107   SCK   540111     1,148.28    USO       1.00000               1,148.28
  45732     GEN    MA 11S LOGGING                  GORDN DEXTER MATHIS, PO BOX SOL          HAISON          ~      69346       UND STATES       11113107 ULI04816                  11113/07   SCK   540111        85.21    USD       1.00000                  85.21
  45732     GEN    MA TIIIS LOGGING                GORDN DEXTER MAnn, PO BOX 501            HAON            ~      69346       UND     STATES   11113107 ui104816                  11113107   SCK   540111     1,239.48    usn       1.00000               1,239.48
  45732     GEN    MA n-IS LOGGING                 GORDN DEXTER MATHIS, PO BOX 501          HAISON          ~      69346       UND     STATES   11/13/07 ULI04816                  11/13107   SCK   540111       148.44    usn       1.00000                 148.44
  45732     GEN    MA nIls LOGGING                 GORDON DEXTER MAnn, PO BOX 501           HARISON         ~      69346       UND     STATE    11113107 ui104816                  1113107    SCK   540111       (33.28)   usn       1.00000                 (33.28)
  45740     GEN    KIMALL BEND OF CLEBURNE LP      PO BOX 1449                              CLEBURNE        ~      76033       UND STATE        10111107 67                        1118107    SCK   540028    19,637.98    usn       1.00000              19,637.98
  45740     GEN    KIMBALL BEND OF CLEBURNE LP     PO BOX 1449                              CLEBURNE        ~      76033       UND     STATES   11l27    75                        11/14107   EDI   103092     2,836.39    usn       1.00000               2,836.39
  45740     GEN    KIMALL BEND OF CLEBURNE LP      PO BOX 1449                              CLEBURNE        ~      76033       UND STATE        1119107 39395                      11/16107   EDI   103099     7,060.68    usn       1.00000               7,060.68
                                                                                                                                                                                                                                                                  Page 10 of 23




  45845     GEN    XIAMEN C&D INC.                 12 FLOOR-SEASIDE BUIDING                 XIAN                               CHINA            11/16107 YAMI11607                 11/16107   WR    301462    56,273.47    usn       1.00000              56,273.47
  45858     GEN    GEORGE TIIElN                   7518 W 163RDPLACE                        TIEY PAR        ~       60477      UND STATE        11/6107 ui104783                   11/6107    SCK   540011     8,352.97    usn       1.00000               8,352.97
  45858     GEN    GEORGE TIIN                     7518 W 163RDPLACE                        TIEY PAR        ~       60477      UND    STATES    11/13107 UL104807                  11/13/07   SCK   540106     7,118.81    usn       1.00000               7,118.81
  45859     GEN    DALE B. TIIN                    PO BOX 16953                             GOLDEN          CO      80402      UND    STATES    11/6107 ui104786                   IIIM)7     SCK   540008     8,352.97    usn       1.00000               8,352.97
  45859     GEN    DALE ß. llIEIN                  PO BOX 16953                             GOLDEN          CO      80402      UND    STATES    11/13107 ui104809                  11113107   SCK   540103     7,118.81    usn       1.00000               7,118.81
  45888     GEN    KELLY SCHMIDT                   8 JERRY ROAD                             SPEARISH        SO      57783      UND    STATES    11/6107 ui104791                   1116107    SCK   540014     1.307.36    usn       1.00000               1,307.36
  45888     GEN    KELLY SCHMIDT                   8 JERRYROAD                              SPEAH           SO      57783      UND    STATES    1113107 ULI04817                   11113107   SCK   540109     3,832.06    usn       1.00000               3,832.06
  45910     aEN    SHEARMAN & STERLING LLP         599 LEXGTON AVENU                        NEW   YORK      NY    10022.6069   UND STATE        1013107 2726195                    1115107    WR     7071    313,265.57    usn       1.00000             313,265.57
  45910     GEN    SHEARMAN & STERLING LLP         599 LEXINGTON AVENU                      NEW   YORK      NY    10022-6069   UND STATES       1118/07 2727173                    11113107   WR     7183    277,067.32    usn       1.00000             277,067.32
  45910     GEN    SHEARMN & STERLING LLP          599 LEXINGTON AVENU                      NEW   YORK      NY    10022-6069   UND STATE        111217   2727386                   11113107   WR     7183     67,928.02    USO       1.0000               67,928.02
  45910     GEN    SHEARMAN & STERLING LLP         599 LEXINGTON AVENU                      NEW   YORK      NY    10022.6069   UND STATE        111617   2727642                   111617     WR     7239    142,486.10    USO       1.00000             142,486.10
  45910     GEN    SHEARMN & STERLING LLP          599 LEXINGTON AVENU                      NEW   YORK      NY    10022-6069   UND     STATES   11116107 2727755                   1116107    WR     7263     30,316.01    usn       1.0000               30,316.01
  45939     GEN    FTICONSuiTIG INe                PO BOX 630391                            BALTIORE        MD      21263      UND STATES       1118107 7143683                    1119107    WR     7160    201,452.21    usn       1.00000             201,452.21


                                                                                                                                                                                                                            SOFA All 3-a2 Gap Payments
                                                                                                                           124of137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11119/2007


  Vendor CI;I~s Vciidur ~mii~ Adtlrc~.~ City ¡\ddrc~.s Slalc/l'ruy l'u~lal Cllc.C Couiitry Im'uice I)iilc Iiivoice Chi'~'k Duil, l'a)'imiit 1')111: T~'::~~'i~~~lI n;I~I~::~~~llcy Hase Currency I'-X Ibic ljSJ~;;:~I::~;iClll
   45939     GEN      FTICONSULTING INC                PO BOX 630391 BALTIORE                                      ~       21263     UND     STATES   11/1107     10/29-11/4107 CONSULT   1115107     WR      7072    211,920.65     USD        1.00000             211,920.65
   45939     GEN      FTICONSULTING INC                PO BOX 630391 BALTIMORE                                     ~       21263     UND     STATES   11116107    11/13-1111612007        11116107    WR      7238    146,858.50     USD        1.00000             146,858.50
   45948     GEN      KURlZMAN CARSON CONSUL TAN       2335 ALSKA AVENU EL SEGUN                                   ~       90245     VNDSTATE         1118107     2771                    11113107    WR      7182      4,835.00     USD        1.00000               4,835.00
   45963     GEN      PACinUKI STANG ZIEHL YOUNG       JONE WEINUB, 919 NORTH MAT STRET, 1 T WIMIGTON              æ    19899-8705   UND STATES       1013107    ESTFEESÆX 10/31107       1113107     WR      7187     60,000.00     USD        1.00000              60,000.00
   45964     GEN      RAUSCH,STUM,ISRAL,HORNC SC       300 NDAKOTAAVENU,SUI 204 SIOUX                      FALLS   m       57104     UND     STATE    10/19107   DELAHOYDE 10/23107       1119Al7     SCK    540076          4.57    USD        1.00000                   4.57
   45964     GEN      RAUSCH,sTIJR,ISRAEL,HORNlC SC    300 NDAKOTAAVENU,SUI 204 SIOUX           FALLS              m       57104     UND     STATE    11/6107    DELAOYDE 11-6-2007       1119107     SCK    540075         53.84    USD        1.00000                  53.84
   45965     GEN      SETERE & SONS LID                                           SHERWOOD                         ~      97140      UND     STATES   1013107    4770                     1118107     WR      7131      1,274.40     USD        1.00000               1,274.40
   45965     GEN      SETERE & SONS LID                PO                                                                 97140                                  4770
                                                       PO BOX BOX 621   621 SHERWOOD                               ~                 UND STATE        1013107                             1118107     WR      7131        755.20     USD        1.00000                 755.20
   45965     GEN      SETERE & SONS LID                PO                         SHERWOOD                         ~      97140      UN STATES        1115107    47850B                   11/6107     WR      7087      1,296.00     USD        1.00000               1,296.00
   45965     GEN      SETERE & SONS LTD                PO    BOX                                                          97140      UND STATES       IInlO7     4786DB
                                                             BOX 621    621 SHERWOOD                               ~                                                                      1119107     WR      7153      3,888.00     USD        1.00000               3,888.00
   45965     GEN      SETERE & SONS I. TD              PO    BOX        621       SHERWOOD                         ~      97140      UND     STATES   1119107    4787DB                   11113107    WR      7186      3,888.00     USD        1.00000               3,888.00
   45965     GEN      SETERE & SONS L TD               PO                         SHERWOOD                         ~      97140      UND     STATES   11/14107   48010B                   11/16107    WRE     7240      7,786.00     USD        1.00000               7,786.00
   45975     GEN      WOOD RECOVERY                    PO    BOX                                                          97401      UND    STATES    10129107   WOOD!02907               1111107             7023     26,000.00
                                                             BOX 7095   621 EUGENE                                 ~                                                                                  WR                             USD        1.00000              26,000.00
   45975     GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES    11l27      WOOD! 10207              111207      WR      7048     26,000.00     USD        1.00000              26,000.00
   45975     GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES     115107    WOOD! 10507              11/5107     WR      7065     26,000.00     USD       1.00000               26,000.00
   45975     GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES     1116107   WOOD! 10607              1116107     WR      7084     26,000.00     USD       1.00000               26,000.00
   45975     GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES     IInlO7    WOOD!10707               Iim07       WR      7102     26,000.00     USD       1.00000               26,000.00
   45975     GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES     1118107   WOOD! 10807               1118107    WR      7122     26,000.00     USD       1.00000               26,000.00
  45975      GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES     119107    WOOD! 10907                1119107   WR      7147     52,000.00     USD       1.00000               52,000.00
  45975      GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND    STATES    1113107    WOOD! 1 1307             11113107    WR      7176     40,000.00     USD       1.00000               40,000.00
  45975      GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND     STATES   11114107   WOOD!I 1407              11114107    WR      7202     40.000.00     USD       1.00000               40,000.00
  45975      GEN      WOOD RECOVERY                    PO    BOX       7095       EUGENE                           ~      97401      UND STATES       11115107   WOODII1507               11115107    WR      7223     40,000.00     USD       1.00000               40,000.00
                                                                                                                                                                                                                                                                               Case 07-11738-CSS




  46003      GEN      KURlZMAN CARSON (SEE V1I45948)   2335 ALSKA AVENU EL SEGUN                                   ~      90245      UND     STATES   IOI3Al7    2752                      11/4107    WR      7069     41,400,00     USD       1.00000               41,400.00
  46007      GEN      ARSTEN TRUCKING INC              PO    BOX       29783                                       ro     80229      UND     STATES   10129107    15799                   11/13107    SCK    392006       775.20     USD       1.00000                  775.20
  46007      GEN      ARSTEN TRUCKING INC              PO               29783mORNON    TIORNN                      ro     80229      UND     STATES   10129107    15799                   11/13107    SCK    392006                  USD       1.00000
                                                                                                                                                                                                                           (34.20)                                      (34.20)
  74119      GEN      CIT CENfR PARING                 PO    BOX                                                        97207-9277   UND     STATES
                                                             BOX 9277               PORTLAN                        ~                                  10116107   1N00806676               11/13107    SCK    540126     3.696.00     USD       1.00000                3.696.00
  74119      GEN      CIT CENfR PARKING                PO     BOX        9277           PORTL                      ~    97207-9277   UN      STATE    10/16Al7   1N00806676               11/13107    SCK    540126     3,390.00     USD       1.00000                3,390.00
  74289      GEN      M & M TRNSPORT INC               P.O.   BOX 1446 CHEHAIS                                     ~      98532      UN STATE          ltnlO7    74289107111              11116107    WR      7254      3,046.80     USD       1.00000                3,046.80
  77647      GEN      LAWRNCE E. HILL DBA              ROLLING HllLS TRUCKIG, 612 OBIE SUE WORLAND                 WY     82401      UND    STATE      1115107   PLS11197                 11114107     EDI   101933       705.60     USD       1.00000                  705.60
  77647      GEN      LAWRENCE E. HILL DBA             ROLLING HILS TRUCKING, 612 OBIE SUE WORLAN                  WY     82401      UND    STATE      1115107   PLS11197                 11114107     EDI   101933          9.80    USD       1.00000                    9.80
  77647      GEN      LAWRNCE E. HaL DBA               ROLLING HILS TRUCKING, 612 OBIE SUE WORLAN                  WY     82401      UND    STATE     10129107   PLSI1587                 11114107     EDI   101933       67200      USD       1.00000                  672.00
  77647      GEN      LAWRENCE E. HaL DBA              ROLLING HILLS TRUCKING, 612 OBIE SUE WORL                   WY     82401      UND    STATE     10129107   PLS11587                 11114107     EDI   101933         11.00    USD       1.00000                   11.00
  78883      GEN      LIN COUN TAX COLLECTOR           POBOX       ALBAN                                           ~      97321      UND STATES       10124107   23073611109107           11113Al7    SCK    540123          5.55    USD       1.00000                    5.55
  78883      GEN      LIN COUN TAX COLLECTOR           PO BOX 100
                                                              100 ALBANY                                           ~      97321      UND STATES       10124107   29281911109107           11113107    SCK    540123         24.91    USD       1.00000                   24.91
  78883      GEN      LIN COUNTY TAX COLLECTR          POBOX  100  ALBAN                                           ~      97321      UND     STATE    10/24107   29282711109107           11/13107    SCK    540123       173.69     USD       1.00000                  173.69
                                                                                                                                                                                                                                                                               Doc 266-4




  78883      GEN      LIN COUN TAX COLLECTOR           PO BOX 100 ALBANY                                           ~      97321      UND STATE        10124107   29286811109107           11113107    SCK    540123         19.51    USD       1.00000                   19.51
  78S83      GEN      LIN COUN TAX COLLECTOR           PO BOX  100 ALAN                                            ~      97321      UND     STATES   10/24107   29379311109107           1113107     SCK    540123       17730      USD       1.00000                  177.30
  78g83      GEN      LIN COUN TAX COLLECTOR           PO BOX 100 ALANY                                            ~      97321      UND     STATE    10/24107   43OOl3lt109107           11/13107    SCK    540123         37.22    USD       1.00000                   37.22
  78883      GEN      LIN COUN TAX COLLECTOR           PO BOX  100 ALAN                                            ~      97321      UND STATE        10/24107   43003911109107           11113107    SCK    540123   153,181.23     USD       1.00000              153,181.3
  78883      GEN      LIN COUN TAX COLLECTOR           PO                                                          ~      97321      UND STATE        10124107   73715111109107           11113107    SCK    540123    22,669,64     USD       1.00000               22,669.64
  78883      GEN      LIN COUN TAX COLLECTOR           PO BOX
                                                          BOX 100
                                                              100 ALBAN
                                                                  ALBAN                                            ~      97321      UND STATE        10124107   77944111109107           11113107    SCK    540123       499.07     USD       1.00000                  499.07
  79072      GEN      K & K TIMER INC.                 C/O FffST WESTERN BANK, P.O. BOX 9 STIGIS                   m      57785      UN STATES         116107    UL104796                  11/6107    SCK    540013    16,505.00     USD       1.00000               16,505.00
  79012      GEN      K & K TIMER INC.                 C/O FIST WESTERN BAN P.O. BOX 9 STIGIS                      m      57785      UND    STATES     1116107   ui104796                  1116107    SCK    540013     1,222.26     USD       1.00000                1,222.26
  79072      GEN      K & K TIMER INC.                 CIOFffSTWESTERN BAN, P.O.BOX   9 STIGIS                     m      57785      UND    STATES     11/6107   ULI04796                  1116107    SCK    540013     7,369.26     USD       1.00000                7,369.26
  79072      GEN      K & K TIMER INC.                 C/O   FffST   WESTERN BANK,   P.O.
                                                                                        BOX 9 STIGIS               m      57785      UND    STATES     1116107   UL104796                  11/6107    SCK    540013       883.24     USD       1.00000                  883.24
  79072      GEN      K & K TIMER INC.                 C/O   FffST   WESTERN BANK,   P.O.   BOX   9   STIGIS       m      57785      UND    STATES    11/13107   UL104823                 11113107    SCK    540108    15,860.09     USD       1.00000               15,860.09
  79071      GEN      K & K TIER INC.                  CIO   FffST   WETERN BANK,    P.O.   BOX   9   STIGIS       m      57785      UND     STATES   1113107    ULI04823                 11113107    SCK    540108     1,174.50     USD       1.00000                1,174,50
  79072      GEN      K & K TIMER INC.                 CIO   FffST   WESTERN BANK,   P.O.   BOX   9   STIGIS       m      57785      UND STATE        11113107   UL104823                 11113107    SCK    540108     7,081.1      USD       1.00000                7,081.1
  79072      GEN      K & K TIER INC.                  C/O   FffST   WESTERN BANK,   P.O.   BOX   9   STIGIS       m      57785      UND     STATES   11113107   ui104823                 11/13/07    SCK    540108       848.73     USD       1.00000                  848.73
  SI082      GEN      GORDN P. ANDREWS                 ANREWS ASSOCIATES, INC., 2400 BRIE WAY, soo SAUSALITO       ~      94965      UND     STATES   10/30107   10126-28107 BOD MTGPRE    t119107    SCK    540033     1,500.00     USD       I .00000               1,500.00
  83151      GEN      LORI KROG                        LAWRNCE COUN CLERK OFCOURT, P.O. BOX 626 DEAWOOD            m      57732      UND STATES       10119107   92336 KROG 10/23107       1119107    SCK    540062       249.07     USD       1.00000                 249.0
  83151      GEN      LORI KROG                        LAWRENCE COUN CLERK OF COURT, P.O. BOX 626 DEADWOOD                                                       KROG 11-6-2007
                                                                                                                                                                                                                                                                               Filed 01/04/08




                                                                                                                   m      57732      UND STATES        11/6107                             1119107    SCK    540060      249.0       USD       1.00000                 249.Q
  84508      GEN      IVAN CLIN                        37765 RIVER DRIVE LEBANON                                   ~      97355      UND STATES       1013107    CLIN 10107-1217           1119107    SCK    540037      561.00      USD       1.00000                 561.00
  85679      GEN      DON SClIELL LOGGING              BOX 31  I  SUNANCE                                          WY     82729      UND     STATES    11I6107   ULI04792                  1116107    SCK    540023   14,235.45      USD       1.00000              14,235.45
  85679      GEN      DON SCHELL LOGGING               BOX 31  I  SUNANCE                                          WY     82729      UND STATES        1116/07   ULI04792                  1116107    SCK    540023    1,056.18      USD       1.00000               1,056.18
  85679      GEN      DON SCHELL LOGGING               BOX 31  i  SUNANCE                                          WY     82729      UND STATES        1116107   ULI04792                  1116107    SCK    540023    9,928.08      USD       1.00000               9,928.08
  85679      GEN      DON SCHELL LOGGING               BOX 3 1 I SUNANCE                                           WY     82729      UN STATES         1116107   ULI04792                  11/6107    SCK    540023    1,193.94      USD       1.00000               1,193.94
  85679      GEN      DON SClIELL LOGGING              BOX 311 SUNANCE                                             WY     82729      UND    STATES    11/13107   ULI04818                 11/13107    SCK    540119    9,518.86      USD       1.00000               9,518.86
  85679      GEN      DON SCHELL LOGGING               BOX    311    SUNANCE                                       WY     82729      UND    STATES    11113107   ULI04818                 11/13107    SCK    540t19      706.24      USD       1.00000                 706.24
  85679      GEN      DON SCHELL LOGGING                        I I SUNANCE                                        WY     82729      UND    STATES    11113107   ULI04818                 11113107    SCK    540119    6,638.64      USD       1.00000               6,638.64
  85679      GEN      DON SCHELL LOGGING               BOX                                                         WY     82729      UND    STATES    1113107    ULI04818                 11113107    SCK    540119      798.36      USD       1.00000                 798.36
                                                       BOX 3311      SUNANCE
  87538      GEN      LADNER LOGGING                   BOB LADNER, BOX 122 WHWOOD                                  m      57793      UND     STATES    1116107   ui104780                  11/6107    SCK    540015    1,269.36      USD       1.00000               1,269.36
  87538      GEN      LADNER LOGGING                   BOB LADNER, BOX 122 WHITWOOD                                m      57793      UND     STATES   11113107   UL104803                 11113107    SCK    540110    6,415.24      USD       1.00000               6,415.24
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND     STATES   11/6107    ULI04787                  11/6107    SCK    540018   12,415.49      USD       1.00000              12,415.49
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HllL CIT                           m      57745      UND     STATES   11/6107    ULI04787                 1116107     SCK    540018      919.67      USD       1.00000                 919.67
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HaL CIT                            m      57745      UND     STATES   1116107    ULI04787                 1116107     SCK    540018    9,234.98      USD       1.00000               9,234.98
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HaL CIT                            m      57745      VNDSTATES        1116107    ULI04787                 1116107     SCK    540018    1,111.26      USD       1.00000               1,111.6
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND     STATES   11113107   ULI04810                 11/13107    SCK    540112   17,554.01      USD       1.00000              17,554.01
                                                                                                                                                                                                                                                                               Page 11 of 23




  87554      GEN      MEA LOGGING                      23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND STATE        11113107   UL104810                 11113107    SCK    540112    4,365.40      USD       1.00000               4,365.40
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND STATES       11/13107   ULI04810                 11/13107    SCK    540112      323.15      USD       1.00000                 323.15
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UN STATE         11113107   ULI04810                 11113107    SCK    540112    1,300.30      USD       1.00000               1,300.30
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND STATE        11113107   ULI04810                 1113107     SCK    540112       98.96      USD       1.00000                  98.96
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UND STATES       11/13107   ULI04810                 11113107    SCK    540112   13.o7.15       USD       1.00000              13,057.15
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULH ROAD HIL CIT                             m      57745      UND STATES       11113107   UL104810                 11113107    SCK    54Ot12    3,465.20      USD       1.00000               3,465.20
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HIL CIT                            m      57745      UN STATE         11/13107   ui104810                 11113107    SCK    540112    1,571.9       USD       1.00000               1,571.9
  87554      GEN      MEZA LOGGING                     23852 PENALUA GULCH ROAD HILL CIT                           m      57745      UND STATES       11113107   UL104810                 1113107     SCK    540112     415.48       USD       1.00000                 415.48
  87996      GEN      DAKOTA, MINSOTA & EASTERN        RAllROAD, NW 5284 PO BOX 1450 MINOLIS                       MN     55485      UND STATES       1013107    OMEI10107DEPOSIT         11l27       EDI    103082   45,000.00      USD       1.00000              45,000.00
  89194      CRT      FRANK LUMER COMPANY INC          DRAWER             1179        MlL             CIT          ~      97360      UND STATE        10/29107FR102907                    11/1107     WR      7019    10,000.00      USD       1.00000              10,000.00
  89194      CRT      FRNK LUMER COMPANY INC           DRAWER             1179        MlL             CIT          ~      97360      UND STATES       11!27   FRI10207                    11l27       WR      7041    10,000.00      USD       1.00000              10,000.00
  89194      CRT      FRNK LUMER COMPANY mc            DRAWER             #79         MlL             CIT          ~      97360      UNDSTATE         1115107 FRI10507                    11/5107     WR      7056    10.000.00      USD       1.00000              10,000.00
  89194      CRT      FRNK LUMER COMPANY INC           DRAWER             1179        MlL             CIT          ~      97360      UN STATE         11/6107    FR   110607              11/6/7      WR      7076    10,000.00      USD       1.00000              10,000.00


                                                                                                                                                                                                                                      SOFA AlL. 3-a2 Gap Payments
                                                                                                                               125 of 137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor Class Vi'lldur i\iuiic Addrcs.s City Address Slalc/l'ro\' l'usl:,1 Cude CUIlIllry Ili\"Îce nute Iii\"oicc Check )):111: l'¡i~'imiit Type T~I::~:i;;~lI nil~I~:~~~~lIC)' Uasc Curreiicy loX It:,ic W'¡I~::::li::~;lclIt
   89194     CRT      FRANK LUMER COMPANY INC        DRAWER 1/79                             MIL CIT      æ      97360      UND STATES         Iim07      FRNlI0707                11m07     WRE    7094      10,000.00    USD        1.00000              In,QOo.oo
   89194     CRT      FRANK LUMBER COMPANY INC       DRAWER #79                              MILLCIT      æ      97360      UND       STATES    1111107   FR I 10807               1118107   WR     7115      10,000,00    usn        1.00000              10,000.00
   89194     CRT      FRNK LUMER COMPANY INC         DRAWER 1/79                             MIL CIT      æ      97360      UND       STATES    1119107   FRNI 10907               11/9107   WR     7137      20,000.00    usn        1.00000              20,000.00
   89194     CRT      FRANK LUMBER COMPANY INC       DRAWER #79                              MIL CIT      æ      97360      UND STATES         11113107   FRNI I 1307             11/13107   WR     7164      10,000.00    usn        1.00000              10,000.00
   89194     CRT      FRNK LUMER COMPANY INC         DRAWER #79                              MIL CIT      æ      97360      UND       STATES   11114107   FRI 1 1407              11/14/07   WR     7191      10,000.00    usn        1.00000              10,000.00
   89194     CRT      FRNK LUMER COMPANY INC         DRAWER#79                               MH.LCIT      æ      97360      UND       STATES   11115107   FRNI I 1507             11115107   WR     7213      10,000.00    usn        1.00000              10,000.00
   89326     CRT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UNnSTATES           11/6107   37968825                 1119107   SCK   540094      2,455.84    usn        1.00000               2,455.114
   89326     CRT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UND       STATE     11/3107   37937240 DB              11/6107   WR     7090       3,220.00    USD        1.00000               3,220.00
  89326      CRT      BOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UN STATES           1114107   37959209 DB              11/6107   WR     7090       2,429.01    usn        1.00000               2,429.01
  89326      CRT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UND STATE           1115107   37964433DB               1118107   WR     7130       2,489.28    usn        1.00000               2,489.28
  89326      CaT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UND STATES          1119107   37984022D8              11/15107   WR     7225       2,297.84    usn        1.00000               2,297.84
  89326      CRT      DOC GASES                      88718 EXPEDIT WAY                       cmCAGO       ~    60695-1700   UND       STATES   11111107   37984023DB              11115107   WR     7225       2,420.90    usn        1.00000               2.20.90
  89326      CRT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UND STATES         11/11107   37984024D8              11115107   WR     7225       2,171.73    usn        1.00000               2,171.7J
  89326      CRT      BOC GASES                      88718 EXPEDIT WAY                       CmCAGO       ~    60695-1700   UND STATES         11I1'27    37989630 DB             11115107   WR     7225         592.65    usn        1.00000                 592.65
  89326      CRT      DOC GASES                      88718 EXPEDIT WAY                       CHICAGO      ~    60695-1700   UND STATES         11114107   3799493IDR              11116107   WR     7241       2,519.66    usn        1.00000               2,519.66
  89753      GEN      ABE WERNER                     32100 COBURG BOTIOM LOOP                EUGENE       æ      97408      USA                IomlO7     WERNER 10107.1217        1119107   SCK   540092        280.50    usn        1.00000                 280.50
  89764      GEN      HOWARD LINREN                  1127 AIORT ROAD                         LEBANON      æ      97355      USA                IomlO7     LINREN 10107-1217        11/9107   SCK   540061        561.00    usn        1.00000                 561.00
  90283      GEN      CNRAILWAY                      P.O. BOX 71206                          CHICAGO       ~     60694      UND STATES                                            11115107   WR     7229     100,081.0     usn        1.00000             100,081.30
  90812      GEN      OBERSON OIL INC.               UN 07, POBOX 5000                       PORlLAND     æ    97208.5000   UND       STATES   11/1107     118412nB               11/14/07   WR     7211       9,751.50    usn        1.00000               9,751.0
  90872      GEN      OBERSON OIL INC.               UN 07, POBOX 5000                       PORlLAND     æ    97208-5000   UND       STATES   11115107   118736DR                11/16107   WR     7242       3,802.08    usn        1.00000               3,802.08
  91315      GEN      ANALYTICALLADORATORY &         CONSULTANf. INC., 361 WEST5TI AVENU     EUGENE       æ      97401      UND       STATES   11/27      24984                   11/13107   SCK   540127        400.00    usn        1.00000                 400.00
  91315      GEN      ANALYTICAL LAORATORY &         CONSUL TANe. INC., 361 WEST 5TI AVENU   EUGENE       æ      97401      UND STATE           116107    25033                   11113107   SCK   540127         60.00    usn        1.00000                  60.00
                                                                                                                                                                                                                                                                     Case 07-11738-CSS




  91315      GEN      ANALYTICAL LADORA TORY &       CONSULTANT. INC" 361 WEST5TIAVENU       EUGENE       æ      97401      UN        STATES    linlO7    25037                   11113107   SCK   540127        400.00    USD        1.00000                 400.00
  91417      EMP      GREG W. NA YDIUK               C/O POPE & TALBOT INC.                  PORTL        æ      97201      UN STATE            1115107   OOP:20071 105:GREGORY W 11/16107   EDI   103102        101.85    usn        1.00000                 101.85
  91562      EMP      RON RUSSELL                    CIO POPE & TALBOT                       SPEAH        m      57783      UND      STATES    11114107   112507                  11116107   SCK   392015         79.47    usn        1,00000                  79.47
  9176\      GEN      WARN WELCH                     471 NFAWNDRN                             OTIS        æ      97368      UND      STATES    IOmlO7     WELCH 10107-12/7         1119107   SCK   540091        280.50    usn        1.00000                 280.50
  91777      EMP      FRNK L. CROSS                  3980 HAYDEN DRIDE ROAD                   SPRIGFILD   æ      97477      UND      STATES    IomlO7     CROSS 10107-1217         1119107   SCK   540042        280.50    usn        1.00000                 280.50
  92082      GEN      soum DAKOTA DEPT OF REVENU     OFFICE OF PRORATE. 445 EAST CAPITAL AVENUPIERR       m      57501      UND      STATES    10115107   912007 S&U              IomlO7     ACH    7028       2,153.44    usn       1.00000                2,153.44
  92171      GEN      VIKING CHAINS INCORPRATED      7392 PROGRESS PLACE                      DELTA       OC    V4GIAI      CANADA             1012107    S008450                 11113107   SCK   392007     13.647.50    usn        1.00000              13,647.50
  92296      GEN      GERADR WEVER                   1279 SONOMA DRN                          EUGENE      æ      97404      USA                1013107    WEVER 10107~12/7         1119107   SCK   540090        561.00    usn        1.00000                 561.00
  92419      GEN      JOHNSON, RODENBURG & LAUIGER   300 N.P.AVENU SUI 105.PO BOX 2427        FARGO       ~    58108-2427   UND STATE          10119107   ClV03259COPAS 10/23107   1119107   SCK   540055         24.97    usn        1.00000                  24.97
  92419      GEN      JOHNSON, RODENBURG & LAUIGER   300 N.P. AVENU SUI 105, PO BOX 2427      FARGO       ~    58108-2427   UND STATES          1I/6107   LIGGETI 11-06-2007       1119107   SCK   540056        204.35    usn       1.00000                  204.35
  92601      CRT      EMERAD PEOPLE'S ULILIT DIST    33733 SEAVEY LOOP RD                     EUGENE      æ    97405-9614   UND STATES          IInlO7    lO2649CR                11/13107   SCK   540128   (117.175.52)   usn       1.00000             (117,175.52)
  92601      CRT      EMERALD PEOPLE'S UtILIT DIST   33733 SEAVEY LOOP RD                     EUGENE      æ    97405-9614   UND       STATES    IinlO7    102649DB                11/13107   SCK   540128    117,175.52    usn        1.00000             117,175.52
  92601      CRT      EMERAD PEOPLE'S ULILIT DIST    33733 SEAVEY LOOP RD                     EUGENE      æ    97405-9614   UND       STATES   10/23107   10265                   1I/13107   SCK   540129      7,054.44    usn       1.00000                7,054.44
                                                                                                                                                                                                                                                                     Doc 266-4




  92601      CRT      EMERAD PEOPLE'S ULILIT DIST    33733 SEAVEY LOOP RD                     EUGENE      æ    97405-9614   UND       STATES    IinlO7    lO265DB                 11/13107   SCK   540128         40.00    usn       1.00000                   40.00
  92601      CRT      EMERAD PEOPLE'S ULILIT DIST    33733 SEAVEY LOOP RD                     EUGENE      æ    97405-9614   UND       STATES   912107     102623                   1119107   WR     7158     106,850.95    usn       1.00000              106,lI50.95
  92601      CRT      EMERAD PEOPLE'S ULllrr OIST    33733SEAVEYLOOPRD                        EUGENE      æ    97405-9614   UND       STATES   10111107   102629                   119107    WRE    7158     103,123.07    usn       1.00000              103,123.07
  92622      GEN      SIMSON TIMBER COMPAN           COMMNCEMENTBA Y OPERATIONS, DEP 1659 DENV            ro   80291-1656   UN STATES           1115107   SIMlI0507                11/5107   WR     7063       3,000.00    usn       1.00000                3,000.00
  92622      GEN      SIMSON TIER COMPAN             COMMNCEMENT BAY OPERATIONS, DEPT 1659 DENVR          ro   80291-1656   UND STATES          11/6107   SIMlI0607                ~i6107    WR     7082       3,000.00    USD       1.00000                3,000.00
  92622      GEN      SIMSON TIMER COMPANY           COMMNCEMENT BAY OPERATIONS, DEF 1659 DENV            ro   80291-1656   UND       STATES    11nlO7    SIMI10707                ItnlO7    WR     7100       3,000.00    usn       1.00000                3,000.00
  92622      GEN      SIMSON TIMER COMPANY           COMMNCEMNT BAY OPERATIONS, DEPT 1659 DENVR           ro   80291-1656   UND       STATE     1111107   SIMI10807                1118107   WR     7121       3,000.00    usn       1.00000                3,000.00
  92622      GEN      SlMPSONTIER COMPANY            COlvNCEMNTBA Y OPERATIONS, DEFT 1659 DENV            ro   80291-1656   UN STATE            1119107   SIMlI0907                11/9107   WR     7144       6,000.00    usn       1.00000                6,000.00
  92622      GEN      SIMSON TIMER COMPANY           COMMNCEMENT BAY OPERATIONS, DEPT 1659 DENVR          ro   80291.1656   UND STATE          11113107   SIMI I 1307             11113107   WR     7172       3,000.00    usn       1.00000                3,000.00
  92622      GEN      SIMSON TIMER COMPANY           COMMNCEloNT BAY OPERATIONS, DEPT 1659 DENV           ro   80291.1656   UND STATE          11114/07   SIMi I 1407             11114107   WR     7198       3,000.00    usn       1.00000                3,000.00
  92622      GEN      SIMlSON TIMER COMPAN           COMMNCEMENT BAY OPERATIONS. DEPT 1659 DENVR          ro   8029i~1656   UND STATE          11115107   SIMI 1 1507             11/15107   WR     7219       3,000.00    usn       1.00000                3,000.00
  92803      GEN      MINSOTA CHID SUPPORT           PAYMNT CENTR. PO BOX 64306               ST. PAUL           55164      UND      STATES    10/19107   1252111710123107         1119107   SCK   540065        257.40    usn       1.00000                  257.40
  92803      GEN      MINSOTA CHILD SUPPORT          PAYMNT CENTR. PO BOX 64306               ST. PAUL           55164      UND      STATES     11/6107   BAKN I 1-6-2007          1119107   SCK   540064       257.40     usn       1.00000                  257.40
  92869      GEN      TR-MET                        4012SE 17TIAVENU                         PORlLAN
                                                                                                          --
                                                                                                           æ     97202      UND      STATES    10/25107   11107 BUS PASS           1119107   SCK   540085        (27.05)   usn       1.00000                  (27.05)
  92869      GEN      TRI-MET                       4012SE 17TAVENU                          PORTL         æ     97202      UND      STATES    10/25107   11107 BUS PASS           1119107   SCK   540085         1.0      usn       1.00000                   1.0
  92869      GEN      TRI-MET                       4012SE 17TIAVENU                         PORlLAN      æ      97202      UND      STATES    10/25107   11107 BUS PASS          1119107    SCK   540085     2,705.00     usn       1.00000               2,705.00
  93039      GEN      BURLINGTON NORTHRN & SANTA FE 31 10 SOLUfIONS CENTR                    CHICAGO
                                                                                                                                                                                                                                                                     Filed 01/04/08




                                                                                                          ~    60677.3001   UND      STATES    10/29107   7101499                 11/16107   SCK   392016     1,255.00     usn       1.00000               1,255.00
  93222      GEN      SWANSONBROS LUMER CO., INC    PO BOX 309                               Non          æ      97461      UND       STATE    i1nlO7     93222107111             11/16107   WR     7258      2,316.60     usn       1.00000               2,316.60
  93222      GEN      SWANSONBROS LUMER CO., INC    PO BOX 309                               Non          æ      97461      UND STATE          11/9107    932221071ICM-PRE        1I/16107   WR     7258       (774.60)    usn       1.00000                (774.60)
  93222      GEN      SWANSON DROS LUMER CO., INC   PO BOX 309                               Non          æ      97461      UND       STATES   1118107    SWANlI0807              1118107    WR     7124      5,000.00     usn       1.00000               5,000.00
  93222      GEN      SWANSONBROS LUMER CO., INC    PO BOX 309                               Non          æ      97461      UND       STATES   1118107    SWANII0807A             1118107    WR     7125     13,000.00     usn       1.00000              13,000.00
  93222      GEN      SWANSON BROS LUMER CO., INC   PO BOX 309                               Non          æ      97461      UND       STATE    11113107   SWANII 1307             ~i13107    WR     7170      5,000.00     usn       1.00000               5,000.00
  93222      GEN      SWANSON DROS LUMER CO., INC   PO BOX 309                               Non          æ      97461      UND STATE          11/16107   SWANII1607              11116/07   WR     7258      5,000.00     usn       1.00000               5,000.00
  93391      GEN      JAMS GmBS                     35023 EDE RD                             LEBANON      æ      97355      USA                Iom/07     GmBS 10107-1217         11/9107    SCK   540052       561.00     usn       1.00000                 561.00
  93437      GEN      C. TRN                        P.O. BOX 2529                            VANCOUVR     ~    98668-2529   UND       STATES   10mlO7     11107 BUS PASSES        1119107    SCK   540036       210.00     usn       1.00000                 210.00
  93778      GEN      NORTIIERN HILLS FEDERA        CREDIT UNON, P.O. BOX 759                STIGIS       m      57785      UND      STATES    10119107   6980lWEAVER 10/23107    1119107    SCK   540067        70.58     usn       1.00000                  70.58
  93778      GEN      NORTHRN HILLS FEDERA         CREDITUNON, P.O. BOX 759                  STIGIS       m      57785      UND      STATES     1116107   WEAVER I 1-6-2007       1119107    SCK   540066        90.77     usn       1.00000                  90.77
  93888      GEN      SANDFORD LOGGING INC.         20039 SUNSETVISTA PLACE                  SPEARH       m      57783      UND      STATES     11/6/07   ULI04784                11/6107    SCK   540022    13,051.51     usn       1.00000              13,051.1
  93888      GEN      SANDFORD LOGGING INC.         20039 SUNSET VISTA PLACE                 SPEARH       m      57783      UND      STATES     1116107   ULI04784                1116107    SCK   540022       971.03     usn       1.00000                 971.03
  93888      GEN      SANDFORD LOGGING INC.         20039 SUNSET VISTA PLACE                 SPEAISH      m      57783      UND       STATES    1116107   ULI04784                1116107    SCK   540022     7,486.35     usn       1.00000               7,486.35
  93888      GEN      SANDFORD LOGGING INC.         20039 SUNET VISTA PLACE                  SPEARISH     m      57783      UND STATES          1116107   ULI04784                1116107    SCK   540022       897.94     usn       1.00000                 897.94
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEARFH      m      57783      UND STATES         11113107   ULI04808               11113107    SCK   540118     2,794.00     usn       1.00000               2,794.00
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEARISH     m      57783      UND       STATES   11113107   UL104808               11/13107    SCK   540118    11.123.14     USD       1.00000              11,123.14
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  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSETVISTA PLACE                   SPEAISH      m      57783      UN STATES          11113107   ULl04808               t1/13107    SCK   540118       205.87     usn       1.00000                 205.87
  93S88      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEAH        m      57783      UND STATE          11113107   ULI04808               1I/13107    SCK   540118       827.56     usn       1.00000                 82756
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSETVISTA PLACE                   SPEASH       m      57783      UND STATES         11113107   ULI04808               11/13107    SCK   540118     1,570.52     usn       1.00000               1,570.52
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEAH        m      57783      UND STATE          11113107   ULI04808               11113107    SCK   540118     6,380.23     usn       1.00000               6,380.23
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEARH       m      57783      UND STATES         11/13107   ULI04808               11/13107    SCK   540118       188.23     usn       1.00000                 188.23
  93888      GEN      SANDFORD LOGGING INC.        20039 SUNSET VISTA PLACE                  SPEARH       m      57783      UND       STATES   11/13107   ULI04808               11/13107    SCK   540118       765.27     usn       1.00000                 765.27
  93891      GEN      MAVIN FOUNAIN                 1328 COWHOLLOWRD                         NYSSA        æ      97913      USA                IomlO7     FOUNAI 10107-12/7       1119107    SCK   540050       561.00     usn       1.00000                 561.00
  94859      GEN      WOODFORD CONSTRUCTION INC.   P.O. BOX 6039                             CUSTER       m     5mO         UND      STATES    11113107   ULI04814               11113107    SCK   540120       382.50     usn       1.00000                 382.50
  94859      GEN      WOODFORD CONSTRUCTION INC.   P.O, BOX 6039                             CUSTER       m     57730       UND      STATES     1119107   KINY CREEK 11107107    11116107    SCK   392020     7.500.00     usn       1 .0000               7,500,00
  94862      CRT      STERN OIL CO. INC.           P.O. BOX 218                              FREMAN       m     57029       UND      STATES    10/31107   15567-IN               ~i13107     EDI   101931     1.674.56     USD       I .00000              1,674.56
  94862      CRT      STERNOILCO. INC.             P.O.BOX 218                               FREM         m     57029       UND      STATES    10/3107    15567.IN               11113107    EDI   101931        66.98     usn       I .00000                 66.98
  94862      CRT      STERNOIL CO. INC.            P.O. BOX218                               FREMA        m     57029       UND       STATE    IomlO7     15568-IN               11114107    EDI   101935     4,960.93     USD       1.00000              4,960.93
  94862      CRT      STERN OIL CO. INC.           P.O. BOX 218                              FRMA         m     57029       UND       STATES   1013107    15568-IN               11/14117    EDI   101935       198.44     usn       1.00000                 198.44


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Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


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  94862      CRT      STERN On. CO. INC.            P.O. BOX 218                      FREMA         SD     57029      UND STATES     1118107   15739-IN              11/14107   EDI   101935     995.65     USD      1.00000              995.65
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  94980      GEN      LINLD INC.                    1311 EST. JOSEPH                  RAID CIT      SD     57701      USA           1013107    R098823                1119107   SCK   392002      38.26     USD      1.00000               38.26
  94980      GEN      LINLD INC.                    1311 EST. JOSEPH                  RAID CIT      SD     57701      USA           10/3107    R098823                1119107   SCK   392002        1.3     USD      1.00000                 1.3
  94980      GEN      LINLD INC.                    1311 EST. JOSEPH                  RAID CIT      SD     57701      USA           10/3107    R098824                1119107   SCK   392002      181.5     USD      1.00000               181.5
  94980      GEN      LINLD INC.                    131 i E ST. JOSEPH                RAID CIT      SD     57701      USA           10/31107   R098824                11/9107   SCK   392002        7.26    USD      1.00000                 7.26
  94980      GEN      LINLD INC.                    1311 EST. JOSEPH                  RAID CIT      SD     57701      USA           10/30107   RC36112                1119107   SCK   392002      161.45    USD      1.00000               161.45
  94980      GEN      LINLD INC.                    131 I E ST. JOSEPH                RAID CIT      SD     57701      USA           10/30107   RC36112                1119107   SCK   392002        6.46    USD      1.00000                 6.46
  95259      GEN      STOEL RIVES LLP               900 S.W. FIF AVENU. SUI 2600      PORTI         OR   97204-1268 UND STATES      10/31107   3276742                1119107   WR     7159    36,479.00    USD      1.00000            36,479.00
  95259      GEN      STOEL RIVS LLP                900 S.W. FIF AVENU, SUI 2600      PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159       160.00    USD      1.00000               160.00
  95259      GEN      STOEL RIVES LLP               900 S. W. FIF A VENU, SUI 2600    PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159      620.00     USD      1.00000              620.00
  95259      GEN      STOEL RNES LLP                900 S.W. FIF AVENU, SUI 2600      PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159      560.00     USO      1.00000              560.00
  95259      GEN      STOEL RIVES LLP               900 S.W. FI AVENU, SUI 2600       PORlLAND      OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159      537.50     USD      1.00000              537.50
  95259      GEN      STOEL RIVES LLP               900 S.W. FIF AVENU, SUI 2600      PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159     1,043.38    USD      1.00000             1,043.38
  95259      GEN      STOEL RIVES LLP               900 S.W. FIF AVENU, SUI 2600      PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159      265.50     USD      I .00000             265.50
  95259      GEN      STOEL RIVS LLP                900 S.W. FI AVENU, SUI 2600       PORTI         OR   97204-1268 UND STATES      10/3107    3276742                1119107   WR     7159      767.50     USD      1.00000              767.50
  95259      GEN      STOEL RIVES LLP               900 S.W. FIF AVENU, SUI 2600      PORlLAND      OR   97204-1268 UND STATES      11116107   3277881 RA            11116107   WR     7250    16,408.00    USD      I .00000           16,408.00
  95259      GEN      STOEL RNES LLP                900 S.W. FIF AVENU, SUI 2600      PORTLND       OR   97204-1268 UND STATES      11116107   3277881 RA            11116/07   WRE    7250     1,160.50    USD      1.00000             1,160.50
  95259      GEN      STOEL RIVES LLP               900 S.W. FIFTH AVENU, SUI 2600    PORlLND       OR   97204-1268 UND STATES      11116107   3277881 RA            11116107   WR     7250      200.00     USD      1.00000              200.00
  95259      GEN      STOEL RIVES LLP               900 S.W. FI AVENU, SUI 2600       PORlLAND      OR   97204-1268 UND STATES      11116107   3277881 RA            11116/07   WR     7250    11,457.50    USt)     1.00000            11,457.50
  95259      GEN      STOEL RIVES LLP               900 S.W. FI AVENUE, SUI 2600      PORlLAN       OR   97204-1268 UND STATES      11116107   327788 I RA           11116107   WR     7250      240.00     USD      1.00000              240.00
                                                                                                                                                                                                                                                   Case 07-11738-CSS




  95259      GEN      STOEL RIVES LLP               900 S.W.FIF AVENU, SUI     2600   PORTLND       OR   97204- 1 268 UND STATES    11116/07   3277881 RA            11116107   WR     7250      292.50     USD      1.00000              292.50
  95259      GEN      STOEL RIVES LLP               900 S.W. FlF1l1 AVENU, SUI 2600   POR11AND      OR   97204-1268 UND STATES      11116107   327788 I RA           11116107   WR     7250       187.50    USD      1.00000               187.50
  95259      GEN      STOEL RIVS UP                 9OOS.W. FIF AVENU, SUI     2600   PORlLAND      OR   97204-1268 UND STATES      11/16107   327788 I RA           11/16107   WR     7250       197.50    USD      1.00000               197.50
  95259      GEN      STOEL RIVES LLP               900 S.W.FIF AVENUE, SUI 2600      PORTIAND      OR   97204-1268 UND STATES      11116107   327788 I RA           11/16107   WR     7250         1.2     USD      1.00000                 1.2
  95259      GEN      STOEL RIVES LLP               900 S.W. FIF A VENU, SUI 2600     PORlLAND      OR   97204-1268 UND STATE       11116107   327788 I RA           1l/16107   WR     7250         1.80    usn      1.00000                 1.80
  95259      GEN      STOEL RIVS LLP                900 S.W. FIF A VENU, SUI 2600     POR11AN       OR   97204-1268 UND STATES      11116107   3277881RA             11/16107   WR     7250       358.50    usn      1.00000               358.5n
  95670      GEN      KPMG LLP                     DEPT077I,POBOX 120001              DALLAS        TX   75312-0771 UN STATE        10130107   42914087               11/5107   WR     7070    75,880.00    USD      1.00000            75,880.00
  95670      GEN      KPMG LLP                     DEPT077I,POBOX 120001              DALLAS        TX   75312-0771 UND STATES       11/5107   42918457               11n/07    WR     7111    44,454.00    USD      1.00000            44,454.00
  95839      CRT      UN AR USA INC.               FlE56019                           LOS ANGELES   CA   90074-6019 UN     STATES    1115107   PO- 794824 CR OVRMT   11/14/07   WR     7208    (3,216.00)   USD      1.00000            (3,216.00)
  95839      CRT      UNIV AR USA INC.             FILE56019                          LOS ANGELES   CA   90074-6019 UNnSTATE         1115107   PO-794824 DB           IinlO7    WR     7112     3,216.00    USD      1.00000             3,216.00
  95839      CRT      UNAR USA INC.                FILE 56019                         LOS ANGELES   CA   90074-6019 UND STATES       1115107   PO-794824 DB OVRMT     1118107   WR     7133     3,216.00    USD      1.00000             3,216.00
  95839      CRT      UNI AR USA INC.              FILE56019                          LOS ANGELES   CA   90074-6019 UND STATE        1115107   PO-795450 CR OVRPMT   1114107    WR     7208    (3,326.40)   USD      1.00000            (3,326.40)
  95839      CRT      ONIV AR USA INC.             FILE 56019                         LOS ANGELES   CA   90074-6019 UND STATES       11/5107   PO-795450 DB           IinlO7    WR     7112     3,326.40    USD      1.00000             3,326.40
                                                                                                                                                                                                                                                   Doc 266-4




  95839      CRT      UNIV AR USA INC.             FILE 56019                         LOS ANGELES   CA   90074-6019 UND STATE        1115107   PO-795450 DB OVRMT     1118107   WR     7133     3,326.40    USD      1.00000             3,326.40
  95839      CRT      UN AR USA INC.               FIE 56019                          LOS ANGELES   CA   90074-6019 UN STATE         11/5107   PO-795785 CR OVRMT    11114/07   WR     7208    (2,868.60)   USD      1.00000            (2,868.60)
  95839      CRT      UNIV AR USA INC.             FILE 56019                         LOS ANGELES   CA   90074-6019 UND STATE        11/5107   PO-795785DB            IlnlO7    WR     7112     2,868.60    USD      1.00000             2.868.60
  95839      CRT      UN AR USA INC.               FILE56019                          LOS ANGELES   CA   90074-6019 UND STATE        115107    PO-795785 DB OVRMT     1118107   WR     7133     2,868.60    USD      1.00000             2,868.60
  95839      CRT      UN AR USA INC.               FILE56019                          LOS ANGELES   CA   90074-6019 UND STATE        11/5107   PO-796716DB            1118107   WR     7133    19,512.00    USD      1.00000            19,512.00
  95839      CRT      UN AR USA INC.               FILE56019                          LOS ANGELES   CA   90074-6019 UND STATES       11/5107   PO-796948 DB           1118107   WR     7133     5,040.00    USD      1.00000             5,040.00
  95839      CRT      UNIV AR USA INC.             FILE56019                          LOS ANGELES   CA   90074-6019 UND STATES      11112/7    PO-797392DB           11116107   WR     7244     2,868.60    USD      1.00000             2,868.60
  95839      CRT      UN AR USA INC.               FILE56019                          LOS ANGELES   CA   90074-6019 UND STATES      11/12/7    PO-797394DB           11116107   WR     7244     3,216.00    USD      1.00000             3,216.00
  95839      CRT      UNlVAR USA INC.              FILE56019                          LOS ANGELES   CA   90074-6019 UND STATES      11112/7    PO-797396DB           11116107   WR     7244     3,326.40    USD      1.00000             3,326.40
  95839      CRT      UN AR USA INC.               FILE 56019                         LOS ANGELES   CA   90074-6019 UND STATES      11112/7    PO- 797397 DB         11114107   WR     7208    13,603.20    USD      1.00000            13,603.20
  95839      CRT      UNAR USA INC.                FILE56019                          LOS ANGELES   CA   90074-6019 UND STATES      11112/7    PO.797398 DB          11114/07   WR     7208     3,326.40    USD      1.00000             3,326.40
  95883      GEN      CANADIANPACIFIC RAILWAY      P.O. BOX 9200, STATION
                                                                        TERMINAL      V ANCOlNR     BC    V6B6E7      CANADA         1116107   603017187             11/13107   WR     7181        (0.01)   CAN      1.03858                (0.01)
  95883      GEN      CANADIAN PACIFC RAILWAY      P.O. BOX 9200, STATION
                                                                        TERMAL        VANCOUVER     BC    V6B6E7      CANADA         11/6107   603017187             11/13107   WR     7181       360.66    CAN      1.03858               374.58
  95883      GEN      CANADIANPACIFIC RAILWAY      P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA         1116107   603017187             11/13107   WR     7181     6,010.97    CAN      1.03858             6,242.90
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA        10/31107   602980379             11115107   ACH    7228     5.755.39    USD      1.00000             5,755.39
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION TERMAL      V ANCOlNR     BC    V6B6E7      CANADA         1118107   602998047             11115107   ACH    7228     5,364.18    USD      1.00000             5,364.18
  95883      GEN      CANADIANPACIFIC RAILWAY      P.O, BOX 9200, STATION
                                                                                                                                                                                                                                                   Filed 01/04/08




                                                                        TERMAL        VANCOUVR      BC    V6B6E7      CANADA         1118107   602998047             11115107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O, BOX 9200, STATION TERMAL      V ANCOlNR     BC    V6B6E7      CANADA         1118107   602998048             11115107   ACH    7228     5,364.19    USD      1.00000             5,364.19
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA         1118107   602998048             11115107   ACH    7228       (36.51)   USD      1.00000               (36.51)
  95883      GEN      CANADIANPACIFICRAILWAY       P.O. BOX 9200, STATION
                                                                        TERMINAL      V ANCOlNR     BC    V6B6E7      CANADA         llnlO7    602999897             11115107   ACH    7228     5,272.07    USD      1.00000             5,272.07
  95883      GEN      CANADIANPACWIC RAILWAY       P.O. BOX 9200. STATION TERMAL      V ANCOlNR     BC    V6B6E7      CANADA        i1nlO7     602999897             11/15107   ACH    7228       (36.51)   USD      1.00000               (36.51)
  95883      GEN      CANADIANPACIFC RAILWAY       P.O. BOX 9200, STATION TERMAL      VANCOUV       BC    V6B 6E7 CANADA             IInlO7    602999898             11115107   ACH    7228     5,364.19    USD      1.00000             5,364.19
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200. STATION TERMAL      VANCOUVER     BC    V6B6E7      CANADA        lInlO7     602999898             11115107   ACH    7228       (36.51)   USD      1.00000               (36.51)
  95883      GEN      CANADIANPACmc RAILWAY        P.O. BOX 9200, STATION
                                                                        TERMINAL      V ANCOlNR     BC    V6B6E7      CANADA        11nlO7     602999899             11115107   ACH    7228     5,364.18    USD      1.00000             5,364.18
  95883      GEN      CANADIANPACIFIC RAILWAY      P.O. BOX 9200, STATION TERMINAL    VANCOUV       BC    V6B6E7      CANADA        11nlO7     602999899             1115107    ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFC RAILWAY      P.O. BOX 9200, STATION TERMINAL    VANCOUVER     BC    V6B6E7      CANADA        11/6107    603017188             11115107   ACH    7228     5,292.69    USD      1.00000             5,292.69
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA         116107    603017188             11115107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200. STATION
                                                                        TERMINAL      VANCOUVER     BC    V6B6E7      CANADA         11/6107   603017189             11/15107   ACH    7228     8,623.72    USD      1.00000             8,623.72
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA        11/6107    603017189             11115/07   ACH    7228       (36.50)   usn      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMINAL      V ANCOlNR     BC    V6B6E7      CANADA        11/6107    603017190             11/15107   ACH    7228     6,597.94    USD      1.00000             6,597.94
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA        11/6107    603017190             11115107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFC RAILWAY      P.O. BOX 9200, STATION TERMINAL    V ANCOlNR     BC    V6B6E7      CANADA        11/6107    603017191             11115107   ACH    7228     5,27207     USD      1.00000             5,272.07
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMINAL      V ANCOlNR     BC    V6B6E7      CANADA        1116107    603017191             11/15107   ACH    7228       (36.51)   USD      1.00000               (36.51)
                                                                                                                                                                                                                                                   Page 13 of 23




  95883      GEN      CANADIA PACIFIC RAß.WAY      P,O, BOX 9200, STATION
                                                                        TERMAL        V ANCOlNR     BC    V6B6E7      CANADA        11/6107    603017192             11115107   ACH    7228     5,272.07    USD      1.00000             5,27207
  95883      GEN      CANADIAN PACIFIC RAß.WAY     P.O. BOX 9200, STATION
                                                                        TERMINAL      VANCOUVR      BC    V6B6E7      CANADA        11/6107    603017192             11115107   ACH    7228       (36.51)   USD      1.00000               (36.51)
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200, STATION
                                                                        TERMAL        VANCOUVR      BC    V6B 6£7     CANADA        1119107    603036452             11/15107   ACH    7228     7,191.73    USD      1.00000             7,191.73
  95883      GEN      CANADIAN PACIFIC RAß.WAY     P.O. BOX 9200, STATION
                                                                        TERMAL        VANCOUVR      BC    V6B6E7      CANADA        1119107    603036452             11/15107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIAN PACIFC RAWAY        P.O. BOX 9200, STATION TEAL        VANCOUVR      BC    V6B 6£7     CANADA        1119107    603036453             1l/15107   ACH    7228     5.364.19    USD      1.00000             5,364.19
  95883      GEN      CANADIANPACIFICRAILWAY       P.O. BOX 9200. STATION TERMAL      VANCOUVR      BC    V6B6E7     CANADA         1119107    603036453             11/15107   ACH    7228       (36.51)   USD      1.00000               (36.51)
  95883      GEN      CANADIAN PACIFIC RAWAY       P.O. BOX 9200, STATION 'fRMAL      V ANCOlNR     BC    V6B 6E7 CANADA            11112/7    603051915             11115107   ACH    7228     5,364.18    USD      1.00000             5,364.18
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200. STATION
                                                                        TERMAL        VANCOUVR      BC    V6B6E7     CANADA         11112/7    603051915             11/15107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIA PACIFIC RAILWAY      P,O. BOX 9200. STATION TEAL        VANCOUVER     BC    V6B 6E7 CANADA            1111217    603051916             11115107   ACH    7228     6,886.81    USD      1.00000             6,886.81
  95883      GEN      CANADIANPACIFC RAILWAY       P.O. BOX 9200, STATION TERMAL      VANCOUV       BC    V6B6E7     CANADA         11I12i7    603051916             11/15107   ACH    7228       (36.50)   USD      1.00000               (36.50)
  95883      GEN      CANADIANPACIFC RAILWAY       P.O. BOX 9200, STATION TERMAL      V ANCOlNR     BC    V6B 6E7 CANADA            11114107   603065010             11115107   ACH    7228     6.713.55    USD      1.00000             6,713.55
  95883      GEN      CANADIAN PACIFIC RAILWAY     P.O. BOX 9200. STATION TERMAL      V ANCOtNR     BC    V6B 6£7 CANADA            11114107   603065010             11/15107   ACH    7228       (36.49)   USD      1.00000               (36.49)
  95883      GEN      CANADIANPAClFC RAWAY         P.O. BOX 9200, STATION TERMAL      VANCOUV       DC    V6B6E7     CANADA         11114107   603065011             11115107   ACH    7228     7.191.4     USD      1.00000             7,191.4


                                                                                                                                                                                                             SOFAAtl3-a2 Gap Payments
                                                                                                                127 of 137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor Chl~S Vendor Nmiic Addrc.\s Cil)' "(hires'! Siale/I'ro\' I'u~tal Cnde Couiitry hu"oiic D¡ile lun.ii'c Check Hale l)a~'lllClJt T)"pc T~:l;~~'I~~~lI lla~l;i:ll:~~lI:Y II¡IW Ciirrcm'y I'x It:ilc w;i~:;:~I:li~~'lcllt
   95883     GEN      CANADIAN PACIFIC RAILWAY       P.O. BOX 9200, STATION
                                                                          TERMINAL     VANCOUVR       Be     V6B6E7     CANADA           11/14/07   603065011           11115/07   ACH    7228                    USD       1.00000
   95883                                                                                                                                                                                               (36.51)                                     (36.51)
             GEN      CANADIAN PACIFIC RAILWAY       P.O. BOX 9200. STATION
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   95924     CRT      SIERRAPINE LID.                PO BOX 90                         SPRINGFIELD    OR      97477     t.D STATES       10/29107   SIERI02907          11/1107    WR     7022     10,000.00      USD       1.00000             10,000.00
   95924     CRT      SlERRIN LID.                   POBOX 90                          SPRIGFILD      OR      97477     UND     STATES    11127     SIERlI0207          11127      WR     7046     10,000.00      USD       1.00000             10,000,00
   95924     CRT      SIERRPINE i;m.                 PO BOX 90                         SPRINGFILD     OR      97477     UND STATES        1115107   SIERII0507          11/5107    WR     7061      5,000.00      USD       1.00000              5,000.00
   95924     CRr      SIERRPIN LID.                  PO BOX 90                         SPRIGFIELD     OR      97477     UND     STATES    1116107   sæRII0607           11/6107    WR     7081     10,000.00      USD       1.00000
   95924                                                                                                                                                                                                                                        10,000.00
             CRT      SIERRAPIN LID.                 PO BOX90                          SPRINGFIELD   OR       97477     UND     STATES    iinlO7    SIERlI0707          iin.m      WR     7099     10,000.00      USD       1.00000
   95924                                                                                                                                                                                                                                        10,000.00
             CRT      SIERRPINLm.                    PO BOX 90                         SPRIGFIELD    OR       97477     UN      STATES    11/8107   SIERI10807          11/8107    WR     7120     10,000.00      USD       1.00000             10,000.00
   95924     CRT      SIERRINELTD.                   PO BOX 90                         SPRINGFILD    OR       97477     UND STATE         1119107   SIERI10907          11/9107    WR     7141     20,000.00      USD       1.00000             20,000.00
   95924     CRT      SIERRPIN LID.                  PO BOX 90                         SPRIGFIELD    OR       97477     UN STATES        11113107   SIERIi lJ07        11113107    WR     7171     10,000.00      USD       1.00000
   95924                                                                                                                                                                                                                                        10,000.00
             CRT      SIERRAIN LID.                  PO BOX 90                         SPRINGFILD    OR       97477     UND STATES       11114107   SIERII1407         11114107    WR     7197     10,000.00      USD       1.00000
   95924                                                                                                                                                                                                                                        10,000.00
             CRT      SIERRlNE L TO.                 POBOX 90                          SPRIGFILD     OR       97477     UND STATES       11/15107  SIE11l507           11115107    WR     7218     10.000.00      USD       1.00000             10,000.00
   96039     GEN      WESTERN CASCADE IN.            P.O. BOX 460                      TOLEDO        OR       97391     UND STATE         iimo?    96039107ii1         11116107    WR     7257        560.40      USD       1.00000                560.40
   96039     GEN      WESTERN CASCADE IN.            P.O. BOX 460                      TOLE          OR       97391     UND STATES        11/5107 WESTlI0507            1I/5107    WR     7064      5,000.00      USD       1.00000              5,000.00
   96039     GEN      WESTERN CASCADE mo.            P.O. BOX 460                      TOLEDO        OR       97391     UND STATE         1119107 WESTl10907            11/9107    WR     7146      5,000.00      USD       1.00000              5,000.00
   96369     GEN      RONALD PARSONS                 1600 N.E. CLOVER RIDE ROAD        ALBAN         OR       97321     UN      STATES   1013107 PARONS 10107-12/7      11/9107    SCK   540073       280.50      USD       1.00000                280.50
   96558     GEN      CAR YSEN                       4277 E. ALEA HIGHWA V             WALDPORT      OR       97394     UND     STATE    1013107 VSEN 10107-1217        11/9107    SCK   540093       280.50      USD       1.00000                280.50
   96912    GEN       ZIP-O-LOG MILLS. INC
                                                                                                                                                                                                                                                          Case 07-11738-CSS




                                                     PO BOX 2130                       EUGENE        OR       97402     UN STATES         linlO?  ZIPII0707             I1nlO7     WR     7104     18.000.00      USD       1.00000             18,000.00
   96912    GEN       ZIP-O-LOG MILLS, INC           PO BOX 2130                       EUGENE        OR       97402     UN STATES        11/13/07 ZIP01 i 1307         11113107    WR     7165     18,000.00      USD       1.00000             18,000.00
   96926    GEN       LENHAR TRUCKING                988 TWLVE MILE ROAD               COLVILE       WA       99114     UND STATES       10130/07 316362               11112/7     EDI   103090      685.32       USD      1.00000                 685.32
   96926    GEN       LENHRD TRUCKING                988 TWLVE MILE ROAD               COLVITLE      WA       99114     UND STATES       10/30107 316362               11112/7     EO!   103090          2.12     USD      1.00000                   2.12
   96926    GEN       LENH TRUCKING                  988 TWLVE MlE ROAD                COLVilLE      WA       99114     UND STATES        tl/4107  316374              1111217     EO!   103090     1,896.06      USD      1.00000               1,896.06
   96926    GEN       LENHARD TRUCKING               988 TWLVE MILE ROAD               COLVllLE      WA       99114     UND     STATES    11/4117 316374               11/1217     EO!   103090         29.94     USD      1.00000                  29.94
   96926    GEN       LENH TRUCKING                  988 TWLVE MlE ROAD                COLVILLE      WA       99114     UNDSTATES         1118107 316385               11/14107    EO!   103093      733.82       USD      1.00000                733.82
   96926    GEN       LENHARD TRUCKING               988 TWELVE MILE ROAD              COL VllLE     WA       99114     UN      STATES    11/8107 316385               11114107    EO!   103093     1,079.57      USD      1.00000               1,079.57
   96926    GEN       LENH mUCKING                   988 TWLVE MIE ROAD                COLVllLE      WA       99114     UND     STATES    11/8107 316385               11114/07    EO!   103093       (30.57)     USD      1.00000                 (30.57)
   96926    GEN       LENH TRUCKING                  9881WLVE MIE ROAD                 COLVILLE      WA       99114     UND STATE         11/8107 316385               11/14/07    EO!   103093       (31.75)    USD       1,00000
   96926    GEN       LENHD mUCKING                  988 TWLVE MIE ROAD                                                                                                                                                                           (31.5)
                                                                                       COLVILE       WA       99114     UND STATE        11110107 316387               11114107    EO!   103093      724.64      USD       1.00000               724.64
   96926    GEN       LENHRD TRUCKIG                 988 TWLVE MIE ROAD                COLVILE       WA       99114     UND STATE        11/10107 316387               11114107    EO!   103093      803.60      USD       1.00000               803.60
   96926    GEN       LENH   TRUCKING                988 TWVE MILE ROAD                COLVILLE      WA       99114     UND STATES       1110107 316387                11114107    EO!   103093     1,100.73     USD       1.00000              1,100.73
                                                                                                                                                                                                                                                          Doc 266-4




  96926     GEN       LENH   TRUCKING                988 TWVE MIE ROAD                 COLVILLE      WA       99114     UND STATES       11110107 316387               11114107    EO!   103093     1,100.74     USD       1.00000              1,100.74
   96926    GEN       LENH   TRUCKING                 988 TWLVE MILE ROAD              COLVllLE      WA       99114     UND STATES       11/10107 316387               11/14/07    EO!   103093                  USD       1.00000
  96926     GEN       LENH   TRUCKING                                                                                                                                                                 (30.20)                                     (30.20)
                                                     988 TWLVE MllE ROAD               COLVlLE       WA       99114     UND     STATE    11110107 316387               11/14/07    EO!   103093       (30.57)    USD       1.00000
  96926     GEN       LENH   TRUCKING                                                                                                                                                                                                             (30.57)
                                                     988 TWLVE MIE ROAD                COLVILLE      WA       99114     UND     STATES   11/10107 316387               11/14107    EO!   103093                  USD       1.00000
  96926     GEN       LENHARD TRUCKING                                                                                                                                                                (32.14)                                     (32.14)
                                                     988 TWLVE MIE ROAD                COLVILE       WA       99114     UND     STATE    11/10107 316387               11114/07    EO!   103093       (30.58)    USD       1.00000
  97019     GEN       RAPH L. JACKSON                                                                                                                                                                                                             (30.58)
                                                     759 TEMPLETON STRET               BROWNSVllLE   OR       97327     UN STATES        10131107 JACKSON 10107-12/7   1119107     SCK   540053      280.50      USD       i .00000              280.50
  97150     GEN       CREDITORS COLLECTION SER. INC. PO BOX 628                        ALBANY        OR       97321     UND STATES       10131107 GOUREY 10/31107PRE   11/9107     SCK   540041      220.20      USD       1.00000               220.20
  97150     GEN       CREDITORS COLLECTION SER. INC. PO BOX 628                        ALBAN         OR       97321     UND STAlES       1013107 V ANDEIæY 10126107PRE 11/9107     SCK   540041      169.05      USD       1.00000                169.05
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       10/29107 3.03499E+13          11/9/07     EO!   103088      695.00      USD       1.00000               695.00
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   10/29107 3.03499E+13          11I9/07     EO!   103088        69.60     USD       1.00000                 69.60
  97327     CRT       PUGET SOUND TRUCK LINS, INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       10/29107 3.03499E+13          1119107     EO!   103088      695.00                1.00000
                                                                                                                                                                                                                 USD                             695.00
  97327     CRT       PUGET SOUN TRUCK LIN, INC.     PO BOX 24286                      SEATTE        WA    98124-0286   UND     STATES   10/29107 3.03499£+13          11/9107     EO!   103088        69.60     USD       1.00000                 69.60
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATE    10/29107 3.0350IE+13          1119107     EO!   103088      547.67      USD       1.00000               547.67
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATE    10/29107 3.0350IE+lJ          11/9107     EO!   103088        7110      USD       1.00000                 71.0
  97327     CRT       PUGET SOUN TRUCK LINS. INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   10130107 3.03518E+13          11/9107     EO!   103088      695.00      USD       1.00000                695.00
  97327     CRT       PUGETSOUN TRUCK LINS, INC.     PO BOX 24286                      SEA TIE       WA    98124-0286   UND STATE        10130107 3.03518£+13          11/9107     EDI   103088        69.60     USD       1.00000                 69.60
  97327     CRT       PUGET SOUND TRUCK LINS. INC.   PO BOX 24286                      SEATIE        WA
                                                                                                                                                                                                                                                          Filed 01/04/08




                                                                                                           98124-286    UND     STATES   10130107 3.03518E+lJ          1119107     EO!   103088      695.00      lISD      1.00000                695.00
  97327     CRT       PUGET SOUND TRUCK LINS, INC.   PO BOX 24286                      SEATIE        WA    98124-286    UND     STATES   10130/07 3.03518E+lJ          11/9107     EDI   103088        69.60     USD       1.00000                 69.60
  97327     CRT       pUGEr SOUND TRUCK LINS, INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       10130107 3.03519E+lJ          111907      EO!   103088      695.00      USD       1.00000                695.00
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   10130/07 3.03519E+13          1119/07     EDI   103088        69.60     USD       1.00000                 69.60
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   10130107 3.03519£+13          11/9/07     EO!   103088      548.13      USD       1.00000                548.13
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEA TIl..     WA    98124-0286   UN      STATES   10130/07 3.03519E+13          1119/07     EO!   103088       71.0       USD       1.00000                 71.10
  97327     CRT       PUGET SOUND TRUCK LINS. INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   10/31117 3.03535E+13          11/9107     EDI   103088      695.00      lISD      1.00000                695.00
  97327     CRT       PUGET SOUN TRUCK LINS. INC.    PO BOX 24286                      SEA TIE       WA    98124-0286   UND     STATES   1013/07  3.03535E+13          1119107     EO!   103088       69.60      USD       1.00000                 69.60
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND STATE        1013107 3.03535E+13           11/9107     EO!   103088      695.00      USD       1.00000                695.00
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UN STATES        1013107 3.03535E+13           11/9107     EO!   103088       69.60      USD       1.00000                 69.60
  97327     CRT       PUGET SOUND TRUCK LINS, INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       1013107 3.03535E+13           1119107     EO!   103088      542.78      USD       1.00000
  9i327               PUGET SOUN TRUCK LINS. INC.                                                                                                                                                                                                 542.78
            CRT                                      PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       10/3/07  3.03535E+lJ          1119107     EO!   103088       71.0       USD       1.00000
  97327     CRT       PUGET SOUN mUCK LINS, INC.
                                                                                                                                                                                                                                                   71.0
                                                     PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATE    10/31107 3.03535E+13          1119107     EO!   103088      542.66      USD       1.00000                542.66
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND STAlES       10/31/07 3.03535E+13          11/9107     EO!   103088       71.0       USD       1.00000                 71.0
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       1111107 3.03562E+13           1119107     EO!   103088      550.10      USD       1.00000               550.io
  97327     CRT       PUGET SOUN TRUCK LINS. INC.    PO BOX 24286                      SEATIE        WA    9812+0286    UND STATES       11/1107 3.03562E+13           11/9107     EO!   103088       77.22      USD       1.00000                77.22
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   1111107 3.03563E+13           119107      EO!   103088      549.49      USD       1.00000               549.49
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  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND STATE        1111107 3.03563E+13           11/9107     EO!   I030S        77.22      USD       1.00000                77.22
  97327     CRT       PUGH SOUN TRUCK LINS, INC.     PO BOX 24286                      SEATIE        WA    98124-0286   UND STATE        1111117 3.03563E+13           1119107     EO!   103088      551.1       USD       1.00000               551.1
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UND    STATES    1111107 3.03563E+13           II/9f07     EO!   103088       77.22      USD       1.00000                7722
  97327     CRT       PUGET SOUND TRUCK LINS, INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND    STATES    11/1/07  3.03563E+13          11/9107     EDI   103088      550.91      USD       1.0000                550.91
  97327     CRT       PUGET SOUN TRUCK LINS, INC.    PO BOX 24286                      SEA TI        WA    98124-0286   UND    STATES    1111107 3.03563E+13           1119/07     EO!   103088       77.22      USD       1.00000                77.22
  97327     CRT       Pl1GET SOUND TRUCK LIN. INC.   PO BOX 24286                      SEArnE        WA    98124-0286   UND    STATES    11/1/07  3.03563E+13          1119107     EDI   103088      695.00      USD       1.00000               695.00
  97327     CRT       PUGET SOUND TRUCK LINS. INC.   PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   11/1107 3.03563E+13           11/9/07     EO!   103088       77.22      USD       1.00000                77.22
  97327     CRT       PUOET SOUN TRUCK LIN, INC.     PO BOX 24286                      SEA11E        WA    98124-0286   UND     STATES   11/1107 3.03563E+13           11/9107     EO!   103088      695.00      USD       1.00000               695.00
  97327     CRT       PUGET SOUN TRUCK LIN, INC.     PO BOX 24286                      SEATIE        WA    98124-0286   UND     STATES   1111107 3.03563E+13           1119107     ED!   103088       77.22      USD       1.00000                77.22
  97)27     CRT       PUGEr SOUN TRUCK LINS, INC.    PO BOX 24286                      SEATTE        WA    98124-286    UND STATE        11127    3.03566E+13          1119107     EO!   103088      549.28      USD       1.00000               549.28
  97327     CRT       PUGET SOUN TRUCK LIN, INC.     PO BOX 24286                      SEATIE        WA    98124-286    UND STATES       11127    3.03566E+13          1119107     EO!   103088       7722       USD       1.00000                7722
  97327     CRT       PUGET SOUN TRUCK LIN, INC.     PO BOX 24286                      SEATIE        WA    98124-0286   UND STATES       11/27    3.03566E+13          1119107     EDI   103088
  97327                                                                                                                                                                                              546.73      USD       1.00000               546.73
            CRT       PUGET SOUN TRUCK LINS. INC.    PO BOX 24286                      SEATIE        WA    98124-0286   UN STATES        11l27    3.03566E+13          1119107     EO!   103088       77.22      USO       1.00000                77.22


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                  Case 07-11738-CSS                                                 Doc 266-4                           Filed 01/04/08                                 Page 15 of 23
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Pope & Talbot, Inc.
Case No. 07-1738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 1111912007


  Veiidur Chl~S Vendor N'iiiic Address City ¡\t1drcs.~ StaId I'm\' Pus!:.! Cmlc Cuuntry luwicc lhilc lli\'oÎcc Check ))ulc 1';1)'~i1:111 T)"ic T~I::;~:l~~~lI n:i~I~::;~~lIcy Ila~ Ciirreiic)' (-'X nillc llSI~:~;:II:li~:IClIt
   97830     GEN   HARLAND FAIRMAN                  180 WILIAS STEEl' LEBANON                              OR        97355     UND     STATES   10/3107    FAIN 10107-1217        1119107   SCK    540049        280.50   USD         1.00000                 280.50
   98009     GEN   HIE VANGUARD GROUP OF            rNESTMNTCOMPANIS, PO BOX I 101 VALLEY FORGE             PA    19482-1101   UN STATE         11/1107    40IK 1110217           11l27     WR      7039     30,616.45    USD         1.00000             30,(;16.45
   98009     GEN   TIIE VANGUAR GROUP OF            INSTMNT COMPANIS, PO BOX I 101 VALLEY          FORGE    PA    19482-1101   UN      STATES   1111107    40IK 1110217           11l27     WR      7039     43,592.90    USD         1.00000             43,592.90
   98009     GEN   HIE VANGUAR GROUP OF             INESTMNT COMPANS, PO BOX 1 101 VALLEY          FORGE    PA    19482-1101   UND STATES       1111107    40lK 1110217           11l27     WR      7039    145,787.26    USD         1.00000            145,787.26
   98106     CRT   GENERAL CHEMICAL                 DEPT 1068, PO BOX 121068 DALLAS                         TX    75312-1068   UND STATES       1115107    9070533               11112/7    ED!    103091     2,078.57    USD         1.00000               2,078.57
   98106     CRT   GENERAL CHEMICAL                 DEPT 1068, PO BOX 121068 DALLA                         TX     75312-1068   UN STATE         11127      90070410              1111217    ED!    103091      2,078.17   USD         1.00000               2,078.17
   98106     CRT   GENERA CHEMICAL                  DEPT 1068, PO BOX 121068 DALLAS                        TX     75312-1068   UND STATES       ~i6107     90071936              11/1217    ED!    103091      2,07778    USD         1.00000               2,077.78
   98106     CRT   GENERA CHEMICAL                  DEPT 1068, PO BOX 121068 DALLA                         TX     75312-1068   UND STAlES       10/29107   1800010531.            1119107   ED!    103089     2,073.37    USD         1.00000               2,073.37
   98106     CRT   GENERA CHEMICAL                  DEPT 1068,PO   BOX 121068 DALAS                        TX     75312-1068   UND STATES       1118107    90072544DB            11116107   WR      7247      2,078.17    USD         1.00000               2,078.17
   98106     CRT   GENERAL C¡'IEMICAL              DEPT 1068, PO BOX 121068 DAL                            TX     75312-1068   UND STATES        ~i12/7    90073224D8           11116107    WR      7247       1,911.4    USD         1.00000               1,911.4
   98106     CRT   GENERA CHEMICAL                 DEPT 1068, PO BOX 121068 DAL                            TX     75312-1068   UND STAlES        111217    9OO73225DB           11116107    WR      7247      2,113.13    USD         1.00000               2,113.13
   98106     CRT   GENERAL nIEMICAL                 DEPT 1068, PO BOX 121068 DALLAS                        TX     75312-1068   UND STATES        11112/7   90073226DB           11116107    WR      7247      2,076.33    USD         1.00000              2,076.33
   98415     GEN   COSCO CONTAIR LINS AMRICAS       INC.,21014TIAVE,SUI 1500 SEATIE                        WA        98121     UND     STATE     10/29107 COSU8001337170         11/27      SCK   540003                  USD         1.00000
                                                                                                                                                                                                            (29,847.00)                                  (29,847.00)
   98415     GEN   COSCO CONTAINR LIN AMRICAS       INC., 2101 4TH AVE, SUI 1500 SEATI                     WA        98121     UND     STAlES   10/29107 COSU8001337170          11l27      SCK   540003     29,847.00    USD         1.00000             29,847.00
   98415     GEN   COSCO CONTAINR LINS AMICAS       INC., 2101 411AVE,SUI 1500 SEATI                       WA       98121      UND     STATE     1019107 2030067363             11116107    WR      7248     13,883.00    USD         1.00000             13,883.00
   98415     GEN   COSCO CONTAINR LINS AMRICAS      INC., 2101 411 AVE, SUI 1500 SEAlTE                    WA       98121      UN STATES         9/26107  2030066637            11115/07    WR      7234     13,883.00    USD         1.00000             13,883.00
   98415     GEN   COSCO CONTAINR LINS AMRICAS      INC.,2101 411 AVE,
                                                                     SUI 1500 SEA'IE                       WA       98121      UND STATES        9/27107 203006779              11116107    WR      7248     26,147.00    USD         1.00000             26,147.00
   98415     GEN   COSCO CONTAOOR LINS AMRICAS      INC" 2101 4TH  AVE, SUI 1500 SEATIE                    WA       98121      UND STATE        10/29107 COSUSOOL337170 REVISED 11113107    WR      7109     26,147.00    USD         1.00000             26,147.00
   98415     GEN   COSCO CONTAINR LOOS AMRICAS      INC., 2101 411 AVE, SUI 1500 SEA'IE                    WA       98121      UND STATES       10131107 COSU8000504460          Iim07      WR    301458     35,170.00    USD         1.00000             35,170.00
   98415     GEN   COSCO CONTAINER LINS AMRICAS     INC., 2101 4TIAVE, SUI 1500 SEATIE                     WA       98121      UND STATES       10131107 COSU8000505830          IInlO7     WR    301458     27,360,00    USD         1.00000             27,360.00
   98415     GEN   COSCO CONTAINR LOOS AMERICAS     INC.,21014TIIAVE,SUI 1500 SEAlTE                       WA       98121      UND     STATES   1012107 COSU8000505920           11l27      WR    301457     17,207.00    USD         1.00000             17,207.00
   98550     GEN   WAL.SH TRlICKING, INC.           1650NWSUNIAROAD TROUfALE                               OR       97060      UND STATES       11113107 WALI1I307              11113107    WR      7179     45,000.00    USD         1.00000             45,000.00
   98550     GEN   WALSH TRUCKING, INC.
                                                                                                                                                                                                                                                                 Case 07-11738-CSS




                                                    1650 NW SUNIA ROAD TROUIALE                            OR       97060      UND STAlES       11114107 WALI1I407              11114107    WR      7200     15,000.00    USD         1.00000             15,000.00
   98550     GEN   WALSH TRUCKING, INC.            1650 NW SUNIAL ROAD TROUTALE                            OR       97060      UND STATE        11/15107 WALI1l507              11115107    WR      7221     15,000.00    USD         1.00000             15,000.00
   98550     GEN   WALSH TRUCKING, INC.            1650 NW SUNIAL ROAD TROtJALE                            OR       97060      UND STATES       11116107 WALI I 1607            11116107    WR      7255     40,000.00    USD         1.00000             40,000.00
  98605      GEN   AM COLLECTIONS INC.             PO BOX 1085 SIOUX FALLS                                 SD    57101-1085    UND STATES        1116107 SPAULDING 11-6-07       1119107    SCK   540030        312.57    USD         1.00000                312.57
  98685      GEN   MAY K LOPEZ                     525 SE 24th AVENU, AP. 34 ALBAN                         OR    97322-4281    UND STATES       1013107 LOPEZ 10107-1217         119107     SCK   540063        280.50    USD         1.00000                280.50
  98734      GEN   JACOB L. SMrn                   1670 FRNKIN STRET LEBANON                               OR       97355      UND     STATES   10/3107   SMm 10107-1217         1119107    SCK   540080        561.00    USD         1.00000                561.00
  98898      GEN   DA VII J. BARR                  1515 REDWOOD ORNE LOS ALTOS                             CA       94024      UND STATES       10130107 10/26-28107 BOD MTGPRE 11/9107     SCK   540034       1,500.00   USD         1.00000               1,500,00
  98899      GEN   ROBERT FUARI                    CRESCENTHEALTICARINC., 1900 WCRECENT AV ANAHIM          CA       92801      UND     STATES   10130107 10126-28107 BOD MTGPRE 1119107     SCK   540051       1,500,00   USD         1.00000               1,500.00
  99466      GEN   D M & E RAILROAD CORPRATION     NW 5284, PO BOX 1450 MINOL.IS                           MN    55485-5284    UND     STATES    1116107 UL104779                1116107    SCK   540007        933.15                1.00000
                                                                                                                                                                                                                          USD                                933,15
  99466      aEN   D M & E RAILROAD CORPORATION    NW 5284, PO BOX 1450 MIAPOLIS                           MN    55485-5284    UND STATE        11/13107 ULI04804               11113107    SCK   540102        939.20    USD         1.00000                939,20
  99511     GEN    WASHINGTON STATE             DEPT. OF REVENU, PO
                                                                 BOX 34501 SEATIE                          WA    98124-1051    UND STATES        IonlO7   B&09107               1013107     SCK   540002         174.50   USD         1.00000                 174.50
  99552     GEN    LUZENAC AMERICA INC             DEPT     1779     DENVR                                 CO    80291-1779    UND STATES       10130107 102179DB                1118107    SCK   540029      5,802.20    USD         1.00000              5,802.20
  99552     GEN    LUZENAC AMRICA INC              DEPT     1779     DENVR                                 CO    80291-1179    UND STATE         11/27     102367DB              1118107    SCK   540029      5,802.20    USD         1,00000              5,802.20
                                                                                                                                                                                                                                                                 Doc 266-4




  99552     GEN    LUZENAC AMERICA INC             DEPT     1779     DENVR                                 CO    80291-1779    UND STATES        1115107 102423 DB               1118107    SCK   540029      5,802.20    USD         1.00000              5,802.20
  99553     GEN    SIGNODE WESTERN OPERATIONS      ill LESLIE DRIVE   lITBURG                              CA       94565      UND     STATES    1019107 821671                 11/16107    SCK   392019      6,152.40    USD         1.00000              6,152.40
  99554     CRT    CHEMICAL PRODUCTS TECHNOLOGIES
                                                PO BOX  932828    AlLANfA                                  GA    31193-2828    UND STATES        1118107 CPT I 1/08107 DB        11/9107    WR      7151     43,834.50    USD         1.00000             43,834.50
  99766     CRT    BASIC CHEMICAL SOLlIONS         PO BOX 41322 SANA ANA                                   CA    92799-1322    UN STATES         1119107 IO/3-lin107 DB          1119107    WR      7150     16,140.82    USD         1.00000             16,140.82
  99766     CRT    BASIC CHEICAL SOLlIIONS         PO BOX 41322 SANA ANA                                   CA    92799-1322    UND STATE        11114107 Iln-11114DR            11116107    WR      7243     65,328.60                1.00000
                                                                                                                                                                                                                          USD                             65,328.60
  99766     CRT    BASIC Cl-IEMICAL SOLlIIONS      PO BOX 41322 SANTA ANA                                  CA    92799-1322    UND STATES        1115107 S15381939DB             1119107    ED!   103087      5,449.46    USD         1.00000              5,449.46
  99941     GEN    UNITD STATES TRSURY          1500PENNSYLVAN AVENU     NW WASHIGTON                      DC       20220      UND STATE         9/2217   517501569/25107        1119107    SCK   540086        258.95    USD        1.00000                 258.95
  99941     GEN    UND STATES TRSURY               1500 PENNSYLVAN AVENUE NW WASHINGTON                    DC       20220      UND    STATES     1019107 517501562JOHAI01l0107   1119107    SCK   540087        112.36    USD         1.00000                112.36
  99941     GEN    UNITD STATES TRASURY            1500PENNSYLVANl AVENU NW WASHIGTON                      DC       20220      UND    STATES     9113107 517501562JOHA9/14107    1119107    SCK   540087        140.02    USD         1.00000                140.02
  100001    GEN    CHAES PEARSON                                                                           OR       97348      UND    STATES    1013107 PEAON 10107-1217         11/9107    SCK   540074        561.00
                                                   PO BOX 363 HAEY                                                                                                                                                        USD         1.00000                561.00
  100005    GEN    JEROME M. SAUER                 450 POLELIN RD., 1i81 TW                     FALLS       ID      83301      UND    STATES    1013107 SAUER 10107-1217         1119107    SCK   540077        561.00    USD        1.00000                 561.00
  100229    GEN    INRFOR PACIFIC                  221 I RIANDDR SUI 220 BELLINGHA                         WA       98226      UND     STATES    11127    INl 10207              1I127      WR      7043      3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFC                   221 I RIMAN DR SUI 220 BELLINGHA                        WA       98226      UND     STATES    11/5107 INl 10507               1115107    WR      7058      3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFC                   22 I 1 RIMND DR SUI 220 BELLINGHA                       WA       98226      UND STATES        1116107 INl 10607               11/6107    WR      7078      3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFIC                  2211 RIMND DR SUI 220 BELLINGHA                         WA       98226      UND     STATES    11nlO7   INl 10707              IinlO7     WR      7096      3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFC                   221 I RIMAND DR SUI 220 BELLINGHA                       WA       98226      UND    STATES     1118107 INl 10807               1118107    WR      7117      3,000.00    USD        I .00000              3,000.00
  100229    GEN    INfERFOR PACIFIC                221 I RlND DR SUI 220 BELLINGHA                         WA       98226      UND    STATES     1119107 INl 10907               1119107    WR      7139
                                                                                                                                                                                                                                                                 Filed 01/04/08




                                                                                                                                                                                                              6,000.00    USD        1.00000               6,000.00
  100229    GEN    INRFOR PACIFIC                  221 I RIAND DR SUI 220 BELLINGHA                        WA       98226      UND    STATES    11113107 INll 1307              1111310     WR      7175      3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFIC                  2211 RIMAN DR SUI 220 BELLINGHA                         WA       98226      UND    STATES    11114107 INl 11407              11/14107    WRE    7193       3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFC                   2211 RIAND DR SUI 220 BELLINGHA                         WA       98226      UND    STATES    11115107 INl I 1507             11115107    WR     7215       3,000.00    USD        1.00000               3,000.00
  100229    GEN    INRFOR PACIFIC                  221 I RIMAND DR SUI 220 BELLINGHA                       WA       98226      UN STATES        11116107 INiil607               11/16107    WR     7259       6,000.00    USD        1.00000               6,000.00
  100319    GEN    DUGALD RICHASON                 133 HOUGH ROAD eRA WFORD                                NE       69339      UND     STAlES   1113107 ULI04825                11113107    SCK   540117        465.97    USD        1.00000                 465.97
 1339800    GEN    AMARK                           P.O.  BOX                                               OR       97009      UND STATES       10/31107 36864                  11/14107    SCK   392013        850.00    USD        1.00000                 850.00
 1339800    GEN    AMARK                           P.O.  BOX 1524
                                                               1524 BORIG
                                                                     BORIG                                 OR       97009      UND     STATES   1013107 36864                   11114107    SCK   392013          30.02   USD        1.00000                   30.02
 1645500    GEN    BAKER TIMER PRODUCTS INC        13536 S. HIGHWAY 16 RAID CIT                            SD       57702      UND STATES        11/6107 UL104793                11/6107    SCK   540004      1,370.16               1.00000
                                                                                                                                                                                                                          usn                              1,370.16
 1652100    GEN    BALLAR LOGGING                  RUSS BALLAR, 14360 WILIAS PLACE BUFALO GAP              SD       57722      UND     STATES    1116107 ULI04781                11/6107    SCK   540005      4,030.78    USD        1.00000               4,030.78
 1652100    GEN    BALLARD LOGGING                 RUSS BALLARD, 14360 WILIAS PLACE BUFALO GAP             SD       57722      UND STATES        11/6/07  ULI0478I               11/6107    SCK   540005        298.50    USD        1.00000                 298.50
 1652100    GEN    BALLARD LOGGING                 RUSS BALLAR, 14360 WlLLIAMS PLACE BUFALO GAP            SD       57722      UND     STATES    11/6107 ULI04781                11/6107    SCK   540005      2,616.74    USD        1.00000               2,616.74
 1652100    GEN    BALLAR LOGGING                  RUSS BALLAR, 14360 WILIAS PLACE BUFALO GAP              SD       57722      UND STATES        11/6107 ULI0478I                11/6107    SCK   540005        313.75    USD        1.00000                 31:.75
 1652100    GEN    BALLARD LOGGING                 RUSS BALLARD, 14360 WILIAS PLACE BUFALO GAP             SD       57722      UND     STATES    11/6107 ULI04781                11/6107    SCK   540005                  usn        1.00000
                                                                                                                                                                                                                (4358)                                       (43.58)
 1652100    GEN    BALLARD LOGGING                 RUSS BALLARD, 14360 WILIAS PLACE BUFALO GAP             SD       57722      UND    STATES     1116/07 ULI04781                1116107    SCK   540005      3,500.00    USD        1.00000               3,500.00
 1652100    GEN    BALLARD LOGGING                 RUSS BALLARD, 14360 WILIAS PLACE BUFALO GAP             SD       57722      UND    STATES    11113107 ui104805               11/13107    SCK   540100     10,421.27    USD        1.00000              10,421.27
 1652100    GEN    BALLAR LOGGING                  RUSS BALLARD, 14360 WILIAS PLACE BUFALO GAP             SD       57722      UND    STATES    11113107 ui104805               111\3107    SCK   540100        770.54               1.00000
                                                                                                                                                                                                                          usn                                770.54
                                                                                                                                                                                                                                                                 Page 16 of 23




 1652100    GEN    BALLARD LOGGING                 RUSS BALLARD, 14360 wnLIAS PLACE BUFALO GAP             SD       57722      UND    STATES    11113107 ULI04805               111\3107    SCK   540100      7,610.68    USD        1.00000               7,610.68
 1652100    GEN    BALLAR LOGGING                  RUSS BALLAR, 14360 WILIAS PLACE BUFALO GAP              SD       57722      UND    STATES    1113107 ULI04805                11/13107    SCK   540100        915.81    USD        1.00000                 915.81
 1652100    GEN    BALLARD LOGGING                 RUSS BALLAR, 14360 WILIAS PLACE BUFALO GAP              SD       57722      UND     STATES   11113107 ULI04805               111\3107    SCK   540100                  USD        1.00000
                                                                                                                                                                                                               (126.32)                                     (126.32)
 2010500    GEN    WEYERHAEUSER COMPANY            FIDER MANAGEMENT DEPARTMNT, PO BOX 907 ALBANY           OR       97322      UND STATES       11/13107 WEYI11307              111\3107    WR     7178     75,000.00     USD        1.00000             75,000.00
 2010500    GEN    WEYERHAEUSER COMPANY            FilER MANAGEMENTDEPARTMNT, PO BOX 907 ALBAN             OR       97322      UND     STATES   11114/07 WEYII1407              11114107    WR     7201     25,000.00     USD        1.00000             25,000.00
 2010500    GEN    WEYERlIAEUSER COMPAN            FIDER MANAGEMENT DEPARTMNT, PO BOX 907 ALBAN            OR       97322      UND STATE        11/16107 WEYII1607              11/16107    WR     7251     75,000.00     USD        1.00000             75,000.00
 2010500    GEN    WEYERHAEUSER COMPANY            FIER MANAGEMENT DEPARTMNT, PO BOX 907 ALBAN             OR       97322      UND STATES       1I/15107 WEYEII1507             11/15107    WR     7222     25,000.00     USD        1.00000             25,000.00
 2050001    GEN    BORDER STATE ELECTIC SUPPLY     DIV OF BORDER STATE INlISTRIES, DEPT. 1 105 DENVR       CO    80291-1105    UND STATE        11/5107 97189170                11114107    SCK   392014        411.00               1.00000                 411.00
                                                                                                                                                                                                                          USD
 2050001    GEN    BORDER STATE ELECTRIC SUPPLY    DIV OF BORDER STATE INUSTRIES, DEPT, I 105 DENVR        CO    80291-1105    UND STATES       ~i5107    97189170              11/14107    SCK   392014          16.44   USD        1.00000                   16.44
 2344317    CRT    BNSFRAILWAYCOMPAN               P.O. BOX 910134 DALLAS                                  TX    75391-0134    UN STATE         1115107 63593165                1115107     ED!   101936      3,896.30    USD        1.00000               3,896,30
 2344317    CRT    BNSFRAWAY COMPAN                P.O. BOX 910134 DALLAS                                  TX    75391-0134    UND STATES       10117107 63145021               11l27       ED!   103084      5,305.98    USO        1.00000               5,305.98
 2344317    CRT    BNSF RAILWAY COMPANY            P,O. BOX 910134                                         TX    75391-0134    UND STATE        10/17107 63195642               11l27       ED!   103084      9.366.60    USD        I .00000              9,366.60
 2344317    CRT    BNSFRAILWAYCOMPANY              P,O. BOX 910134DALLAS
                                                                    DALLA                                  TX    75391-0134    UND STATES       10117107 63196124               11127       ED!   103084      9,366.60               I .00000
                                                                                                                                                                                                                          USD                              9,366,60


                                                                                                                                                                                                                           SOFA All. 3-a2 Gap Payments
                                                                                                                         130 of 137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor Chl.~~ Veiidur Î'iuiic Adtlrc~s Cii)' Address Shilc/I'ros' l'usli,1 Coile CUlllllr)' Iiis'uice Dule Iii\'ukc Check Dale I'ii)'mwt T;ypc T~I;:;:~II::~1I iiil~~I~:~~~~lIl1Y Base CllrrciiC)' I'X Hiile l¡SJ~\:;::II:li~;.iClll
  2344317    CRT       BNSF RAILWAY COMPANY           P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND   STATES    10/17107   63196454             11l27      EDI    103084     9,366.60     USD       1.00000               9,366.60
  2344317    CRT       BNSFRAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND   STATES    10/24107   63239266             11l27      ED!    103084          0.01    USD       1.00000                   0.01
  2344317    CRT       BNSFRAILWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND   STATES    10/24107   63239266             11l27      ED!    103084     8,215.57     USD       1.00000               8,215.57
  2344317    CRT       DNSFRAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND   STATES    10124107   63304658             lIJ27      ED!    103084     8,841.9      USD       1.00000               8,841.9
  2344317    CRT       BNSFRAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10124107   63309928             11127      ED!    103084        136.50)   USD       1.00000                 (36.50)
  2344317    CRT       BNSFRAlLWAYCOMlANY             P.0.BOX910134        DALLAS                       TX   75391-0134   UND STATES      10/24107   63309928             11l27      ED!    IOJ084     8,295.19     USD       1.00000               8,295.19
  2344)17    CRT       BNSFRAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10/24107   63319435             11l27      ED!    103084     8,178.41     USD       1.00000               8,178.41
  2344317    CRT      nNSF RAILWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND STATES      10/24107   63319438             11l27      EDI    103084         (O.Oll   USD       1.00000                  (0.01)
  2344)17    CRT      BNSFRAlLWAYCOMPANY                                  DALLAS                        TX   75391-0134   UND    STATES   10124107   63319438             11/27      EDI    103084     8,841.20     USD       1.00000               8,841.20
  2344317    CRT      BNSFRAILWAYCOMPANY              P.O. BOX910134                                    TX   75391-0134   UND    STATE    10/24107   63345373             11l27      ED!    103084                  llSD      1.00000
                                                      P.O. BOX 910134DALLAS
                                                                                                                                                                                                          (36.SI)                                     (J6.51)
  2344317    CRT      BNSF RAlLWA Y COMPANY           P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10/24107   63345373             11/27      ED!    103084     9,403,11     USD       1.00000               9,403.11
  2344317    CRT      DNSF RAILWAY COMPANY                                DALLAS                        TX   75391-0134   UND    STATES   10124107   63345375             11127      EDI    103084       (36.50)    USD       1.00000                 (36.50)
  2344317    CRT      BNSFRAILWAYCOMPANY              P.O.                                              TX   75391-0134   UND    STATES   10124107   63345375             11l27      EDI    103084     9,489.31     USD       1.00000
                                                      P.O. BOXBOX 910134
                                                                   910134 DALLAS
                                                                                                                                                                                                                                                    9,489.31
  2344317    CRT      ßNSF RAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   1013107    63367078             11l27      ED!    103083          0.02    USD       1.00000                   om
  2344317    CRT      BNSF RAILWAY COMPANY            P.O.    BOX         DALLAS                        TX   75391-0134   UND    STATES   10131107   63367078             IIJ27      ED!    103083     8.07.03      USD       1.00000               8,007.03
 2344317     CRT      BNSFRAlLWAYCOMPANY              P.O.    BOX 910134
                                                                   9101J4 DALLAS                        TX   75391-0134   UND    STATES   1012107    63377240             11127      ED!    103084     7,760.07     USD       1.00000               7,760.07
  2344317    CRT      BNSFRAILWAYCOMPANY              P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND STATES      10131/07   63400724             11127      ED!    103083     9,110.30     USD       1.00000               9,110.30
 2344317     CRT      BNSFRAlLWAYCOMPANY              P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND STATES      10/25107   63410839             11l27      ED!    103084     6,07781      USD       1.00000               6,07781
 2344317     CRT      ßNSF RAlLWAYCOMPANY             P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND STATES      10/25107   63410868             11l27      EDI    103084     7,760.07     USD       1.00000               7,760.07
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O. BOX910134    DALLAS                          TX   75391-0134   UND    STATES   10/25107   63410873             11127      ED!   103084      6,077.81     USD       1.00000               6,07781
 2344317     CRT      BNSF RAILWAY COMPANY            P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10125107   63410876             11l27      ED!   103084      6,077.81     USD       1.00000               6,077.81
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10/25107   63410919             11l27      ED!   103084      6,077.81     USD       1.00000               6,077.81
                                                                                                                                                                                                                                                           Case 07-11738-CSS




 2344317     CRT      BNSFRAILWAYCOMPANY              P.O.    BOX  910134 DALLAS                        TX   75391-0134   UND    STATES   10125107   63410922             11l27      ED!   103084      3,744.31     USD       1,00000               3,744.31
 2344317     CRT      ßNSFRAlLWAYCOMPANY              P.O.    BOX                                       TX   75391-0134   UND STATES      10131107   63414086             11/27      ED!   103083          (0.02)   USD       1.00000                   (0.02)
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O.     BOX910134
                                                                   910134DALLAS
                                                                           DALAS                        TX   75391-0134   UN STATE        1013107    63414086             11/27      EDI   103083      6,664.96     USD       1.00000               6.64.96
 2344317     CRT      BNSF RAILWAY COI\ANY            P.O.    BOX  910134 DALLAS                        TX   75391-0134   UNDSTATE        10131107   63421674             11/27      ED!   103083           0.01    USD       1.00000                    0.01
 2344317     CRT      BNSFRAlLWAYCOMPANY              P.O.     BOX 910134  DALAS                        TX   75391-0134   UND   STATES    1013107    63421674             111207     EDI   103083      8,215.57     USD       1.00000               8,215.57
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O.           910134  DAL                        TX   75391-0134   UND   STATES    1013107    63435774             IIJ27      ED!   103083           0.01    USD       1.00000                    0.01
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O.    BOX                                       TX   75391-0134   UND   STATES    1013107    63435774             11l27      ED!   103083      7,909.18     USD       1.00000               7,909.18
                                                               BOX910134  DALLAS
 2344317     CRT      BNSFRAILWAYCOMPANY              P.O. BOX 910134 DALLAS                            TX   75391-0134   UND   STATES    1OJ3107    BNSFII0107DEPOSIT    11l27      ED!   103083    400,000.00     usn       1.00000             400,000.00
 2432800     GEN      CSX TRNSPORTATION, INC.         PO BOX 532652 A1LA                                GA   30353-2652   UND   STATES    1OJ31107   CSXTlIOI07DEPOSIT    11l27      ED!   101929     30,000.00     USD       1.00000              30,000.00
 2445300     GEN      STATE OF CALIFORN               SECRETARY OF STATE, STATEMENT OFINRMTIO SACRANT   CA   942442300    UND   STATES     9/26107   2007 ANNAL           11/14107   SCK   540133          25.00    USD       1.00000                  25.00
 2929800     GEN      COLUMDIA ANALYTCAL SERVICES     PO       BOX      1030 KELSO                      WA   98626-0095   UND   STATES    10111107   K0709414DB           11116107   WR      7246        650.00     USD       1.00000                 650.00
 2929800     GEN      COLUMIA ANALYTICAL SERVICES     PO       BOX      1030 KELSO                      WA   98626-0095   UND   STATES     1111107   K0710103DB           11116107   WR      7246      1,500.00     USD       1.00000               1,500.00
 2929800     OEN      COLUMIA ANALYTICAL SERVICES     PO       BOX      1030                            WA   98626-0095   UND   STATES     1111107   K0710226DB           11/16107   WR      7246        170,00     USD       1.00000                 170.00
                                                                                                                                                                                                                                                           Doc 266-4




 3176000     GEN      CREDIT COLLECTIONS BURU         P.O. BOX9490 RAID                                 SD     57709      UND STATE       10119107
                                                                             KELSOCIT
                                                                                                                                                     39378                1119107    SCK   540040        268.45     USD       1.00000                 268.45
 3176000     GEN      CREDIT COLLECTIONS BURU         P,O. BOX 9490 RAID eIT                            SD     57709      UND    STATE     11/6107   39392                1119107    SCK   540039        443.63     USD       1.00000                 443.63
 3485000     GEN      DIAOND POWER SPECIAlY CO        P.O. BOX 643966 PfIBUROH                          PA   15264-3966   UND    STATE    11114107   2154409              11/16107   WR      7245      6,958.40     USD       1.00000               6,958.40
 3727000     GEN      ALBERT ELBERG                   760 GLEN OAK DR LEANON                            OR     97355      UND    STATES   1013107    ELBERG 10107-12/7    1119107    SCK   540048        280.50     USD       1.00000                 280.50
 3930501     GEN      FEDERA EXPRESS CORPORATION      P.O. BOX 7221 PASADENA                            CA   91109-7321   UND    STATES   8124107    2-223-16086          IInlO7     SCK   540027        37721      USD       1.00000                 377.21
 3930501     GEN      FEDERA EXPRESS CORPORATION      P.O.           PASADENA                           CA   91109-7321   UN STATES       813107     2-235-58634          i1nlO7     SCK   540027        426.52     USD       1.00000                 426.52
 3930501     GEN      FEDERA EXPRESS CORPORATION      P,O.                                              CA   91109-7321   UND STATE       813107     2-235-85179          IInlO7     SCK   540027        108.25     USD       1.00000
                                                           BOX 7221 PASADENA
                                                                                                                                                                                                                                                      108.25
 3930501     GEN      FEDERA EXRESS CORPRATION        P.O. BOX
                                                           BOX 7221
                                                                7221 PASADENA                           CA   91109-7321   UND    STATE      9nlO7    2-247-28038          i1nlO7     SCK   540027          28.38    USD       1.00000                  .28.38
 3930501     OEN      FEDERA EXPRESS CORPRATION       P.O,           PASADENA                           CA   91109-7321   UND STATE         9nlO7    2-247-54311          IinlO7     SCK   540027        157.98     USD       1.00000                 157.98
 3930501     GEN      FEDERA EXRESS CORPRA nON        P.O. BOX                                          CA   91109-7321   UN STATE        9/14107    2-259-70455          IinlO7     SCK
                                                           BOX 7221
                                                                7221 PASADENA
                                                                                                                                                                                           540027          88.58    USD       1.00000                  88.58
 3930501     GEN      FEDERAL EXRESS CORPRATION       P.O, BOX 7221 PASADENA                            CA   91109-7321   UND   STATES    912107     2-273-12819          11nlO7     SCK   540027          28.87    USD       1.00000                  28.87
 3930501     GEN      FEDERAL EXPRESS CORPRATION      P.O. BOX 7221  PASADENA                           CA   91109-7321   UND   STATES    9121107    2-273-47348          IinlO7     SCK   540027          59.24    USD       1.00000                  59.24
 3930501     OEN      FEDERA EXRESS CORPRATION        P.O.                                              CA   91109-7321   UND   STATES    9/28107    2-286-32139          lin/07     SCK   540027        182.03     USD       1.00000                 182.03
 3930501     OEN      FEDERA EXPRESS CORPRATION       P.O. BOX
                                                           BOX 7221
                                                                7221 PASADENA
                                                                     PASADENA                           CA   91109-7321   UND   STATES    9/28107    2-286-63100          11nlO7     SCK   540027          74.44    USD       1.00000                  74.44
 3930501     GEN      FEDERAL EXPRESS CORPORATION     P.O.                                              CA   91109-7321   UND STATE        10/5107   2-299-40048          IinlO7     SCK   540027        71.9       USD       1.00000                  71.9
 3930501     GEN      FEDERAL EXPRESS CORPORATION     P.O. BOX
                                                           BOX 7221
                                                                7221 PASADENA
                                                                     PASADENA                           CA   91109-7321   UND STATES      8/24107    8-128-14143          IinlO7     SCK   540027       609.28      USD       1.00000                609.28
 3930501     OEN      FEDERAL EXPRESS CORPORATION
                                                                                                                                                                                                                                                           Filed 01/04/08




                                                                     PASADENA                           CA   91109-7321   UND STATES       9nlO7     8-133-67859          11nlO7     SCK   540027       909.07      USD       1.00000                909.07
 3930501     GEN      FEDERAL EXPRESS CORPORA nON     P.O.                                              CA   91109-7321   UND    STATES   9114107    8-136-71243          i1nlO7     SCK
                                                      P.O. BOX
                                                           BOX 7221
                                                                7221 PASADENA
                                                                                                                                                                                           540027       677.99      USD       1.00000                677.99
 3930501     GEN      FEDERA EXPRESS CORPORATION      P.O. BOX 7221 PASADENA                            CA   91109-7321   UND STATES      9114107    8-136-77770          I1nlO7     SCK   540027        60.62      llSD      1.00000                 60.62
 3930501     OEN      FEDERAL EXPRESS CORPORATION     P.O, BOX 7221 PASADENA                            CA   91109-7321   UND    STATES   9121107    8-139-27723          Iim07      SCK   540027       639.80      USD       1.00000                639.80
 J930501     GEN      FEDERAL EXRESS CORPORATION      P.O.                                              CA   91109-7321   UND STATES      813107     8-13-99427           Iim07      SCK   540027       871.0       USD       1.00000                871.0
 3930501     GEN      FEDERA EXPRESS CORPORATION      P.O. BOX
                                                           BOX 7221
                                                                7221 PASADENA
                                                                     PASADENA                           CA   91109-7321   UND    STATE    9128107    8-142-66618           i1nlO7    SCK   540027        888.59     USD       1.00000                 888.59
 39J0501     GEN      FEDERAL EXPRESS CORPRATION      P.O. BOX       PASADENA                           CA   91109-7321   UND STATES      9128107    8-142-73300           11nlO7    SCK   540027         43.97     USD       1.00000                  43,97
 3930501     OEN      FEDERAL EXRESS CORPRATION       P.O. BOX  7221                                    CA   91109-7321   UND    STATE     10/5107   8-145-60967           I1nlO7    SCK
                                                                7221 PASADENA
                                                                                                                                                                                           540027        708.62     USD       1.00000                 708.62
 39J0501     GEN      FEDERA EXRESS CORPRATION        P.O. BOX 7221 PASADENA                            CA   91109-7321   UND    STATE     10/5107   8-145-67392           i1nlO7    SCK   540027        759.32     USD       1.00000                 759.32
 3930501     OEN      FEDERA EXRESS CORPRATION        P,O, BOX 7221 PASADENA                            CA   91109-7321   UN STATE        811217     8-148-58800           IinlO7    SCK   540027        670.05     USD       1.00000                 670.05
 3930501     GEN      FEDERA EXPRESS CORPRATION       P.O. BOX  7221 PASADENA                           CA   91109-7321   UN STATE        8115107    8-149-78376           IInlO7    SCK   540027        192.68     USD       1.00000                 192.68
 3946502     GEN      FINANCIA SECRETARY LOCAL 1189   P.O.  BOX   136  HAEY                             OR     97348      UND STATES      9126107    USW INTION FEE9107    1119107   SCK   540095        300.00     USD       1.00000                 300.00
 4069300     OEN      FRRES LUMER CO                  MJ 22, PO BOX 5700 PORTL                          OR     97228      UN STATE         1118107   4069300107111-       1116107    WR      7253        896.35     USD       1.00000                 896.35
 4120075     OEN      0& H DIsTRmurING OF             RAID CIT, INC., 1151 PLAN STRET RAID CIT          SD   57702-9331   UN STATES       1013107    34729                 1118107   SCK   392000      2,349.86     USD       1.00000               .2,349.86
 4120075     OEN      G & H DISTRmurINO OF            RAID CIT, INC., 1151 PLANT STRET RAID CIT         SD   57702-9331   UND   STATES    i1m07      34940                11/13107   ED!   101930      1,356.22     USD       1.00000               1,356..22
 4120075     GEN      o & H DISTRIDUfG OF             RAID CIT, me., 1151 PLAN STRET RAID CIT           SD   57702-9331   UND   STATES     IinlO7    34944                11/13107   ED!   101930        497,74     USD       1.00000                 497.74
 4120075     GEN      G & H DISTRIDiITINO OF          RAID CIT, INC., 1151 PLA STRET RAID CIT           SD   57702-9331   UND   STATES    i1nlO7     34944                11/13107   ED!   101930         19.91     USD       1.00000                  19.91
                                                                                                                                                                                                                                                           Page 17 of 23




 4120075     GEN      G & H DIsTRmurING OF            RAIDCIT,mc.,   1151 PLANTSTRET RAPID
                                                                           CIT                          SD   57702-9331   UND   STATES    11113107   35096                11/16107   ED!   101938      3,399.06     USD       1.00000               3,399.06
 4424800     GEN      GRESHA TRNSFER INC              P.O.       699 FAIVIW                             OR   97024-0699   UND    STATES   11/5107    11105107
                                                                                                                                                            DB             11/6107   WR      7088      7,500.00     USD       1.00000               7,500.00
 4575500     OEN      NORTIWESTLOGGING INC.           POBOX                                             SD     57783      UND STATES      11/6107    UL104794             11/6107    SCK
                                                            BOX1041   SPEAH                                                                                                                540020     10,319.10     USD       1.00000              10,319.10
 4575500     GEN      NORTIlWESTLOGGING INC.          POBOX   1041   SPEAISH                            SD     57783      UND    STATE    11/6107    ULl04794             11/6107    SCK   540020        761.10     USD       1.00000                761.0
 4575500     GEN      NORTI-IWEST LOGGING INC.        PO  BOX  1041  SPEAISH                            SD     57783      UND STATES      11/6107    ULI04794              11/6107   SCK   540020      7,085.90     USD       1.00000               7,085.90
 4575500     GEN      NORTIWEST LOGGING INC.          PO   BOX  1041  SPEAH                             SD     57783      UND    STATE    1116107    ULI04794             11/6107    SCK   540020        849.60     usn       1.00000                 849.60
 4575500     OEN      NORTIWESTLOGGING INC.           PO  BOX   1041  SPEAH                             SD     57783      UND STATES      11/6107    ui104794             11/6107    SCK   540020        879.12     USD       1.00000                 879.1.2
 4575500     GEN      NORTIWET LOGGING INC.           PO  BOX   1041  SPEAH                             SD     57783      UND   STATE     11113107   UL104820             11/13107   SCK   540114      9,890,00     USD       1.00000               9,890.00
 4575500     OEN      NORTIWEST LOGGING INe.          PO              SPEAH                             SD     57783      UND   STATE     11/13107   ULI04820             11/13107   SCK   540114        729.45     USD       1.00000                 729.45
 4575500     GEN      NORTIWEST LOGGING INe.          PO BOX                                                              UND   STATE
                                                          BOX1041
                                                                1041SPEARISH                            SD     57783                      11113107   ULI04820             11/13107   SCK   540114      6,791.25     USD       1.00000               6,791..25
 4575500     GEN      NOR1HWEST LOGGING INC.          PO  BOX   1041  SPEAH                             SD     57783      UND   STATE     11/13107   ui104820             11/13107   SCK   540114        814.27     USD       1.00000                 814.27
 5226800     GEN      LAY JOHNSON TRUCKIG. INC.       P.O. BOX 1350 CHARON                              ME     69337      UND STATES      10/29107   28523                11/13107   SCK   392008      2,155.39     USD       1.00000               .2,155.39
 5226800     GEN      LARY JOHNSONTRUCKING, mc.       P,O. BOX 1350 CHARON                              ME     69337      UN STATES       10/29107   28523                11113107   SCK   392008        (IS.89)    USD       1.00000                 (15,89)


                                                                                                                                                                                                                     SOFA AU. 3.a2 Gap Payments
                                                                                                                    13101137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11119/2007


 . ,Vciidur ci:I~S Vendor ;lmm' Address City Address Shitc/l'rel\ I'uslul Ciide Couiitry luvoice J)¡ih: Ili\"kc Check Dale l'ii)"iiwt T,nlC T~I::~~ii::~lI n¡I:~I~:~~~~lICY Hase ClirrcliC)' IIX null. \ISI~:;::l:¡i~~:clil
 5319000     GEN      KAISER PERMANENT             P.O. BOX 34178                          SEA TIE    WA   98124-1178   UND    STATES       10119107   HAEY SAL Y i 0107         11/9/07   SCK   540057   (65.023.21)   USD       1.00000             (65,03.21)
 5319000     OEN      KAISER PERMANENTE            P.O. BQX34178                           SEATlE     WA   98124-1178   UND    STATES       10/19107   HAEY SAL Y i 0107         1119107   SCK   540057    65,O:D.21    lIsn      1.00000              65,023.21
 5319000     GEN      KAISER PERMANENTE            P.O. BOX 34178                          SEATIE     WA   98124-1178   UN     STATES       10/19107   HAEY SAL Y 10/07         11114107   WR    72061     65,023.21    USD       1.00000              65,02321
 5320000     OEN      KALEN ELECTRIC & MACHINRY CO 1504W. 2NDAVENU                         EUGENE     OR   97402-4131                   a   1119107    42952DB                  11114107   SCK   540136    30,880.51    USD       1.00000              30,880.51
 5508300     GEN      JANET KUID.                  PO BOX8313                              COBURG     OR     97408      UND STATE           1011217    101                      11/15107   EDt   103098     1,260.00    USD       1.00000               1,260.00
 5508300     GEN      JANET KUI-IL                 PO BOX8313                              COBURG     OR     97408      UND STATE           10/20107   102                      11115107   EDt   103098       600.00    USD       1.00000                 600.00
 5508300     GEN      JANET KUH                    PO BOX8313                              COBURG     OR     97408      UND    STATES       10128107   103                      11115107   EDI   103098       615.00    USD       1.00000                 615.00
 5508300     GEN      JANET KUID.                  PO BOX8313                              COBURG     OR     97408      UND STATES          11l27      10_                      11/15107   EDt   103097       495.00    USD       1.00000                 495.00
 5596200     GEN      LANE COUN TAX COLLECTOR      PO BOX 3014                             PORlLAND   OR   97108-3014   UND STATES          10130107   966208196614111109107    1113107    SCK   540122       488.17    USD       1.00000                 488.17
 5596200     GEN      LANE COlJN TAX COLLECTOR     PO BOX 3014                             PORTIAN    OR   97208-3014   UND STATE           10130107   9662081966141 11109/07   11113107   SCK   540122       505.12    USD       1.00000                 505.12
 5628302     GEN      LAWRENCE COUNTY TRASURR'S    OFFICE, P.O. BOX 394                    DEADWOOD   SO     57732      UN STATE            10l27      100.000-1010/19/07       1013107    SCK   540000       859.25    USD       1.00000                 859.25
 5628302     GEN      LAWRNCE COUN TRSURER'S       OFFICE, P.O. BOX 394                    DEADWOOD   SD     57732      UND STATE           10l27      3800-000-8510/19/07      1013107    SCK   540000     1.108.18    USD       1.00000               1,108.18
 5628302     GEN      LAWRENCE COUN TRASURR'S      OFFICE, P.O. BOX 394                    DEADWOOD   SD     57732      UN STATE            10/27      602-043-00 10/19107      1013/07    SCK   540000       246.34    uso       1.0000                  246.34
 5628302     GEN      LAWRNCE COUN TRASURR'S       OFFICE, P.O. BOX 394                    DEADWOOD   SD     57732      UND STATE           10/207     602-046-8810/19/07       1013107    SCK   540000        34.17    USD       1.00000                  34.17
 5628302     GEN      LAWRENCE COUN TRSURR'S       OFFICE, P.O. BOX 394                    DEAWOOD    SD     57732      UN     STATES       10/27      602-047-0410/19107       1013107    SCK   540000        25.53    uso       1.00000                  25.53
 5628302     GEN      LAWRNCE COUN TRASURER'S      OFFICE. P.O. BOX 394                    DEAWOOD    SD     57732      UND    STATES       10127      602-091-1510119/07       10/31107   SCK   540000     1,893.41    USD       1.00000               1,893.1
 5628302     GEN      LAWRNCE COUN TRASURR'S       OFFICE, P.O. BOX 394                    DEADWOOD   SD     57732      UN STATE            10127      602-092-10 10/19107      1013107    SCK   540000        28.73    USD       1.00000                  28.73
 5628302     GEN      LAWRENCE COUN TRSURR'S       OFFICE. P.O. BOX 394                    DEADWOOD   SD     57732      UND    STATE        10127      602-092-3010119107       1013107    SCK   540000    40,135.86    USD       1.00000              40,135.86
 5628302     GEN      LAWRENCE COUN TRASURR'S      OFFCE, P.O. BOX 394                     DEADWOOD   SD     57732      UND STATES          10127      602-093-10 10/19107      1013107    SCK   540000        3228     uso       1.00000                  32.28
 5628302     GEN      LAWRNCE COUN TRSURR'S        OFFICE, P.O. BOX 394                    DEADWOOD   SD     57732      UND    STATES       10/207     602-093-2010/19/07       1013107    SCK   540000       633.01    USD       1.00000                 633.01
 5689900     EMP      RANDY LEWIS                  C/O POPE & TALBOT INC.                  SPEAH      SD     57783      UND STATES          115107     00P:20071 105:RAY LEW    11116107   EDI   103101        66.45    USD       1.00000                  66.45
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SD     57793      UND STATE           11l27      18061                    11/16107   EDt   101939     1,036.03    USD       1.00000               1,036.03
                                                                                                                                                                                                                                                               Case 07-11738-CSS




 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SD     57793      UND    STATES        11/207    18061                    11116107   EDt   101939       (30.89)   USD       1.00000                 (30.89)
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SD     57793      UND    STATES        1119107   18078                    11116107   EDt   101939     1.403.14    USD       1.00000               1,403.14
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHITWOOD   SO     57793      UND STATES           1119/07   18078                    11116107   EDt   101939       (11.60)   USD       1.00000                 (11.60)
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SD     57793      UND STATE            1119107   18079                    11116107   EDt   101939     1,667.14    uso       1.00000               1,667.14
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SO     57793      UND STATES           1119107   18079                    11116107   EDI   101939       (38.24)   USD       1.00000                 (38.24)
 5795000     GEN      LOW-MAN AGENCY               P.O.BOX 128                             WHWOOD     SD     57793      UND   STATE          1119107   18083                    11116107   EDt   101939     1,088.64    USD       1.00000               1,088.64
 5795000     GEN      LOW-MAN AGENCY               P.O. BOX 128                            WHWOOD     SO     57793      UND   STATE          1119107   18083                    11/16107   EDt   101939       (83.50)   uso       1.00000                 (83.50)
 6080000     GEN      MELVIN MA PROPERTllS         UNOI, MELVIN MA COMPANIS, PO BOX 4500   PORTIAN    OR   97208-4500   UND   STATE         10129/07   RENT NOV2007 POST        11113107   SCK   540124    92,142.75    USD       1.00000              92,142.75
 6194000     GEN      MERCER TRUCKING CO           P.O. BOX 11585                          SPOKANE    WA     99211      UND   STATE         1013/07    13811A                   11/14107   SCK   540137       655.53    USD       1.00000                 655.53
 6194000     GEN      MERCER TRUCKING CO           P.O. BOX 11585                          SPOKANE    WA     99211      UND   STATE         1013/07    13811A                   11114/07   SCK   540137        16.47    USD       1.00000                  16.47
 6194000     GEN      MERCER TRUCKING CO           P.O. BOX 11585                          SPOKANE    WA     99211      UND   STATE          111907    14069A                   11/14107   SCK   540137       803.60    USD       1.00000                 803.60
 6194000     GEN      MERCER TRUCKING CO           P.O. BOX 11585                          SPOKANE    WA     99211      UND    STATES        1119107   14069A                   11114/07   SCK   540137       (32.14)   USD       1.00000                 (32.14)
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAH      SD     57783      UND STAlE            11/6107   in104795                  1116/07   SCK   540019    24,07151     uso       1.00000              24,07151
                                                                                                                                                                                                                                                               Doc 266-4




 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAH      SO     57783      UND    STATES        ILI6107   in104795                  11/6/07   SCK   540019     1,782.01    USD       1.00000               1,782.01
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAH      SD     57783      UN STATES            1116/07   in104795                  1116107   SCK   540019    17,173.40    USD       1.00000              17,173.40
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAISH    SD     57783      UND    STATES        11/6/07   ULI04795                  ILI6/07   SCK   540019     2,Q5.06     USD       1.00000               2,055.06
 6231000     GEN      JORGE MEA                    P.O. BOX 946                            SPEAISH    SD     57783      UND STATE           11/13107   ULI04821                 ~i13/07    SCK   540113    15,681.99    USD       1.00000              15,681.99
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAH      SD     57783      UND    STATE        11/13107   in104821                 11113107   SCK   540113     1,542.48    USD       1.00000               1,542.48
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAISH    SD     57783      UND   STATES        11113107   in104821                 IlII3/07   SCK   540113     1,160.94    USD       1.00000               1,160.94
 6231000     GEN      JORGE MEA                    P.O. BOX 946                            SPEAISH    SO     57783      UND   STATES        11/13107   ui104821                 11113107   SCK   540113       113.97    uso       1.00000                 113.97
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEASH     SD     57783      UND   STATES        11113107   in104821                 11113/07   SCK   540113       703.45    USD       1.00000                 703.45
 6231000     GEN      JORGE MEA                    P.O. BOX 946                            SPEAH      SD     57783      UND   STATES        ILII3107   ULI04821                 11113107   SCK   540113    11,188.04    uso       1.00000              11.188.04
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAISH    SD     57783      UND   STATES        11/13107   ULI04821                 11113107   SCK   540113        84.49    USD       1.00000                  84.49
 6231000     GEN      JORGE MEZA                   P.O. BOX 946                            SPEAISH    SD     57783      UND   STATES        11113/07   ui104821                 11113107   SCK   540113     1.338.82    USD       1.00000               1,338.82
 6461003     GEN      MUTNOMA COUN,TAX COLLECTOR ASSESSMENT & TAXTION, PO BOX 2716         PORlLND    OR   97208-2716   USA                 1012107    ACCTP373066              11113107   SCK   540125     3,999.06    USD       1.00000               3,999.06
 6519300     CRT      NALCO COMPANY                PO BOX70716                             CHICAGO    IL   60673-0716   UND STATE           10124107   ORD#200219096DB          ILII4107   WR     7107     32,741.28    USD       1.00000              32,741.8
 6519300     CRT      NALCO COMPANY                PO BOX 70716                            CHICAGO    IL   60673-0716   UND   STATES         1118107   ORD#200234050 DB         1l14107    WR     7207     76,874.58    USD       1.00000              76,874.58
 6628503     GEN      NORFOLK SOUTRN RAIL WA Y CO. 1200 PEACHTE STRET                      ATIANTA    GA     30309      UND   STATES        10130107   4303071029               11114/07   EDt   101934     2,068.38    USD       1.00000               2,068.38
 6628503     GEN      NORFOLK SOUTRN RAILWAY CO.   1200 PEACHTRE STRET                     AlLNTA     GA     30309      UND   STATES        1013107    4304069651               ~i14107    EDt   101934     2,068.38    USD       1.00000               2,068.38
                      NORFOLK SOUTRNRAD.WA Y CO.
                                                                                                                                                                                                                                                               Filed 01/04/08




 6628503     GEN                                   1200 PEACHTE STRET                      A1LNTA     GA     30309      UND   STATES         11127     1110217 SEC DEPOSIT       11127     WR     7050     29,000.00    USD       1.00000              29,000.00
 6639000     EMP      GRANT NORTI                  C/O POPE & TALBOT LTD.                  PORlLAND   OR     97207      UND   STATES         1115107   103107                    1118/07   ED!   103085       174.60    USD       1.00000                 174.60
 6639000     EMP      GRANT NORTI                  CIO POPE & TALBOTLlD.                   PORTIAND   OR     97207      UND STATE           11/14/07   111307                   11115107   EDt   103096       694.52    USD       1.00000                 694.52
 6639000     EMP      GRANT NORTI                  CIO POPE & TALBOT LTD.                  PORlLND    OR     97207      UND   STATES         11/5107   103107-1                 11114107   ED!   103094       698.40    USD       1.00000                 698.40
 6929803     GEN      OREGON DEPT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND   STATES         11/6/07   OR WIH 11108107           1118107   ACH    7093        692.07    USD       1.00000                 692.07
 6929803     GEN      OREGON DEPT OF REVENU        P.O.BOX 14800                           SALEM      OR   97309-5050   UND   STATES         1InlO7    OR W/H 11113107          11113107   ACH    7108     20,901.55    USD       1.00000              20,901.5
 6929803     GEN      OREGON DEPT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND   STATES        11I1'17    OR WIH 11116/07          11116/07   ACH    7205     27,146.47    USD       1.00000              27,146.47
 6929803     GEN      OREGON DEPT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND   STATES         ~i5107    ORWHllI08107              1118107   ACH    7075      4,115.96    USD       1.00000               4,115.96
 6929803     GEN      OREGON DEPT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND STATE            1014107   OR SUI 10128107          1013107    ACH    7015      5,09.57     USD       1.00000               5,009.57
 6929803     GEN      OREGON DEFT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND STATES           10/4107   WICOMP 10128107          1013107    ACH    7016      3,936.30    USD       1.00000               3,936.30
 6929803     GEN      OREGON DEPT OF REVENU        P.O. BOX 14800                          SALEM      OR   97309-5050   UND STAlE           10/25107   TRIMET 10/28107          1013107    ACH    7018     14,414.68    USD       1.00000              14,414.68
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND STATE           10117107   00P:20071017:DENN R       1118107   ED!   103086        37.35    USD       1.00000                  37.35
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND STATES          10117107   00P:20071017:DENN R       1118107   EDI   103086        38.80    USD       1.00000                  38.80
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND    STATES       10117107   00P:20071017:DENN R       1118107   ED!   103086        37.83    USD       1.00000                  37.83
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND   STATES        10117107   00P:20071017:DENN R       1118/07   EDI   103086        37.83    USD       1.00000                  37.83
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND   STATES        10/17107   00P:20071017:DEN R        1118107   EDt   103086       553.39    USD       1.00000                 553.39
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                                      WA     98625      UND   STATES        10117/07   00P:20071017:DENN R       1118107   EDI   103086        10.87    USD       1.00000                  10.87
                                                                                                                                                                                                                                                               Page 18 of 23




 6955000     GEN      DENNS OREM                   P.O. BOX 1277
                                                                                           KA
                                                                                           KAAM       WA     98625      UND   STATES        10117107   00P:20071017:DENN R       1118107   ED!   103086       133.62    USD       1.00000                 133.62
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KA         WA     98625      UND   STATES        10117107   00P:20071017:DENN R       1118/07   EDt   103086        45.11    USD       1.00000                  45.11
 6955000     GEN      DENNS OREM                   P.O. BOX 1217                           KAAM       WA     98625      UND   STATES        10117107   00P:20071017:DEN R        1118107   EDt   103086        53.70    USD       1.00000                  53.70
 6955000     GEN      DENN OREM                    P.O. BOX 1277                           KAAM       WA     98625      UND   STATES        10117107   00P:20071017:DENN R       1118/07   EDt   103086       81.0      USD       1.00000                  81.70
 6955000     GEN      DENNS OREM                   P.O. BOX 1277                           KAAM       WA     98625      UND   STATES        10117107   00P:20071017:DENNS R      1118107   ED!   103086       69.47     USD       1.00000                  69.47
 7131000     GEN      PAPER WEIGHTROOM             C/O KEY BANK #40 204380, BOX 245        HAISBURG   OR     97446      UND   STATES        1013107    DUESII FEE tOlO7PRE       1119107   SCK   540071      195.00     USD       1.00000                 195.00
 7131000     GEN      PAPER WEIGHTROOM             CIO KEY BANK #40 204380, BOX 245        HABURG     OR     97446      UND   STATES        IOmlO7     HSLYSAL I0126107PRE       1119117   SCK   540072     237.50      USD       1.00000                 237.50
 7470700     GEN      POTIR LOGGING, INC.          I 1817TIER RIDE LANE                    WHWOOD     SD     57793      UND   STATES         1I/6/07   ULI04800                  ILI6107   SCK   540021   16,955.76     USD       1.00000              16,955.76
 7470700     GEN      POTIR LOGGING, INC.          11817 TIER RIDE LANE                    WHWOOD     SO     57793      UND   STATES         11/6107   ULI04800                  11/6/07   SCK   540021    1,255.23     USD       1.00000               1,255.23
 7470700     GEN      POrrER LOGGING, INC.         11817 TIER RIDE LANE                    WHWOOD     SD     57793      UND STATE            ILI6107   ULI04800                  11/6107   SCK   540021   12,096.79     USD       1.00000              12,096.79
 7470700     GEN      POTIR LOGGING, INC.          11817 TIER RIDE LANE                    WHWOOD     SD     57793      UND STATES           11/6/O7   UL104800                  ILI6107   SCK   540021    1,447.57     USD       1.00000               1,447.57
 7470700     GEN      POTIR LOGGING, INC.          11817 TIERRIOELAN                       WHWOOD     SD     57793      UND STATES          11113107   UL104827                 11113107   SCK   540115   17,463.43     uso       1.00000              17,463.3
 7470700     GEN      POTIR LOGGING. INC.          I 1817TIER RIDGELANE                    wmWOOD     SD     57793      UN STATES           11113107   ULI04827                 11113107   SCK   540115    1,292.82     USD       1.00000               1,292.82


                                                                                                                                                                                                                         SOFA AU, 3-a2 Gap Payments
                                                                                                                  132of137
Pope & Talbot, Inc.
Case No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor ci:.~.~ Venùor ~\iiiic ¡\ddrc~~ Cit), Address SI:lh:ll'nH' l'u~t¡il Cudc Coimlry lii\"(IÏçl; n:ile hl\'oicc Check null' J'ayiiciit T)"pc T~I:II~:I~~~iil H¡¡:~I;C:ll:~;IIl,'Y Ilasc Currency FX nalc lJ~I~~;:~I::~~IClIt
 7470700     GEN   POTIR LOGGING, INC.              11817 TIMER RIDE LANE                    WHITWOOD    sn     57793      UND     STATES   11/13/07   ULI04827               11/13107   SCK   540115   12,45&.99    usn        1.0000              12,458.99
 7470700     GEN   POTIR LOGGING, INC.              i 1817TIMER RIDE LANE                    WHfæWOQD    sn     57793      UND     STAlE    11113107   ULI04827               11113107   SCK   540115    1,490.91    usn        1,00000              1,490.9\
 7902500     CRT   ROLLlNQlL                       PO BOX291                                 SPEAISH     sn     57783      VNDSTATES        11/6/07    12952                  1119107    SCK   392003      229.50    usn        1.00000                229.50
 7902500     CRT   ROLLIN OIL                      POBOX 291                                 SPEARISH    sn     57783      UND     STATE    1116107    12952                  1119/07    SCK   392003        9.18    USD        1.00000                  9.18
 8165300     CRT   SENECA SA WMn.L COMPANY         P.0.BOX851                                EUGENE      OR     97401      UND     STAlE    10129107   SENEI02907             1111107    WR     7027    15,000.00    usn        1.00000             15,000.00
 8165300     CRT   SENECA SAWMILL COMPANY          P.O. BOX 851                              EUGENE      OR     97401      UND     STAlE    11l27      SENEII0207             11l27      WR     7045    15,000.00    usn        1.00000             15,000.00
 8165300     CRT   SENECA SAWMILL  COMPANY         P.O. BOX 851                              EUGENE      OR     97401      UND     STATES    1115107   SENEI 10507            11/5107    WR     7060     9,000.00    usn        1.00000              9,000.00
 8165300     CRT   SENECA SA WMR.L COMPANY         P.O. BOX 851                              EUGENE      OR     97401      UND     STAlE     1116107   SENEI10607             11/6107    WR     7080    15,000.00    usn        1.00000             15,000.00
 8165300     CRT   SENECA SA WML COMPANY           P.O. BOX 851                              EUGENE      OR     97401      UND     STATES    IinlO7    SENEI 10707            IInlO7     WR     7098    10,000.00    usn        1.00000             10,000.00
 8165300     CRT   SENECA SAWMILL COMPANY          P.O. BOX 851                              EUGENE      OR     97401      UND STAlE         11/8107   SENEl10807             11/8107    WR     7119    10,000.00    usn        1.00000             10,000.00
 8165300     CRT   SENECA SA WMJLL COMPANY         P.O. BOX 851                              EUGENE      OR     97401      UN      STATES    1119107   SENEI 10907            1119107    WR     7142    20,000.00    usn        1.00000             20,000.00
 8165300     CRT   SENECA SAWMILL COMPANY          P.O. BOX 851                              EUGENE      OR     97401      UND     STATE    11/13107   SENEIl1307            11113107    WR     7169    10,000.00    usn        1.00000             10,000.00
 8165300     CRT   SENECA SAWMILL COMPANY          P.O. BOX851                               EUGENE      OR     97401      UND     STAlE    11114107   SENEI 1 1407          11/14107    WR     7195    10,000.00    usn        1.00000             10,000.00
 8165300     CRT   SENECA SA WML COMPANY           P.O.BOX 851                               EUGENE      OR     97401      UND STAlE        11115107   SENEI lI507           11115107    WR     7216    10,000.00    usn        1.00000             10,000.00
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UN STAlE          1116107   ULI04789               1116107    SCK   540012    1,184.54    usn        1.00000              1,184.54
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE         11/6107   ULI04789               11/6107    SCK   540012   14,197.37    usn        1.00000             14,197.37
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UN STATES         11/6107   ULI04789               1116107    SCK   540012    1,046.22    usn        1.00000              1,046.22
 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES        11/6107   ULI04789               11/6107    SCK   540012       87.74    usn        1.00000                 87.74
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES        11/6107   ULI04789               1116107    SCK   540012      642.41    usn        1.00000                642.41
 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlLE   WY     82701      UN STATES         11/6107   ULI04789               11/6107    SCK   540012   11,606.25    usn        1.00000             11,606.25
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE         11/6107   ULI04789               11/6107    SCK   540012    1,388.45    usn        1.00000              1,388.45
 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES        11/6107   ULI04789               1116107    SCK   540012       77.09    usn        1.00000                 77.09
                                                                                                                                                                                                                                                            Case 07-11738-CSS




 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES       11113107   ULI04813              11/13107    SCK   540107   10,029.33    usn        1.00000             10,029.33
 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES       1113107    UL104813              11113107    SCK   540107    2,683.67    usn        1.00000              2,683.67
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UND     STATES   11113107   UL104813              11/13107    SCK   540107      968.56    usn        1.00000               968.56
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATES       11/13107   UL104813              11/13107    SCK   540107      742.08    usn        1.00000                742.08
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlL    WY     82701      UNn STATES       11/1310    ULI04813              11113107    SCK   540107       71.37    usn        1.00000                71.7
 8232700     GEN   JAK SHOOK LOGGllG               628 BIRCH                                 NEWCASlL    WY     82701      UND     STATES   11/13107   UL104813              11/13107    SCK   540107      198.79    usn        1.00000                198.79
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE        11113107   ULI04813              11113107    SCK   540107    6,161.1     usn        1.00000              6,161.51
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND     STATE    11113107   UL104813              11/13107    SCK   540107      791.79    USD        1.00000                791.79
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND     STATE    11113107   ULI04813              1113107     SCK   540107      203.46    usn        1.00000                203.46
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE        11/13107   ULI04813              11/13107    SCK   540107    1,455.43    usn        1.00000              1,455.43
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE        11/13/07   ULI04813              11113107    SCK   540107       94.72    usn        1.00000                 94.72
 8232700     GEN   JAKE SHOOK LOGGllG              628 BIRCH                                 NEWCASlLE   WY     82701      UND STATE        11/13107   ULI04813              11113/07    SCK   540107      174.65    usn        1.00000                174.65
 8232700     GEN   JAK SHOOK LOGGING               628 BIRCH                                 NEWCASlLE   WY     82701      UN      STATES   11/13107   ULI04813              11113107    SCK   540107      742.08    usn        1.00000                742.08
                                                                                                                                                                                                                                                            Doc 266-4




 8371401     GEN   OFFICE OF CHID SUPPORT          ENFORCEMENT, 700 GOVERNORS DRI, SUI 84 PIERR          sn   57501-2281   UND STATES        116107    GARNIHMNT 11106107     1119107    SCK   540068    4,094.59    usn        1.00000              4,094.59
 8404700     GEN   LORISPERRY                      PETI CASH, CIO POPE & TALBOT, INC.        SPEARH      sn     57783      UND STATES        1011107   PETICASH OCT 2007      1119107    SCK   392004       20.25    usn        1.00000                 20.25
 8404700     GEN   LORI SPERRY                     PET CASH, CIO POPE & TALBOT, INC.         SPEARH      sn     57783      UND STATES        1011107   PETrVCASH OCT 2007     1119107    SCK   392004        2.54    USD        1.00000                  2.54
 8404700     GEN   LORI SPERRY                     PETI CASH, CIO POPE & TALBOT, INC.        SPEARH      sn     57783      UN STATES         1011107   PETfCASH OCT 2007      1119/07    SCK   392004      150.00    usn        1.00000                150.00
 8404700     GEN   LORI SPERRY                     PETICASH, C/O POPE & TALOT, LLC.          SPEARH      sn     57783      UND STATES        1011107   PETIHYCASH OCT 2007    1119107    SCK   392004       52.13    usn        1.00000                 52.13
 8404700     GEN   LORI SPERRY                     PETI CASH, C/O POPE & TALOT, INC.        SPEARISH     sn     57783      UND STATES        10/1107   PETICASH OCT 2007      1119107    SCK   392004       95.91    usn        1.00000                 95.91
 8404700     GEN   LORI SPERRY                     PETI CASH, C/O POPE & TALBOT, INC.       SPEARH       sn     57783      UND     STATES    10/1107   PETIYCASH OCT 2007     1119/07    SCK   392004       13.50    usn        1.00000                 13.50
 8404700     GEN   LORI SPERRY                     PETr CASH, CIO POPE & TALBOT, INC.       SPEAH        sn     57783      UND     STATES    10/1107   PETfCASH OCT 2007      1119107    SCK   392004       84.00    usn        1.00000                 84.00
 8404700     GEN   LORI SPERRY                     PETT CASH, CIO POPE & TALBOT, INC.       SPEAISH      sn     57783      UND     STATES    10/1107   PETIYCASH OCT 2007    1119107     SCK   392004        3.71    USD        1.00000                  3.71
 8404700     GEN   LORI SPERRY                     PETI CASH, CIO POPE & TALBOT, INC.       SPEARISH     sn     57783      UN      STATES    1011107   PETICASH OCT 2007     1119107     SCK   392004       80JO     usn        1.00000                 80.30
 8420000     GEN   ALBERT STAIN                    P.O. BOX 53, 51 I 411 STRET              HALSEY       OR     97348      UND STATE        IomlO7     STAm 10107.1217       119107      SCK   540081      561.00    USD        1.00000                561.00
 8559800     GEN   SWANSON HA YCOMPANY, INC.       SOlON FLORIDA STRET                      SPOKA        WA     99217      UND     STATES   10130107   26056                  1119107    SCK   540098      747.50    usn        1.00000                747.50
 8559800     GEN   SWANSON HAY COMPANY, INC.       soio N FLORIDA STRET                     sPOKA        WA     99217      UND     STATES   10130107   26056                 1119107     SCK   540098        5.14    USD        1.00000                  5.14
 8559800     GEN   SWANSONHA V COMPANY, INC.       5010 N FLORIDA STRET                     SPOKANE      WA     99217      UND     STATES   10129107   26083                 1119107     SCK   540098      697.04    usn        1.00000                697.04
 8559800     GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA STRET                     SPOKANE      WA     99217      UND     STATES   10129107   26083                 1119107     SCK   540098        5.93    usn        1.00000                  5.93
 8559800     GEN   SWANSON HA V COMPANY,llC.       5010N FLORIDASTRT                        SPOKANE      WA     99217      UND STATE        10129107   26105                 1114107     SCK   540139      906.98    usn        1.00000                906.98
 8559800     GEN
                                                                                                                                                                                                                                                            Filed 01/04/08




                   SWANSONHAY COMPANY, INC.        5010 N FLORIDA STRET                     SPOKANE      WA     99217      UND     STATE    10129107   26105                 11/14107    SCK   540139       11.02    usn        1.00000                 11.02
 8559800     GEN   SWANSON HA V COMPAN,llC.        5010 N FLORIDA STRET                     SPOKANE      WA     99217      UND     STATE    IomlO7     26111                 11/14107    SCK   540139      706.16    usn        1.00000                706.16
 8559800     GEN   SWANSON HAY COMPANY, INC.       5010 NFLORIDA STRET                      SPOKANE      WA     99217      UND STATE        lOmlO7     26111                 11/14107    SCK   540139      (34.16)   usn        1.00000                (34.16)
 8559800     GEN   SWANSON HAY COMPANY, INC.       5010 NFLORIDA STRET                      SPOKANE      WA     99217      UND STATE        10130107   26136                 11/14107    SCK   540139      710.05    usn        1.00000                710.05
 8559800     GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA STREET                    SPOKA        WA     99217      UND STATE        10130107   26136                 11114107    SCK   540139        6.64    usn        1.00000                  6.64
 8559800     GEN   SWANSON I-lA Y COMPANY, INC.    SOLO NFLORIDA STRET                      SPOKANE      WA     99217      UND     STATE    10131107   26141                 11/14107    SCK   540139      728.95    usn        1.00000                728.95
 8559800     GEN   SWANSON HAY COMPANY, INC.       5010 N FLORIDA STRET                     SPOKANE      WA     99217      UN STATE         IomlO7     26141                 11114107    SCK   540139        5.88    usn        1.00000                  5.88
 8560002     CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280        PORTL        OR   972084280    UN STATE         10129107   SWANI02907            11/1107     WR     7025    18,000.00    usn        1.00000             18,000.00
 8560002     CRT   SWANSON.SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280        PORTL        OR   97208-4280   UND STATES       11l27      SWANII0207             11/27      WR     7047    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280       PORlL         OR   97208-4280   UND     STATES    1115107   SWANII0507            1115107     WR     7062    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON.SUPERIOR FOREST         PRODUCTS INC., UNIT 27, PO BOX 4280      PORlLND      OR   97208-4280   UND     STATES    1116107   SWANII0607            11/6107     WR     7083    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON.SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280        PORTL        OR   97208-4280   UND STATES        IinlO7    SWANI10707            IinlO7      WR     7101    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280        PORTIAND     OR   97208-4280   UND STATES       11/13107   SWANiii307            11/13107    WR     7174    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON.SUPERIOR FOREST         PRODUCTS LLC., UN 27, PO BOX 4280        PORlLND      OR   97208-4280   UND     STATES   11/14107   SWANII 1407           11/14107    WR     7199    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC., UNIT 27, PO BOX 4280      PORlLAND     OR   97208-4280   UND STATE        1115107    SWANI I 1507          11115107    WR     7220    13,000.00    usn        1.00000             13,000.00
 8560002     CRT   SWANSON-SUPERIOR FOREST         PRODUCTS INC., UN 27, PO BOX 4280        PORlLND      OR   97208-4280   UND    STATES     1119107   WETII0907             1119107     WR     7145    26,000.00    usn        1.00000             26.000.00
 8578701     GEN   SYSTRAN FINANCIA SERVICES       PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     1111107   411698                11/6107     SCK   540026    4,908.80    usn        1.00000              4,908.80
                                                                                                                                                                                                                                                            Page 19 of 23




 8578701     GEN   SYSTRN FINANCIA SERVICES        PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     111107    411700                1116107     SCK   54026     4,992.00    usn        1.00000              4,992.00
 8578701     GEN   SYSTRN FINANCIA SERVICES        PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     11/1107   411701                11/6107     SCK   540026    4,992.00    usn        1.00000              4,992.00
 8578701     GEN   SYSlRAN FIANCIA SERVICES        PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     1111107   411702                1116107     SCK   540026    4,950.40    usn        1.00000              4,950.40
 8578701     GEN   SYSTRN FINANCIA SERVICES        PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     1111107   411703                11/6107     SCK   540026    4,950.40    usn        1.00000              4,950.40
 8578701     GEN   SVSTRN FIANCIA SERVICES         PO BOX 100982                            PASADENA     CA   91189-0982   UND    STATES     trll107   411704                11/6107     SCK   540026    4,950.40    usn        1.00000              4,950.40
 8578701     GEN   SYSTRAN FINANCIA SERVICES       PO BOX 100982                            PASADENA     CA   91189-0982   UND STATE         11/1107   411705                1116107     SCK   540026    4,950.40    usn        1.00000              4,950.40
 8778300     GEN   TOC BENEFIT MANAGEMENT          TIER OPERATORS COUNCIL INC., 6825 SW SANBI TIGAR      OR     97223      UND STATE        lomlO7     TOC DUES 10107PRE     1119107     SCK   540083    1,580.11    usn        1.00000              1,580.11
 8778300     GEN   TOC BENEFIT MANAGEMENT          TIER OPERATORS COUNCIL LLC., 6825 SW SANBI TIGAR      OR     97223      UND STATES       9127107    TOC MAAGEMENT 9/27107 1119107     SCK   540084    1,556.58    usn        1.00000              1,556.58
 9058800     GEN   UN LIF INS CO OF AMRICA         PO BOX 406990                            AlLNTA       GA   30384-6990   UND STATES       10119107   VlL US SALY 10A)7     1119107     SCK   540089      892.80    usn        1.00000                892.80
 9139900     GEN   UND WAYOF COLUMIA               WILATI, 619 SW I 111AVENU, #300          PORTL        OR   97205-2646 UND       STATE    IomlO7     UND WAY 10126A)7PRE   1119107     SCK   540088      318.00    usn        1.00000                318.00
 9768800     CRT   HAN LUMER MILS, INC.            960 SW BARS ROAD, SUI 200               PORlLND       OR   97226666 UND         STATES   10129107   HAI02907              1111107     WR     7020    50,000.00    usn        1.00000             50,000.00
 9768800     CRT   HAMPTON LUMER Mn.LS, INC.       960 SW BARNES ROAD, SUI 200             PORTL         OR   97225-6666 UND       STATE    11/27      !ll10207               11l27      WR     7042    50,000.00    usn        1.00000             50,000.00
 9768800     CRT   HAN LUMER MR.LS, INC.           960 SW BARNES ROAD, SUI 200             PORlLND       OR   97225-6666 UN        STATES   1115107    HAI10507               11/5107    WR     7057    50,000.00    usn        1.0000              50,000.00


                                                                                                                                                                                                                      SOFA Alt. 3-a2 Gap Payments
                                                                                                                     133 of 137
Pope & Talbot, Inc.
c.ase No. 07-11738 (CSS)
Attachment SOFA 3-a2
Payments to Creditors Between 10/29/2007 and 11/19/2007


  Vendor Chiss Veiidor Nmm: Addrc.~.. City Aildrc...... Slati:I'l(J\' l'o~liil Code Coiiiilry hmikc l)iilc IiI\Oii'C Check ))ulc l)a~'iiciii Type T~i::;~~ii~~~uii n¡I~I~;:::~~IlCY liasI. Ciirrency FX Uale USI~:~::ll:~~lcllt
  9768800       CRT      HAMPTON LUMBER MilLS, INC.                9600 SW BARNES ROAD, SUI 200                           PORl1.AND                        OR          97225-6666 UND STATES     11/6107    HAMPlI0607   1116107    WRE   7077    50,000.00   USD       1.00000             50,oon.oo
  9768800       CRT      IIAMPluN LUMBER MILLS, INC.               9600 SW BARNES ROAD, SUI 200                           PORTIAND                         OR          97225-6666 UND STATES     11nlO7     I-lII0707    ¡lnlO7     WR    7095    60,000.00   usa       1.00000             60,000.00
  9768800       CRT      HAMTON LUMER MILLS, INC.                  9600 SWBARNES ROAD, SUI 200                            PORlLAND                         OR          97225-6666 UND STATES     1118107    HAI10807     1118107    WRE   7116    60,000.00   USD       1.00000             60,000.00
  9768800       CRT      HAMPTON LUMER MILS, INC.                  9600 SW BARNES ROAD, SUITE 200                         PORTLAN                          OR          97225-6666 UNDSTATE       1119107    HA110907     1119107    WR    7138   120,000.00   usa       1.00000            120,000.00
  9768800       CRT      HAMPON LUMER MILLS, INC.                  9600 SW BARNES ROAD, SUI 200                           POR11.AND                        OR          97225-6666 UND STATES     1113107'   HA111307     11113107   WR    7168    60,000.00   usa       1.00000             60,000,00
  9768800       CRT      l-lATQN LUMER MILLS, INC.                 9600 SW BARNES ROAD, SUI 200                           PORTLND                          OR          97225-6666 UND STATES     11114107   HAI I 1407   11114107   WR    7192    60,000.00   usn       1.00000             60,000.00
  9768800       CRT      HATON LUMER MILLS, INC.                   9600 SW BARNES ROAD, SUI 200                           PORTLND                          OR          97225-6666 UNDSTATES      11115107   HAMP111507   11115107   WR    72i4    60,000.00   usa       1.00000             60,000.00
  9768800       CRT      l-lAON LUMER MQ.LS, INC.                  9600 SW BARNE ROAD, SUI 200                            PORTLND                          OR          97225-6666 UND   STATES   11116107   HA111607     11116107   WR    7262    60,000.00   USD       1.00000             60,000.00

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  (3~ Check issued ror this invoice was voided as a reult
                                                       theofCCAA mingo TIie Company's Canadian dollarconcentrtion account was subsequently dirtly debite as a reult.
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
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Tnml Compensations For ihe Pei1l1 rrom IOl.9l.OO61bronJ:h 10l!OO7

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                                                 Adlve            Po,                         Uf.                                                e..                               D,u                            GrouPay           Co.MilehJiig        Peiiiiii        Toliil              Retiilner       Meellng        TClllI1
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MichiielFlnnnnyll1   Chiiiminn, Preidet &, CEO Fomiç          S    407,792 S     $26,267 S      7,764 S    34$,914 S    86,817 S    12,04$ S                   S               S     7,007 S           99,21$ S      1,492,880 S            6,180 S          20,.8$ S      26,76$ S                     S              S
                                                                                                                                                                                                                                                                                                                                      LE
                                                                                                                                                                                                                                                                                                                                      S    1,.19,6$
                     VP,OenemlMiinnger
Miiriopopci:i        Woo Prouc15Divi.ion&      Fonner              197.144       219,.47         55.        19,971       8,89$                                        2$,00          7,944             22,26          $01,477               6,750            10,00         16,754                                                           518,231
                     hilenmCFO
An¡;dDie:            GenenlMorn¡;er            Aciive              276,731       109,772        5,074       19,250       9,.88                         5,700                                           $,002          01,117                6,997            13,719        20,715                                                           451,832

HiimldSlinlonlll     Pre,;jdcnl, CEO &, Diretor Aciive             314,970                      3,576       29,480                                                                                                    348,025                                14,937        14,937              12,500         16,.00        29,00           391,963

NcilSliiiirll'l      VP&CFO                    Aciive              281,789                      1.670       10,540                                                                                                    293,999               5,813            13,848        19,660                                                           313,659

BethHiirdninJ'1      VP,HumiinRçsuiç           Aciivo              173,491        7$,104         9"         5,21S                                                                                      4,202          258,995               "..               "..          16,168                                                           275,163

Unnd Dod             ChiiimiiinoflheBoid       Aclivo                                                                                                                                                                                                                                          77,083         54,00         131,083         13,083
                                                                                                                                                                                                                                                                                                                                                           Case 07-11738-CSS




KcilhMoihcney        DirclororihcBoid          Aciive                                                                                                                                                                                                                                          37,500         48,00         1l5,5oo          8$,500

GoronAndrcs          Din:loroflheßøid          Aclive                                                                                                                                                                                                                                          25,00          60,00         85,00            8$,00

KeoneihHiinni        Dim:lororihc:Boid         Aclive                                                                                                                                                                                                                                          25,00          51,00         76,00            76,00

RohcFunnri           Dim:lororihc Boiird       Aciivo                                                                                                                                                                                                                                          25,00          51,00         76,00            76,00

                     Din:loroflhcßoiird        Aclivc
                                                                                                                                                                                                                                                                                                                                                           Doc 266-4




                                                                                                                                                                                                                                                                                               25,00          48,00         73.00            73,00

Peler Popcl~i        Din:lorQflhc:Boiird       FClnner                                                                                                                                                                                                                                                         9,()          9,()             9,()

1(1\11                                                        S   1,651,916 S    930,690 S     19,616 S    430,370 S   10$,300 S    12,045 S           5,700 S        2$,00 S       14,951 S        130,905 S        3,326,493 S           33,323 S          81,676 S     115,00        S     227,083 S      337,500 S     564,583    S   4,00.076

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II) Employmcnlli:iliicdon6f30/2007,
12)EmploymenllcnninnicdCln7l1/2007,
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UNITED STATES BANKRUPTCY COURT
         OF
DISTRICT DELAWARE
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Totiil Compenslilloos For the Period rrom 101912007 TbrouJtb 11/1912007

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MichiielFliinnayl11 Chii;muii, Predent 8: CEO Former
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AngelD;o:i           OencmlMniiger             Active             11,251      207                                                   11,458             '"        '"                              11.991

HliroldSll1nlonl'l   Preidcnt,CEO&:Dii9tor     Active             23,917      '"                                                    24,215            1,134     1,134                           25,349

NeilStunrtl'l        VP8:CFO                   Active             12,917       83                                                   13,00              611       61                              13,613

BelhHnrdniiilll      VP,HiiniinResiirt         Ao:tive            7,917                                                              7,966     1'1     l7        m                               8,483

l.ionelDo            ChiimiinClrtheBord        Ao:iive                                                                                                                    6,00     6,00          6,00
                                                                                                                                                                                                              Case 07-11738-CSS




KeithMniheney        Dii9lorofihcBolird                                                                                                                                   6,00     6,00          6,00

Gordon
     Andn:i          Dii9loroftheBord          Active                                                                                                                     6,00     6,00          6,00

Kenncthlliinii       D;i9tciorihcBord          Active                                                                                                                     6,00     6,00          6,00

RobeFiinliri         Dii9torortheBolird        Active                                                                                                                     3,750    3.750         3,750

Dnvidßaimm           Dim:torofihcBolird        Activo:
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                                                                                                                                                                          ,,00     "00           "00

PcterPopol61         Dii9IOroflhc:Bord         Former


Toii1                                                            56,002 S     6375                                                  56,639     1415   2,654 S   2,796    32250 S   32,250   S   91.685

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                                Case 07-11738-CSS                           Doc 266-4           Filed 01/04/08           Page 23 of 23

        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF DELAWARE

        In re: Pope & Talbot, Inc.
        Case No. 07 - I 1738 (CSS)




                                DECLARATION CONCERNING DEBTOR'S STATEMENTS

        DECLARATION UNDER PENALTY OF PERJRY ON BEHAF OF A CORPORATION OR PARTNERSHIP

I, R Neil Stuart, Vice President, Chief                      Financial Offcer and Secreta of           Pope & Talbot, Inc.,
named as the debtor in these cases, declare under penalty of                            perjur that I have read the forgoing Statement of
Financial Affairs, consisting of 137 sheets, and that it is tre and correct to the best of my knowledge, information, and belief.




2;). j;l~                                                                                            Date
                                                                                                            i / l-/O ~



The penalties for making a false statement of concealing property: Fine of up to $500, 000 or imprisonment for up to 5
years    or   both. 18   USc.    Sees.   152   and   3571.




                                                                                   Page 137 of 137                                          SOFA PT Inc
